USCA Case #23-1143   Document #2002360       Filed: 06/05/2023   Page 1 of 45



                          23-1143
                     NO. _____________________
__________________________________________________________________

           IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT
__________________________________________________________________

       WESTERN STATES TRUCKING ASSOCIATION, INC.; AND
      CONSTRUCTION INDUSTRY AIR QUALITY COALITION, INC.
                                Petitioners,

                                   v.

   UNITED STATES ENVIRONMENTAL PROTECTION AGENCY; AND
     MICHAEL S. REGAN, in his official capacity as Administrator of the
      UNITED STATES ENVIRONMENTAL PROTECTION AGENCY,
                                       Respondents.
__________________________________________________________________

           On Appeal from the Environmental Protection Agency
   EPA-HQ-OAR-2022-0330, EPA-HQ-OAR-2022-0331; FRL-9900-02-OAR
__________________________________________________________________

                     PETITION FOR REVIEW
__________________________________________________________________

                                 ROBERT HENNEKE
                                 rhenneke@texaspolicy.com
                                 THEODORE HADZI-ANTICH
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                                 CONNOR MIGHELL
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                                 TEXAS PUBLIC POLICY FOUNDATION
                                 901 Congress Avenue
                                 Austin, Texas 78701
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                                 Counsel for Petitioners
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      Pursuant to section 307(b) of the Clean Air Act, 42 U.S.C. § 7607(b), the

Administrative Procedure Act, 5 U.S.C. §§ 551-706, Rule 15(a) of the Federal Rules

of Appellate Procedure, and Rule 15(a) of this Court, Western States Trucking

Association, Inc. and Construction Industry Air Quality Coalition, Inc. (the

“Petitioners”) hereby respectfully petition this Court for review of the final action of

Respondent United States Environmental Protection Agency published at 88 Fed.

Reg. 20688 (Apr. 6, 2023), entitled, “California State Motor Vehicle and Engine

Pollution Control Standards; Heavy-Duty Vehicle and Engine Emission Warranty

and Maintenance Provisions; Advanced Clean Trucks; Zero Emission Airport

Shuttle; Zero Emission Power Train Certification; Waiver of Preemption; Notice of

Decision” (copy enclosed as Exhibit 1), and the accompanying administrative

record.

DATED:       June 5, 2023               Respectfully submitted,

                                        /s/Theodore Hadzi-Antich
                                        ROBERT HENNEKE
                                        TX Bar No. 24046058
                                        rhenneke@texaspolicy.com
                                        THEODORE HADZI-ANTICH
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                                        TX Bar No. 24110107
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           On Appeal from the Environmental Protection Agency
   EPA-HQ-OAR-2022-0330, EPA-HQ-OAR-2022-0331; FRL-9900-02-OAR
__________________________________________________________________

              CORPORATE DISCLOSURE STATEMENT
__________________________________________________________________

      Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rule

26.1 Petitioners respectfully submit the following:

      Western States Trucking (“WSTA”) is a non-profit California trade

association representing the interests of thousands of members in a variety of

businesses which own and operate on-road and non-road vehicles, engines, and

equipment. WSTA has no parent companies. No publicly traded corporation has

10% or greater ownerships in WSTA.
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      Construction Industry Air Quality Coalition (“CIAQC”) is a non-profit

California trade association representing the interests of other California non-profit

trade associations and their members whose air emissions are regulated by California

state, regional, and local regulations, as well as federal regulations. CIAQC has no

parent companies. No publicly traded corporation has 10% or greater ownership in

CIAQC.

      DATED:       June 5, 2023        Respectfully submitted,

                                       /s/Theodore Hadzi-Antich
                                       ROBERT HENNEKE
                                       TX Bar No. 24046058
                                       rhenneke@texaspolicy.com
                                       THEODORE HADZI-ANTICH
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                         CERTIFICATE OF SERVICE

      I hereby certify that I served a copy of the foregoing document on June 5,

2023, by First Class Mail to the following in accordance with Fed. R. App. P. 25:

      Merrick Garland
      U.S. Attorney General
      U.S. Department of Justice
      950 Pennsylvania Avenue, NW
      Washington, DC 20530

      Michael S. Regan
      Administrator
      U.S. Environmental Protection Agency
      1200 Pennsylvania Avenue, NW
      Mail Code 1101A
      Washington, DC 20460

                                      /s/Theodore Hadzi-Antich
                                      THEODORE HADZI-ANTICH




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                 EXHIBIT 1
                                                           USCA Case #23-1143                           Document #2002360                              Filed: 06/05/2023               Page 7 of 45
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                                                   ENVIRONMENTAL PROTECTION                                FOR FURTHER INFORMATION CONTACT:                        4. California’s Standards Are Consistent
                                                   AGENCY                                                  David Dickinson, Office of                                 With Section 202(a) Under EPA’s
                                                                                                           Transportation and Air Quality, U.S.                       Historical Approach
                                                                                                                                                                   a. 2018 HD Warranty Amendments
                                                   [EPA–HQ–OAR–2022–0330, EPA–HQ–OAR–                      Environmental Protection Agency, 1200
                                                                                                                                                                   b. ACT, ZEAS, and ZEP Certification
                                                   2022–0331; FRL–9900–02–OAR]                             Pennsylvania Ave NW. Telephone: (202)                      Regulations
                                                                                                           343–9256. Email: Dickinson.David@                       5. The Inapplicability of Section
                                                   California State Motor Vehicle and                      epa.gov; or Kayla Steinberg, Office of                     202(a)(3)(C) to the Third Prong
                                                   Engine Pollution Control Standards;                     Transportation and Air Quality, U.S.                    a. EPA’s Historical Practice Is Supported
                                                   Heavy-Duty Vehicle and Engine                           Environmental Protection Agency, 1200                      by the Text, Context, and Purpose of the
                                                   Emission Warranty and Maintenance                       Pennsylvania Ave. NW. Telephone:                           Statute
                                                   Provisions; Advanced Clean Trucks;                      (202) 564–7658. Email:                                  b. Neither AMC v. Blum nor the 1994 MDV
                                                                                                           Steinberg.Kayla@epa.gov.                                   Waiver Dictate a Contrary Interpretation
                                                   Zero Emission Airport Shuttle; Zero-
                                                                                                                                                                   6. Section 209(b)(1)(C) Conclusion
                                                   Emission Power Train Certification;                     SUPPLEMENTARY INFORMATION:                              E. Other Issues
                                                   Waiver of Preemption; Notice of                                                                                 1. Energy Policy and Conservation Act
                                                   Decision                                                Table of Contents
                                                                                                                                                                      (EPCA)
                                                                                                           I. Executive Summary                                    2. Equal Sovereignty and Other
                                                   AGENCY: Environmental Protection                        II. Background                                             Constitutional Issues
                                                   Agency (EPA).                                              A. EPA’s Consideration of CARB’s Request           IV. Decision
                                                   ACTION: Notice of decision.                                1. 2018 HD Warranty Amendments                       A. Judicial Review
                                                                                                              2. ACT, ZEAS, and ZEP Certification                V. Statutory and Executive Order Reviews
                                                   SUMMARY:    The Environmental Protection                      Regulations
                                                                                                              B. Principles Governing This Review                I. Executive Summary
                                                   Agency (EPA) is granting the California
                                                                                                              1. Scope of Preemption and Waiver Criteria            Today, as Administrator of the EPA,
                                                   Air Resources Board’s (CARB’s) requests
                                                                                                                 Under the Clean Air Act                         I am granting two separate requests for
                                                   for waivers of Clean Air Act (CAA)                         2. Deference to California
                                                   preemption for the following California                                                                       waivers of Clean Air Act (CAA)
                                                                                                              3. Standard and Burden of Proof
                                                   regulations: the Heavy-Duty Vehicle and                 III. Discussion                                       preemption regarding four California
                                                   Engine Emission Warranty Regulations                       A. Evaluation of CARB’s 2018 HD                    Air Resources Board (CARB) regulations
                                                   and Maintenance Provisions, the                               Warranty Amendments                             for heavy-duty (‘‘HD’’) onroad vehicles
                                                   Advanced Clean Trucks Regulation, the                      B. First Waiver Criterion: are California’s        and engines. CARB made these requests
                                                   Zero Emission Airport Shuttle                                 Protectiveness Determinations arbitrary         in two separate letters to EPA in October
                                                   Regulation, and the Zero-Emission                             and capricious?                                 2021 and December 2021, as described
                                                                                                              1. EPA’s Historical Interpretation of              below. EPA is not taking action on
                                                   Power Train Certification Regulation.
                                                                                                                 Section 209(b)(1)(A)                            CARB’s January 2022 request
                                                   EPA is issuing these decisions under the                   2. CARB’s Discussion of California’s
                                                   authority of CAA section 209.                                                                                 concerning CARB’s Omnibus Low NOX
                                                                                                                 Protectiveness Determinations in the
                                                   DATES: Petitions for review must be filed                     Waiver Requests                                 regulation.1 EPA will announce its
                                                   by June 5, 2023.                                           a. 2018 HD Warranty Amendments                     decision regarding the Omnibus Low
                                                                                                              b. ACT, ZEAS, and ZEP Certification                NOX Regulation waiver request in the
                                                   ADDRESSES: EPA has established dockets                                                                        future, by separate notice in the Federal
                                                                                                                 Regulations
                                                   for these requests under Docket ID EPA–                    3. Comments on California’s Protectiveness         Register.
                                                   HQ–OAR–2022–0330 and EPA–HQ–                                  Determinations                                     First, by letter dated October 22, 2021,
                                                   OAR–2022–0331. All documents relied                        4. California’s Protectiveness                     CARB notified EPA that it had finalized
                                                   upon in making these decisions,                               Determinations Are Not Arbitrary and            amendments to its emission standards
                                                   including those submitted to EPA by                           Capricious                                      and associated test procedures for
                                                   CARB, are contained in the public                          5. Section 209(b)(1)(A) Conclusion
                                                                                                                                                                 heavy-duty diesel vehicles and
                                                   dockets. Publicly available docket                         C. Second Waiver Criterion: does
                                                                                                                 California need its standards to meet           engines.2 These ‘‘2018 HD Warranty
                                                   materials are available electronically                                                                        Amendments,’’ adopted by the CARB
                                                                                                                 compelling and extraordinary
                                                   through www.regulations.gov. After                            conditions?                                     Board on June 28, 2018, extend the
                                                   opening the www.regulations.gov                            1. EPA’s Historical Interpretation of              emissions warranty periods for 2022
                                                   website, enter EPA–HQ–OAR–2022–                               Section 209(b)(1)(B)                            and subsequent model year onroad
                                                   0330 or EPA–HQ–OAR–2022–0331 in                            2. CARB’s Discussion of California’s Need          heavy-duty diesel engines and for 2022
                                                   the ‘‘Enter Keyword or ID’’ fill-in box to                    for the Standards in the Waiver Requests        and subsequent model year diesel
                                                   view documents in the record. Although                     a. 2018 HD Warranty Amendments                     vehicles with a gross vehicle weight
                                                   a part of the official docket, Confidential                b. ACT, ZEAS, and ZEP Certification
                                                                                                                                                                 rating exceeding 14,000 pounds
                                                   Business Information (CBI) or other                           Regulations
                                                                                                              3. Comments on Section 209(b)(1)(B)                powered by such engines.3 In its letter
                                                   information whose disclosure is                                                                               to the Administrator, CARB requested
                                                                                                              4. California Needs Its Standards To Meet
                                                   restricted by statute is not included in                      Compelling and Extraordinary                    that EPA determine the 2018 HD
                                                   the public dockets. EPA’s Office of                           Conditions                                      Warranty Amendments to be within the
                                                   Transportation and Air Quality (OTAQ)                      5. Section 209(b)(1)(B) Conclusion
                                                   maintains a web page that contains                         D. Third Waiver Criterion: are California’s          1 Omnibus Low NO Waiver Request, Docket No.
                                                                                                                                                                                      X
                                                   general information on its review of                          regulations consistent with Section             EPA–HQ–OAR–2022–0332–0012; Omnibus Low
                                                   California waiver and authorization                           202(a) of the Clean Air Act?                    NOX Waiver Support Document, Docket No. EPA–
ddrumheller on DSK120RN23PROD with NOTICES2




                                                                                                              1. EPA’s Historical Interpretation of              HQ–OAR–2022–0332–0009.
                                                   requests. Included on that page are links                                                                       2 2018 HD Warranty Amendments Waiver
                                                   to prior waiver and authorization                             Section 209(b)(1)(C)
                                                                                                              2. CARB’s Discussion of the Regulations’           Request, Docket No. EPA–HQ–OAR–2022–0330–
                                                   Federal Register notices, some of which                                                                       0007; 2018 HD Warranty Amendments Waiver
                                                                                                                 Consistency with Section 202(a) in the
                                                   are cited in this notice; the page can be                     Waiver Requests
                                                                                                                                                                 Support Document, Docket No. EPA–HQ–OAR–
                                                   accessed at https://www.epa.gov/state-                                                                        2022–0330–0004.
                                                                                                              a. 2018 HD Warranty Amendments                       3 The 2018 HD Warranty Amendments are
                                                   and-localtransportation/vehicle-                           b. ACT, ZEAS, and ZEP Certification                comprised of amendments to title 13, California
                                                   emissionscalifornia-waivers-and-                              Regulations                                     Code of Regulations, sections 1956.8, 2035, 2036,
                                                   authorizations.                                            3. Comments on Section 209(b)(1)(C)                and 2040.



                                              VerDate Sep<11>2014   22:20 Apr 05, 2023   Jkt 259001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4703   E:\FR\FM\06APN2.SGM   06APN2
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                                                   scope of a waiver the Administrator                     engine and vehicle emissions standards                determining whether it is appropriate to
                                                   previously granted for California’s                     was addressed). In sections 209(a) and                make any of the three findings specified
                                                   emission standards and associated test                  209(b) of the Clean Air Act, Congress                 by the Clean Air Act. If the Agency
                                                   procedures for 2007 and subsequent                      established that there would be only                  cannot make at least one of the three
                                                   model year heavy-duty diesel vehicles                   two programs for control of emissions                 findings, then the waiver must be
                                                   and engines or, alternatively, that EPA                 from new motor vehicles—EPA                           granted.6 The courts have emphasized
                                                   grant California a new waiver of                        emission standards adopted under the                  the narrowness of EPA’s review. In
                                                   preemption for the amendments. By                       Clean Air Act, and California emission                MEMA II the Court of Appeals for the
                                                   today’s decision EPA finds that 2018 HD                 standards adopted under state law.                    District of Columbia Circuit stated that
                                                   Warranty Amendments meet the criteria                   Congress accomplished this by                         ‘‘[S]ection 209(b) sets forth the only
                                                   for a new waiver under section 209(b)                   preempting all State and local                        waiver standards with which California
                                                   of the Clean Air Act (CAA), 42 U.S.C.                   governments from adopting or                          must comply.’’ 7 EPA and the Court of
                                                   7543(b).                                                attempting to enforce emission                        Appeals for the District of Columbia
                                                      Second, CARB’s December 20, 2021,                    standards for new motor vehicles, while               Circuit have consistently interpreted
                                                   letter to the Administrator notified EPA                at the same time providing that                       section 209(b) as placing the burden on
                                                   that the CARB Board had finalized                       California could receive a waiver of                  the opponents of a waiver to
                                                   Advanced Clean Trucks (ACT), Zero                       preemption for its emission standards                 demonstrate that one of the criteria for
                                                   Emission Airport Shuttle Bus (ZEAS),                    and accompanying enforcement                          a denial has been met.8
                                                   and Zero Emission Powertrain (ZEP)                      procedures. Other states can only adopt                  If California acts to amend a
                                                   Certification Regulations.4 The ACT                     standards that are identical to                       previously waived standard or
                                                   Regulation, adopted by the CARB Board                   California’s standards. This statutory                accompanying enforcement procedure,
                                                   on January 26, 2021, requires that                      scheme struck an important balance that               the amendment may be considered
                                                   manufacturers produce and sell                          protected manufacturers from multiple                 within the scope of a previously granted
                                                   increasing percentages of medium- and                   and different state emission standards,               waiver provided that it does not
                                                   heavy-duty zero-emission vehicles                       while preserving California’s pivotal                 undermine California’s determination
                                                   (ZEVs) and near zero-emission vehicles                  role as a laboratory for innovation in the            that its standards in the aggregate are as
                                                   (NZEVs) in California. These quantities                 control of emissions from new motor                   protective of public health and welfare
                                                   of vehicles are based on increasingly                   vehicles. Congress recognized that                    as applicable Federal standards, does
                                                   higher percentages of manufacturers’                    California could serve as a pioneer and               not affect the regulation’s consistency
                                                   annual sales of onroad heavy-duty                       a laboratory for the nation in setting                with section 202(a) of the Clean Air Act,
                                                   vehicles, beginning in the 2024 model                   new motor vehicle emission standards                  and raises no new issues affecting EPA’s
                                                   year. The ZEAS Regulation, adopted by                   and the development of new emission                   previous waiver decisions.9
                                                   the CARB Board on June 27, 2019,                        control technologies.                                    In 1990, Congress also established
                                                   establishes steadily increasing zero-                      Further, Congress intentionally                    that there would be only two programs
                                                   emission airport shuttle fleet                          structured this waiver provision to                   for control of emissions from most
                                                   composition requirements for airport                    restrict and limit EPA’s ability to deny              nonroad vehicles and engines—EPA
                                                   shuttle fleet owners who service the                    a waiver. The provision was designed to               emission standards adopted under the
                                                   thirteen largest California airports. The               ensure California’s broad discretion to               Clean Air Act, and California emission
                                                   ZEP Certification Regulation, adopted                   determine the best means to protect the               standards adopted under state law.
                                                   by the CARB Board on June 27, 2019,                     health and welfare of its citizens.                      In section 209(e)(1) of the Act,
                                                   establishes certification requirements                  Section 209(b) specifies that EPA must                Congress preempted all states, or
                                                   and optional emission standards for                     grant California a waiver if California               political subdivisions thereof, from
                                                   2021 and subsequent model year                          determines that its standards are, in the             adopting or attempting to enforce any
                                                   medium- and heavy-duty ZEVs and the                     aggregate, at least as protective of the              standard or other requirement relating
                                                   zero-emission powertrains installed in                  public health and welfare as applicable               to the control of emissions for certain
                                                   such vehicles.5 CARB requested that                     Federal standards. EPA may deny a                     types of new nonroad engines or
                                                   EPA grant a new waiver for each of                      waiver only if it makes at least one of               vehicles.10 For all other nonroad
                                                   these regulations. By today’s decision                  three findings specified under the Clean              engines, states, with the exception of
                                                   EPA finds that each of these three                      Air Act. The findings that permit EPA                 California, are generally preempted from
                                                   regulations meets the criteria for a new                to deny a waiver (also referred to as the             adopting and enforcing standards and
                                                   waiver under section 209(b).                            three waiver prongs) are: first, a finding
                                                      The legal framework for these                        that California’s determination that its                 6 Motor and Equipment Manufacturers’

                                                   decisions stems from the waiver                         standards are, in the aggregate, at least             Association v. EPA (MEMA II), 142 F.3d 449, 462–
                                                   provision first adopted by Congress in                  as protective as applicable Federal                   63 (D.C. Cir. 1998).
                                                   1967, and later amended in 1977 (and                    standards is arbitrary and capricious                    7 Id. (‘‘If EPA concludes that California’s

                                                                                                           (section 209(b)(1)(A), or the first waiver            standards pass this test, it is obligated to approve
                                                   amended again, as explained below, in                                                                         California’s waiver application.’’).
                                                   1990 when preemption of nonroad                         prong); second, a finding that California                8 Motor and Equipment Manufacturers’
                                                                                                           has no need for such standards to meet                Association v. EPA (MEMA I), 627 F.2d 1095, 1121
                                                     4 ACT/ZEAS/ZEP Waiver Request, Docket No.             compelling and extraordinary                          (D.C. Cir. 1979).
                                                   EPA–HQ–OAR–2022–0331–0004; ACT/ZEAS/ZEP                 conditions (section 209(b)(1)(B), or the                 9 45 FR 54130 (Aug. 14, 1980); 46 FR 36742 (July

                                                   Waiver Support Document, Docket No. EPA–HQ–             second waiver prong); or third, a finding             15, 1981); 75 FR 44948, 444951 (July 30, 2010).
ddrumheller on DSK120RN23PROD with NOTICES2




                                                   OAR–2022–0331–0003.                                                                                              10 States are expressly preempted from adopting
                                                     5 The ACT Regulation is at title 13, California
                                                                                                           that California’s standards and
                                                                                                                                                                 or attempting to enforce any standard or other
                                                   Code of Regulation, sections 1963, and 1963.1           accompanying enforcement procedures                   requirement relating to the control of emissions
                                                   through 1963.5. The ZEAS Regulation is at title 17,     are inconsistent with section 202(a) of               from new nonroad engines which are used in
                                                   California Code of Regulation, sections 95690.1,        the Clean Air Act (section 209(b)(1)(C),              construction equipment or vehicles or used in farm
                                                   95690.2, 95690.3, 95690.4, 95690.5, 95690.6,            or the third waiver prong).                           equipment or vehicles, and which are smaller than
                                                   95690.7, and 95690.8. The ZEP Certification                                                                   175 horsepower. Such express preemption under
                                                   Regulation is at title 13, California Code of
                                                                                                              Therefore, EPA’s role upon receiving               section 209(e)(1) of the Act also applies to new
                                                   Regulation, sections section 1956.8 and title 17,       a request for waiver of preemption from               locomotives or new engines used in locomotives.
                                                   section 95663.                                          California is narrow and limited to                   CAA section 209(e)(1), 42 U.S.C. 7543(e)(1)(A).



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                                                   other requirements relating to the                      governments,15 states’ organizations,16                 the record and comments, I have
                                                   control of emissions.11                                 members of Congress,17 and some auto                    determined that the waiver opponents
                                                      On June 13, 2022, EPA issued three                   manufacturers.18 Commenters generally                   have not met their burden of proof in
                                                   notices of opportunity for hearing and                  opposing the waiver requests included                   order for EPA to deny either of the two
                                                                                                           the Truck and Engine Manufacturers                      CARB waiver requests under any of the
                                                   comment for the California regulations
                                                                                                           Association (EMA),19 the National                       three waiver prongs set forth in section
                                                   at issue here: the first notice covered the
                                                                                                           Automobile Dealers Association                          209(b)(1). As such, EPA is granting
                                                   Heavy-Duty Vehicle and Engine                           (NADA),20 the American Fuel &                           CARB’s two waiver requests.25
                                                   Emission Warranty and Maintenance                       Petrochemical Manufacturers (AFPM),21
                                                   Provisions; the second notice covered                   the American Trucking Associations                      II. Background
                                                   the Advanced Clean Trucks Regulation,                   (ATA),22 the Western States Petroleum                   A. EPA’s Consideration of CARB’s
                                                   the Zero Emission Airport Shuttle                       Association,23 and the Texas Public                     Request
                                                   Regulation, and the Zero-Emission                       Policy Foundation.24 EPA has
                                                   Power Train Certification Regulation;                                                                             On June 13, 2022, EPA announced the
                                                                                                           considered all comments including
                                                                                                                                                                   opportunity for hearing and comment
                                                   and the third notice covered the                        those submitted after the close of the
                                                                                                                                                                   on CARB’s waiver requests in three
                                                   ‘‘Omnibus’’ Low NOX Regulation.12 EPA                   comment period. After an evaluation of
                                                                                                                                                                   Federal Register notices (FR Notices).26
                                                   is only taking action on the first two                                                                          EPA held one public hearing on June 29
                                                   notices in this decision.                                 15 See, e.g., State of California et al, Docket No.
                                                                                                                                                                   and June 30, 2022, covering all three FR
                                                                                                           EPA–HQ–OAR–2022–0331–0092 (including
                                                      As part of EPA’s public comment                      comments submitted on behalf of the States of           Notices.27 As noted above, EPA’s
                                                   process for CARB’s waiver requests, we                  California, Colorado, Connecticut, Delaware,            decision here pertains only to the 2018
                                                                                                           Hawaii, Illinois, Maryland, Minnesota, New Jersey,
                                                   have received comments from several                     New York, Oregon, Rhode Island, Vermont,
                                                                                                                                                                   HD Warranty Amendments, the ACT
                                                   states and organizations representing                   Washington, Wisconsin, the Commonwealth of              Regulation, the ZEAS Regulation, and
                                                   states, health and environmental                        Massachusetts, the District of Columbia, and the        the ZEP Certification Regulation. EPA
                                                   organizations, industry, and other                      City of New York); New York State Department of         has considered all comments submitted
                                                                                                           Environmental Conservation (NYSDEC), Docket
                                                   stakeholders. The vast majority of                      Nos. EPA–HQ–OAR–2022–0330–0061, EPA–HQ–
                                                                                                                                                                   pertaining to these regulations,
                                                   comments EPA received supported                         OAR–2022–0331–0103; Maine Department of                 including those submitted after the
                                                   granting the waiver requests.                           Environmental Protection (Maine), Docket Nos.           close of the comment period.28
                                                                                                           EPA–HQ–OAR–2022–0330–0034, EPA–HQ–OAR–
                                                   Commenters generally supporting the                     2022–0331–0074; Colorado Energy Office                  1. 2018 HD Warranty Amendments
                                                   waiver requests included CARB,13                        (Colorado), Docket No. EPA–HQ–OAR–2022–0331–
                                                                                                           0034; Washington State Department of Ecology               EPA’s June 2022 FR Notice on CARB’s
                                                   environmental and public health
                                                                                                           (Washington), Docket Nos. EPA–HQ–OAR–2022–              waiver request regarding the 2018 HD
                                                   organizations,14 state and local                        0330–0056, EPA–HQ–OAR–2022–0331–0079;                   Warranty Amendments asked for
                                                                                                           South Coast Air Quality Management District             comment on several matters. Since
                                                                                                           (SCAQMD), Docket No. EPA–HQ–OAR–2022–
                                                                                                           0331–0075; San Joaquin Valley Unified Air               CARB had submitted a within-the-scope
                                                                                                           Pollution Control District (SJVUAPCD), Docket Nos.      request, EPA first invited comment on
                                                     11 Section 209(e)(2)(A) requires the Administrator    EPA–HQ–OAR–2022–0330–0055, EPA–HQ–OAR–                  whether those amendments meet the
                                                   to authorize California to adopt and enforce            2022–0331–0106.                                         criteria for EPA to confirm that they are
                                                                                                             16 See, e.g., Northeast States for Coordinated Air
                                                   standards and other requirements relating to the
                                                   control of emissions from such vehicles or engines      Use Management (NESCAUM), Docket Nos. EPA–                 25 In deciding to grant these waiver requests, EPA
                                                   under criteria similar to section 209(b) for new        HQ–OAR–2022–0330–0017, EPA–HQ–OAR–2022–
                                                                                                           0330–0053, EPA–HQ–OAR–2022–0330–0074, EPA–              is relying on its legal interpretation of the statute
                                                   motor vehicles and engines. Considering the nearly                                                              as explained in this notice. In each case, EPA
                                                                                                           HQ–OAR–2022–0331–0104, EPA–HQ–OAR–2022–
                                                   identical language in both sections 209(b) and          0331–0135, ; National Association of Clean Air          believes that its interpretation constitutes the best
                                                   209(e)(2)(A), EPA has reviewed California’s requests    Agencies (NACAA), Docket Nos. EPA–HQ–OAR–               interpretation of the statute, applying traditional
                                                   for authorization of nonroad vehicle or engine          2022–0330–0035, EPA–HQ–OAR–2022–0330–0019,              principles of statutory interpretation. Further, to the
                                                   standards under section 209(e)(2)(A) using the same     EPA–HQ–OAR–2022–0331–0067, EPA–HQ–OAR–                  extent there is any genuine ambiguity within the
                                                   principles that it has historically applied in          2022–0331–0029; Ozone Transport Commission              statute related to these interpretations, EPA believes
                                                                                                           (OTC), Docket Nos. EPA–HQ–OAR–2022–0330–                it has reasonably resolved such ambiguity. See
                                                   reviewing requests for waivers of preemption for
                                                                                                           0062, EPA–HQ–OAR–2022–0330–0021, EPA–HQ–                Chevron U.S.A., Inc. v. NRDC, 467 U.S. 837, 866
                                                   new motor vehicle or new motor vehicle engine                                                                   (1984) (deference is owed to reasonable agency
                                                   standards under section 209(b).This means that          OAR–2022–0330–0075, EPA–HQ–OAR–2022–
                                                                                                           0331–0105, EPA–HQ–OAR–2022–0331–0033, EPA–              resolutions of statutory ambiguity).
                                                   CARB’s nonroad standards must be consistent with                                                                   26 87 FR 35760 (June 13, 2022); 87 FR 35765 (June
                                                                                                           HQ–OAR–2022–0331–0136.
                                                   the technological feasibility requirements of section     17 Padilla et al, Docket Nos. EPA–HQ–OAR–             13, 2022); and 87 FR 35768 (June 13, 2022).
                                                   202(a)(2). See 80 FR 76169, 76170 (Dec. 9, 2015).                                                                  27 A transcript for each day of the hearing (June
                                                                                                           2022–0330–0025, EPA–HQ–OAR–2022–0331–0038.
                                                   See Engine Mfrs. Ass’n v. EPA, 88 F.3d 1075, 1087         18 Tesla, Docket No. EPA–HQ–OAR–2022–0330–            29th and 30th, 2022) can be found in each docket.
                                                   (D.C. Cir. 1996) (‘‘. . . EPA was within the bounds     0038, EPA–HQ–OAR–2022–0331–0060; Rivian,                June 29th Hearing Transcript, Docket Nos. EPA–
                                                   of permissible construction in analogizing section      Docket No. EPA–HQ–OAR–2022–0331–0066.                   HQ–OAR–2022–0330–0028 and EPA–HQ–OAR–
                                                   209(e) on nonroad sources to section 209(a) on            19 EMA Testimony, Docket Nos. EPA–HQ–OAR–             2022–0331–0045, June 30th Hearing Transcript,
                                                   motor vehicles.’’). This historical approach to                                                                 Docket Nos. EPA–HQ–OAR–2022–0330–0029 and
                                                                                                           2022–0330–0016, EPA–HQ–OAR–2022–0331–0026;
                                                   nonroad authorizations is not being revisited here.                                                             EPA–HQ–OAR–2022–0331–0044.
                                                                                                           EMA Initial Comments, Docket Nos. EPA–HQ–                  28 EMA Supplemental Comments, Docket Nos.
                                                     12 87 FR 35760 (June 13, 2022); 87 FR 35765 (June     OAR–2022–0330–0032, EPA–HQ–OAR–2022–
                                                                                                           0331–0071; EMA Supplemental Comments, Docket            EPA–HQ–OAR–2022–0330–0071, EPA–HQ–OAR–
                                                   13, 2022); and 87 FR 35768 (June 13, 2022).
                                                                                                           Nos. EPA–HQ–OAR–2022–0330–0071, EPA–HQ–                 2022–0331–0132; CARB Supplemental Comments,
                                                     13 CARB Initial 2018 HD Warranty Amendments
                                                                                                           OAR–2022–0331–0132,                                     Docket Nos. EPA–HQ–OAR–2022–0330–0072,
                                                   Comments, Docket No. EPA–HQ–OAR–2022–0330–                20 NADA, Docket Nos. EPA–HQ–OAR–2022–                 EPA–HQ–OAR–2022–0331–0133; Mass Comment
                                                   0063; CARB Initial ACT Comments, Docket No.                                                                     Campaign sponsored by Union of Concerned
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                                                                                                           0330–0050, EPA–HQ–OAR–2022–0331–0090.
                                                   EPA–HQ–OAR–2022–0331–0127; CARB                           21 AFPM, Docket No. EPA–HQ–OAR–2022–0331–
                                                                                                                                                                   Scientists, Docket Nos. EPA–HQ–OAR–2022–0330–
                                                   Supplemental Comments, Docket Nos. EPA–HQ–                                                                      0073, EPA–HQ–OAR–2022–0331–0134; NESCAUM,
                                                                                                           0088.                                                   Docket Nos. EPA–HQ–OAR–2022–0330–0074,
                                                   OAR–2022–0330–0072, EPA–HQ–OAR–2022–                      22 ATA, Docket No. EPA–HQ–OAR–2022–0331–
                                                   0331–0133.                                                                                                      EPA–HQ–OAR–2022–0331–0135; OTC, Docket Nos.
                                                                                                           0091.                                                   EPA–HQ–OAR–2022–0330–0075, EPA–HQ–OAR–
                                                     14 Environmental and Public Health                      23 Western States Petroleum Association, Docket
                                                                                                                                                                   2022–0331–0136; Mid-Atlantic/Northeast Visibility
                                                   Organizations, Docket Nos. EPA–HQ–OAR–2022–             No. EPA–HQ–OAR–2022–0331–0109.                          Union (MANEVU), Docket Nos. EPA–HQ–OAR–
                                                   0330–0066, EPA–HQ–OAR–2022–0331–0099;                     24 Texas Public Policy Foundation, Docket No.         2022–0330–0076, EPA–HQ–OAR–2022–0330–0077,
                                                   Health and Medical Organizations, Docket No.            EPA–HQ–OAR–2022–0330–0036, EPA–HQ–OAR–                  EPA–HQ–OAR–2022–0331–0138, EPA–HQ–OAR–
                                                   EPA–HQ–OAR–2022–0331–0057.                              2022–0331–0059.                                         2022–0331–0137.



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                                                   within the scope of prior waivers.                         requested comment on what provisions          provision first adopted by Congress in
                                                   Specifically, we requested comment on                      from section 202(a) apply to California       1967 and its subsequent amendments.36
                                                   whether California’s 2018 HD Warranty                      due to the reference to section 202(a) in     In title II of the CAA, Congress
                                                   Amendments: (1) Undermine                                  section 209(b)(1)(C). EPA invited             established only two programs for
                                                   California’s previous determination that                   comment on how such provisions, to            control of emissions from new motor
                                                   its standards, in the aggregate, are at                    the extent they may apply to California’s     vehicles—EPA emission standards
                                                   least as protective of public health and                   standards or enforcement procedures,          adopted under the CAA and California
                                                   welfare as comparable Federal                              should be considered in the context of        emission standards adopted under its
                                                   standards, (2) affect the consistency of                   EPA’s evaluation of CARB’s waiver             state law.37 Congress accomplished this
                                                   California’s requirements with section                     request under the third prong.32              by preempting all state and local
                                                   202(a) of the Act, and (3) raise any other                                                               governments from adopting or enforcing
                                                   ‘‘new issue’’ affecting EPA’s previous                     2. ACT, ZEAS, and ZEP Certification           emission standards for new motor
                                                   waiver or authorization                                    Regulations                                   vehicles, while at the same time
                                                   determinations.29                                             EPA’s June 2022 FR Notice on CARB’s providing that California could receive
                                                      EPA also solicited comment on                           waiver request regarding the Advanced         a waiver of preemption for its emission
                                                   whether it should grant a new waiver                       Clean Truck Regulation (ACT), the Zero standards and enforcement procedures
                                                   for the 2018 HD Warranty Amendments                        Emission Airport Shuttle (ZEAS)               in keeping with its prior experience
                                                   in the event that EPA cannot confirm                       Regulation, and the Zero-Emission             regulating motor vehicles, its role as a
                                                   that some or all of those amendments                       Power Train (ZEP) Certification               laboratory for innovation in emission
                                                   were within the scope of previous                          Regulation asked for comment on               reduction technologies for vehicles, and
                                                   waivers. We therefore asked                                several matters. We requested comment its serious air quality problems. This
                                                   commenters to consider the three                           on all aspects of a full waiver analysis      framework struck an important balance
                                                   prongs for the denial of a waiver request                  applicable to each of the three               that protected manufacturers from
                                                   under section 209(b)(1) of the CAA:                        regulations. Therefore, we asked              multiple and different state emission
                                                   whether (A) California’s determination                     commenters to consider the three              standards and preserved a pivotal role
                                                   that its motor vehicle emission                            waiver prongs under section 209(b)(1) of for California in the advancement of
                                                   standards are, in the aggregate, at least                  the CAA. EPA also noted its intention         control of emissions from new motor
                                                   as protective of public health and                         to use the traditional interpretation of      vehicles. Recognizing both the harsh
                                                   welfare as applicable Federal standards                    section 209(b)(1)(B) and sought               reality of California’s air pollution and
                                                   is arbitrary and capricious, (B)                           comment on whether California needs           California’s ability to serve as a pioneer
                                                   California does not need such standards                    the ACT, ZEAS, and ZEP Certification          and a laboratory for the nation in setting
                                                   to meet compelling and extraordinary                       Regulations, as well what provisions          new motor vehicle emission standards
                                                   conditions, and (C) California’s                           under section 202(a) should apply (and        and developing control technology,
                                                   standards and accompanying                                 how such provisions should be                 Congress intentionally structured this
                                                   enforcement procedures are inconsistent                    evaluated) under section 209(b)(1)(C),        waiver provision to restrict and limit
                                                   with section 202(a) of the Clean Air                       which requires consistency with section EPA’s ability to deny a waiver to ensure
                                                   Act.30                                                     202(a).33                                     that California had broad discretion in
                                                      Regarding section 209(b)(1)’s second                                                                  selecting the best means to protect the
                                                   prong, EPA must grant a waiver request                     B. Principles Governing this Review           health and welfare of its citizens.38
                                                   unless the Agency finds that California                       The CAA has been a paradigmatic               Accordingly, section 209(a) preempts
                                                   ‘‘does not need such State standards to                    example of cooperative federalism,            states or political subdivisions from
                                                   meet compelling and extraordinary                          under which ‘‘States and the Federal          adopting or attempting to enforce any
                                                   conditions.’’ EPA has interpreted the                      Government [are] partners in the              standard relating to the control of
                                                   phrase ‘‘need[s] such State standards to                   struggle against air pollution.’’ 34 In Title emissions from new motor vehicles or
                                                   meet compelling and extraordinary                          II, Congress authorized EPA to                new motor vehicle engines.39 Under the
                                                   conditions’’ to mean that California                       promulgate emission standards for
                                                   needs a separate motor vehicle program                     mobile sources and generally preempted
                                                                                                                                                              36 Central Valley Chrysler-Jeep, Inc. v. Goldstene,

                                                   as a whole in order to address                                                                           529 F. Supp. 2d 1151, 1174 (‘‘The waiver provision
                                                                                                              states from adopting their own                of the Clean Air Act recognizes that California has
                                                   compelling and extraordinary                               standards.35 At the same time, Congress exercised its police power to regulate pollution
                                                   conditions in California (also known as                    created an important exception for the        emissions from motor vehicles since before March
                                                   the ‘‘traditional’’ interpretation). EPA                   State of California.                          30, 1966; a date that predates . . . the Clean Air
                                                                                                                                                                      Act.’’).
                                                   noted its intention to use the traditional
                                                   interpretation and sought comment on                       1. Scope of Preemption and Waiver                          37 Motor vehicles are ‘‘either ‘federal cars’

                                                                                                              Criteria Under the Clean Air Act                        designed to meet the EPA’s standards or ‘California
                                                   whether California needs the 2018 HD                                                                               cars’ designed to meet California’s standards.’’
                                                   Warranty Amendments under section                             The legal framework that governs                     Engine Mfrs. Ass’n v. EPA, 88 F.3d 1075, 1079–80,
                                                   209(b)(1)(B).31                                            today’s decisions stems from the waiver                 1088 (D.C. Cir. 1996) (‘‘Rather than being faced with
                                                                                                                                                                      51 different standards, as they had feared, or with
                                                      With regard to section 209(b)(1)’s                                                                              only one, as they had sought, manufacturers must
                                                   third prong, EPA has historically                            32 Id.
                                                                                                                                                                      cope with two regulatory standards.’’).
                                                   considered consistency with section                          33 87  FR 35768, 35770 (June 13, 2022).                  38 See, e.g., S. Rep. No. 403, 90th Cong., 1st Sess.
                                                                                                                34 General  Motors Corp. v. United States, 496 U.S.   33 (1967) (The waiver of preemption is for
                                                   202(a) to require that California’s
                                                                                                              530, 532 (1990).                                        California’s ‘‘unique problems and pioneering
                                                   standards are technologically feasible
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                                                                                                                35 ‘‘The regulatory difference [between Titles I      efforts.’’); 113 Cong. Rec. 30950, 32478 (‘‘[T]he State
                                                   within the lead time provided, giving                      and II] is explained in part by the difficulty of       will act as a testing agent for various types of
                                                   due consideration to costs, and that                       subjecting motor vehicles, which readily move           controls and the country as a whole will be the
                                                   California and applicable Federal test                     across state boundaries, to control by individual       beneficiary of this research.’’) (Statement of Sen.
                                                                                                              states.’’ Engine Mfrs. Ass’n v. EPA, 88 F.3d 1075,      Murphy); MEMA I, 627 F.2d 1095, 1111 (D.C. Cir.
                                                   procedures are consistent. EPA                                                                                     1979).
                                                                                                              1079 (D.C. Cir. 1996). Congress also asserted federal
                                                                                                              control in this area to avoid ‘‘the specter of an          39 42 U.S.C. 7543(a)–(a) Prohibition No State or
                                                     29 87    FR at 35762.                                    anarchic patchwork of federal and state regulatory      any political subdivision thereof shall adopt or
                                                     30 Id.
                                                                                                              programs’’ nationwide. See MEMA I, 627 F.2d 1095,       attempt to enforce any standard relating to the
                                                     31 Id.   at 35762–63.                                    1109 (D.C. Cir. 1979).                                                                               Continued




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                                                   terms of section 209(b)(1), after notice                 also established the National Ambient                       Any state with qualifying SIP
                                                   and opportunity for public hearing, EPA                  Air Quality Standards (NAAQS)                            provisions may exercise this option and
                                                   must waive the application of section                    program, under which EPA issues air                      become a ‘‘section 177 State,’’ without
                                                   209(a) to California unless the                          quality criteria and sets ambient air                    first seeking the approval from EPA.45
                                                   Administrator finds that at least one of                 quality standards for so-called ‘‘criteria’’             Thus, the 1977 Amendments further
                                                   three criteria to deny a waiver in section               pollutants, and states with regions that                 recognize California’s important role in
                                                   209(b)(1)(A)–(C) has been met.40 EPA                     have levels of pollutants greater than                   mobile source air pollution control, both
                                                   may thus deny a waiver, in the context                   those Federal standards must submit                      by making it easier for California to
                                                   of the Agency’s adjudicatory review,                     state implementation plans, or SIPs,                     obtain waivers (by allowing the State’s
                                                   only if it makes at least one of these                   indicating how they plan to attain the                   protectiveness determination to be made
                                                   three factual findings (associated with                  NAAQS. These attainment SIPs are                         ‘‘in the aggregate’’) and by expanding
                                                   the three waiver criteria) based on                      often multi-year, comprehensive plans.                   the opportunity (via section 177) for
                                                   evidence in the record, including                           With the CAA Amendments of 1977,                      other states to adopt California’s
                                                   arguments that opponents of the waiver                   Congress allowed California to consider                  standards.
                                                   have provided.                                           the protectiveness of its standards ‘‘in                    Given the text, legislative history, and
                                                      The 1970 CAA Amendments                               the aggregate,’’ rather than requiring                   judicial precedent, EPA has consistently
                                                   strengthened EPA’s authority to regulate                 each California standard to be as or                     interpreted section 209(b) as requiring
                                                   vehicular ‘‘emission[s] of any air                       more stringent than its Federal                          EPA to grant a waiver unless EPA or
                                                   pollutant,’’ while reaffirming the                       counterpart, to enable stronger                          opponents of a waiver can demonstrate
                                                   corresponding breadth of California’s                    standards for a specific pollutant where                 that one of the criteria for a denial has
                                                   ability to regulate those emissions (by                  a weaker standard for a second pollutant                 been met.46 In this context, since
                                                   amending CAA section 202 and                             was necessary due to interactions                        inception, EPA has recognized its
                                                   recodifying the waiver provision as                      between control technologies.42                          limited discretion in reviewing
                                                   section 209(b), respectively).41 Congress                Congress also approved EPA’s                             California waiver requests. Therefore,
                                                                                                            interpretation of the waiver provision as                EPA’s role upon receiving a request for
                                                   control of emissions from new motor vehicles or          providing appropriate deference to                       waiver of preemption from California
                                                   new motor vehicle engines subject to this part. No       California’s policy goals and consistent
                                                   State shall require certification, inspection, or any                                                             has consistently been limited and
                                                   other approval relating to the control of emissions
                                                                                                            with Congress’s intent ‘‘to permit                       remains only to be to determine whether
                                                   from any new motor vehicle or new motor vehicle          California to proceed with its own                       it is appropriate to make any of the three
                                                   engine as condition precedent to the initial retail      regulatory program’’ for new motor                       factual findings specified by the CAA. If
                                                   sale, titling (if any), or registration of such motor    vehicle emissions.43
                                                   vehicle, motor vehicle engine, or equipment.                                                                      the Agency cannot make at least one of
                                                                                                               In addition, the 1977 Amendments
                                                      40 42 U.S.C. 7543(b)(1): (1) The Administrator                                                                 the three findings, then the waiver must
                                                   shall, after notice and opportunity for public
                                                                                                            demonstrated the significance of
                                                                                                                                                                     be granted. The three waiver criteria are
                                                   hearing, waive application of this section to any        California’s standards to the Nation as a
                                                                                                                                                                     properly seen as criteria for a denial.
                                                   State which has adopted standards (other than            whole with Congress’ adoption of a new
                                                   crankcase emission standards) for the control of                                                                  This reversal of the normal statutory
                                                                                                            section 177. Section 177 permits other
                                                   emissions from new motor vehicles or new motor                                                                    structure embodies and is consistent
                                                   vehicle engines prior to March 30, 1966, if the State
                                                                                                            states addressing their own air pollution
                                                                                                            problems to adopt and enforce                            with the congressional intent of
                                                   determines that the State standards will be, in the
                                                   aggregate, at least as protective of public health and   California new motor vehicle standards                   providing deference to California to
                                                   welfare as applicable Federal standards. No such         ‘‘for which a waiver has been granted’’                  maintain and further develop its own
                                                   waiver shall be granted if the Administrator finds
                                                                                                            if certain criteria are met.44                           new motor vehicle emission program.
                                                   that—(A) the determination of the State is arbitrary                                                                 Additionally, in previous waiver
                                                   and capricious, (B) such State does not need such
                                                   State standards to meet compelling and                   promulgate a particulate standard’’ for heavy duty       decisions, EPA has noted that section
                                                   extraordinary conditions, or (C) such State              vehicles.’’ NRDC, 655 F.2d at 325 (citing S. Rep.        209(b)(1) specifies particular and
                                                   standards and accompanying enforcement                   No.127, 95th Cong., 1st Sess. 67 (1977), reprinted       limited grounds for rejecting a waiver
                                                   procedures are not consistent with section 7521(a)       in 3 Legislative History 1441)).                         and has therefore limited its review to
                                                   of this title.                                              42 42 U.S.C. 7543(b)(1). In further amendments to

                                                      41 In the 1970 Amendments, section 202(a) was         the Act in 1977, section 209 (formerly section 208)
                                                   divided into section 202(a)(1) and section 202(a)(2).    was amended to require the U.S. Environmental            of not meeting increasingly stringent federal air
                                                   Section 202(a)(1) included the directive for the         Protection Agency (EPA) to consider California’s         pollution limits . . . . It was in an effort to assist
                                                   Administrator to ‘‘prescribe standards applicable to     standards as a whole, so that California could seek      those states struggling to meet federal pollution
                                                   emissions of any air pollutant . . . which in his        a waiver from preemption if its standards ‘‘in the       standards that Congress, as noted earlier, directed
                                                   judgement cause, or contribute to, air pollution         aggregate’’ protected public health at least as well     in 1977 that other states could promulgate
                                                   which may reasonably be anticipated to endanger          as Federal standards. See Clean Air Act                  regulations requiring vehicles sold in their state to
                                                   publish health or welfare.’’ The previous lead time      Amendments of 1977, Pub. L. 95–95, section 207,          be in compliance with California’s emission
                                                   requirement in section 202(a) was moved to section       91 Stat. 685. See also Motor Vehicle Mfrs. Ass’n of      standards or to ‘piggyback’ onto California’s
                                                   202(a)(2) and included the directive that any            U.S., Inc. v. New York State Dep’t of Env’t              preemption exemption. This opt-in authority, set
                                                   regulation prescribed under 202(a)(1) ‘‘shall take       Conservation, 17 F.3d 521, 525 (2d Cir. 1994).           forth in section 177 of the Act, 42 U.S.C. 7507, is
                                                   effect after such period as the Administrator finds         43 H.R. Rep. No. 95–294, at 301 (1977).               carefully circumscribed to avoid placing an undue
                                                   necessary to permit the development and                     44 This provision was intended to continue the        burden on the automobile manufacturing
                                                   application of the requisite technology, giving          balance, carefully drawn in 1967, between states’        industry.’’)
                                                                                                                                                                        45 CAA section 177, 42 U.S.C. 7507.
                                                   appropriate consideration to the cost of compliance      need to meet increasingly stringent federal air
                                                   within such period.’’ The 1970 CAA did not change        pollution limits and the burden of compliance on            46 MEMA I, 627 F.2d at 1120–21 (‘‘The language

                                                   the cross reference to section 202(a) in section         auto-manufacturers. See, e.g., H.R. Rep. No. 294,        of the statute and its legislative history indicate that
                                                   209(b)(1)(C). See CARB Initial ACT/ZEAS/ZEP              95th Cong., 1st Sess. 309–10 (1977) (‘‘[S]ection 221     California’s regulations, and California’s
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                                                   Comments at 11–12. As described below, the 1977          of the bill broadens State authority, so that a State    determination that they comply with the statute,
                                                   Amendments did not change the cross reference to         other than California . . . is authorized to adopt       when presented to the Administrator are presumed
                                                   section 202(a) in section 209(b)(1)(C) but did           and enforce new motor vehicle emission standards         to satisfy the waiver requirements and that the
                                                   expand the flexibility afforded to California under      which are identical to California’s standards. Here      burden of proving otherwise is on whoever attacks
                                                   section 209(b). The 1977 Amendments also added           again, however, strict limits are applied . . . . This   them.’’); MEMA II, 142 F.3d 449, 462 (D.C. Cir.
                                                   section 202(a)(3) directing EPA to set heavy-duty        new State authority should not place an undue            1998) (‘‘[S]ection 209(b) sets forth the only waiver
                                                   vehicle emission standards for certain emissions for     burden on vehicle manufacturers . . . .’’); Motor        standards with which California must comply. . . .
                                                   the 1983 model year and later. (Congress having          Vehicle Mfrs. Ass’n v. NYS Dep’t of Env’t                If EPA concludes that California’s standards pass
                                                   identified a need for standards in 1970 ‘‘had            Conservation, 17 F.3d 521, 527 (2d Cir. 1994)            this test, it is obligated to approve California’s
                                                   become impatient with the EPA’s failure to               (‘‘Many states, including New York, are in danger        waiver application.’’).



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                                                   those grounds.47 EPA has also noted                     to the problem which I might also feel unable         consistency with CAA section 202(a)
                                                   that the structure Congress established                 to adopt at the federal level in my own               findings. The court instructed that ‘‘the
                                                   for reviewing California’s standards is                 capacity as a regulator. The whole approach           standard of proof must take account of
                                                   deliberately narrow, which further                      of the Clean Air Act is to force the                  the nature of the risk of error involved
                                                                                                           development of new types of emission
                                                   supports this approach. This has led                    control technology where that is needed by
                                                                                                                                                                 in any given decision, and it therefore
                                                   EPA to reject arguments that are not                    compelling the industry to ‘‘catch up’’ to            varies with the finding involved. We
                                                   specified in the statute as grounds for                 some degree with newly promulgated                    need not decide how this standard
                                                   denying a waiver:                                       standards. Such an approach . . . may be              operates in every waiver decision.’’ 55
                                                      The law makes it clear that the waiver               attended with costs, in the shape of reduced             With respect to California’s
                                                   requests cannot be denied unless the specific           product offering, or price or fuel economy            protectiveness determination, the court
                                                   findings designated in the statute can                  penalties, and by risks that a wider number           upheld the Administrator’s position that
                                                   properly be made. The issue of whether a                of vehicle classes may not be able to                 to deny a waiver there must be clear and
                                                   proposed California requirement is likely to            complete their development work in time.              compelling evidence to show that the
                                                   result in only marginal improvement in air              Since a balancing of these risks and costs            proposed procedures undermine the
                                                   quality not commensurate with its cost or is            against the potential benefits from reduced           protectiveness of California’s
                                                   otherwise an arguably unwise exercise of                emissions is a central policy decision for any
                                                                                                           regulatory agency under the statutory scheme
                                                                                                                                                                 standards.56 The court noted that this
                                                   regulatory power is not legally pertinent to
                                                   my decision under section 209, so long as the           outlined above, I believe I am required to            standard of proof also accords with the
                                                   California requirement is consistent with               give very substantial deference to California’s       congressional intent to provide
                                                   section 202(a) and is more stringent than               judgments on this score.52                            California with the broadest possible
                                                   applicable Federal requirements in the sense                                                                  discretion in setting regulations it finds
                                                                                                              This view is further supported by the
                                                   that it may result in some further reduction                                                                  protective of the public health and
                                                   in air pollution in California. Thus, my                House Committee Report accompanying
                                                                                                                                                                 welfare.57
                                                   consideration of all the evidence submitted             the 1977 amendments to the Clean Air                     With respect to the consistency
                                                   concerning a waiver decision is                         Act. The Report explained that,                       finding, the court did not articulate a
                                                   circumscribed by its relevance to those                 although Congress had the opportunity                 standard of proof applicable to all
                                                   questions that I may consider under section             to restrict the waiver provision, it
                                                   209(b).48                                                                                                     proceedings but found that the
                                                                                                           instead elected to expand California’s                opponents of the waiver were unable to
                                                     EPA’s evaluation of accompanying                      flexibility to adopt a complete program               meet their burden of proof even if the
                                                   enforcement procedures that are                         of motor vehicle emission controls.                   standard were a mere preponderance of
                                                   identified in section 209(b)(1)(C) is done              According to the Report, the 1977                     the evidence. Although MEMA I did not
                                                   by assessing the first and third waivers                Amendments were intended to ratify                    explicitly consider the standards of
                                                   prongs at 209(b)(1)(A) and                              and strengthen the California waiver                  proof under section 209 concerning a
                                                   209(b)(1)(C).49                                         provision and to affirm the underlying                waiver request for ‘‘standards,’’ as
                                                                                                           intent of that provision, i.e., to afford             compared to accompanying enforcement
                                                   2. Deference to California
                                                                                                           California the broadest possible                      procedures, there is nothing in the
                                                      EPA has also consistently noted that                 discretion in selecting the best means to             opinion to suggest that the court’s
                                                   the text, structure, and history of the                 protect the health of its citizens and the            analysis would not apply with equal
                                                   California waiver provision clearly                     public welfare.53                                     force to such determinations. EPA’s past
                                                   indicate both congressional intent and
                                                                                                           3. Standard and Burden of Proof                       waiver decisions have consistently
                                                   appropriate EPA practice of leaving
                                                                                                                                                                 made clear that: ‘‘[E]ven in the two areas
                                                   decisions on ‘‘ambiguous and                               In Motor and Equipment
                                                                                                                                                                 concededly reserved for Federal
                                                   controversial matters of public policy’’                Manufacturers’ Association v. EPA, 627
                                                                                                                                                                 judgment by this legislation—the
                                                   to California’s judgment.50 In waiver                   F.2d 1095 (D.C. Cir. 1979) (MEMA I), the
                                                                                                                                                                 existence of compelling and
                                                   decisions, EPA has thus recognized that                 U.S. Court of Appeals for the District of
                                                                                                                                                                 extraordinary conditions and whether
                                                   congressional intent in limiting review                 Columbia stated, with regard to the
                                                                                                                                                                 the standards are technologically
                                                   of California waiver requests to the                    standard and burden of proof, that the
                                                                                                                                                                 feasible—Congress intended that the
                                                   section 209(b)(1) criteria was to ensure                Administrator’s role in a section 209
                                                                                                                                                                 standard of EPA review of the State
                                                   that the Federal government did not                     proceeding is to:
                                                                                                                                                                 decision to be a narrow one.’’ 58
                                                   second-guess the wisdom of state                          [C]onsider all evidence that passes the                Although EPA evaluates whether
                                                   policy.51 In an early waiver decision                   threshold test of materiality and . . .               there are compelling and extraordinary
                                                   EPA highlighted this deference:                         thereafter assess such material evidence              conditions in California, the Agency
                                                     It is worth noting . . . I would feel                 against a standard of proof to determine
                                                                                                                                                                 nevertheless accords deference to
                                                   constrained to approve a California approach            whether the parties favoring a denial of the
                                                                                                           waiver have shown that the factual                    California on its choices for how best to
                                                                                                           circumstances exist in which Congress                 address such conditions in light of the
                                                     47 See, e.g., 78 FR 2112 (January 9, 2013); 87 FR

                                                   14332 (March 14, 2022) (SAFE 1 Reconsideration          intended a denial of the waiver.54                    extensive legislative history of section
                                                   Decision).                                                                                                    209(b). As noted earlier, the burden of
                                                                                                             The court in MEMA I considered the
                                                     48 78 FR at 2115 (footnote omitted).                                                                        proof in a waiver proceeding is on EPA
                                                                                                           standards of proof under section 209 for
                                                     49 87 FR 35760, 35762–63 (June 13, 2022).                                                                   and the opponents of the waiver. This
                                                                                                           the two findings necessary to grant a
                                                     50 40 FR 23102, 23103–04 (May 28, 1975); see also
                                                                                                                                                                 is clear from the statutory language
                                                   LEV I, 58 FR 4166 (January 13, 1993), Decision          waiver for an ‘‘accompanying
                                                                                                                                                                 stating that EPA ‘‘shall . . . waive’’
                                                   Document at 64.                                         enforcement procedure’’ (as opposed to
                                                                                                                                                                 preemption unless one of three statutory
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                                                     51 Ford Motor Co. v. Environmental Protection
                                                                                                           the standards themselves): (1)
                                                   Agency (Ford Motor), 606 F.2d 1293, 1302 (D.C. Cir.                                                           factors is met. This reading was upheld
                                                                                                           Protectiveness in the aggregate and (2)
                                                   1979) (‘‘The Administrator is charged with                                                                    by the D.C. Circuit in MEMA I, which
                                                   undertaking a single review in which he applies the                                                           concluded that this obligation rests
                                                                                                              52 40 FR 23102, 23103–04 (May 28, 1975); LEV I,
                                                   deferential standards set forth in Section 209(b) to
                                                   California and either grants or denies a waiver         58 FR 4166 (January 13, 1993), Decision Document
                                                                                                                                                                   55 Id.
                                                   without exploring the consequences of nationwide        at 64.
                                                                                                              53 H.R. Rep. No 294, 95 Cong., 1st Sess. 301–02      56 Id.
                                                   use of the California standards or otherwise
                                                   stepping beyond the responsibilities delineated by      (1977) (cited in MEMA I, 627 F.2d at 1110).             57 Id.

                                                   Congress.’’).                                              54 MEMA I, 627 F.2d at 1122.                         58 See,   e.g., 40 FR 21102–03 (May 28, 1975).



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                                                   firmly with opponents of the waiver in                     approach to evaluating the criterion,                 Amendments are ‘‘accompanying
                                                   a section 209 proceeding by holding                        summarize the position of CARB and                    enforcement procedures’’ and that it is
                                                   that:                                                      the commenters for each of the waiver                 also appropriate to treat CARB’s request
                                                     The language of the statute and its                      requests, discuss EPA’s analysis of the               as one for a new waiver. Given these
                                                   legislative history indicate that California’s             criterion, and finally present our                    determinations, EPA applies the first
                                                   regulations, and California’s determinations               conclusion.63 Many of the waiver                      and third waiver prongs under 209(b)(1)
                                                   that they must comply with the statute, when               opponents’ arguments centered on the                  (relating to California’s protectiveness
                                                   presented to the Administrator are presumed                third waiver prong and, in particular, on             determination and consistency with
                                                   to satisfy the waiver requirements and that                an argument that, notwithstanding                     202(a)) in evaluating CARB’s request.
                                                   the burden of proving otherwise is on                      EPA’s conclusion that the California                  However, even if EPA were to treat
                                                   whoever attacks them. California must                      standards and accompanying                            CARB’s 2018 HD Warranty Amendment
                                                   present its regulations and findings at the                enforcement procedures are feasible                   as a new standard for which California
                                                   hearing and thereafter the parties opposing
                                                   the waiver request bear the burden of
                                                                                                              within the lead time given under the                  is seeking a new waiver and apply all
                                                   persuading the Administrator that the waiver               regulations, EPA must require California              three waiver prongs, EPA would
                                                   request should be denied.59                                standards to include four years’ lead                 nonetheless grant the waiver.
                                                                                                              time required for certain Federal heavy-                 CARB requested that the
                                                      The Administrator’s burden, on the                      duty vehicle standards set out in section             Administrator confirm that the 2018 HD
                                                   other hand, is to make a reasonable                        202(a)(3)(C). We address this argument                Warranty Amendments fall within the
                                                   evaluation of the information in the                       in detail in section III.D.5. In every case,          scope of the 2005 waiver of preemption
                                                   record in coming to the waiver decision.                   we conclude that the opponents of the                 that the Administrator granted for
                                                   As the court in MEMA I stated, ‘‘Here,                     waiver have failed to meet their burden               California’s emission standards and
                                                   too, if the Administrator ignores                          of proof.                                             associated test procedures for 2007 and
                                                   evidence demonstrating that the waiver                       Finally, EPA received comments                      subsequent model year heavy-duty
                                                   should not be granted, or if he seeks to                   outside the scope of this action. We                  diesel vehicles and engines, and its
                                                   overcome that evidence with                                discuss these comments, relating to                   waiver request includes discussion of
                                                   unsupported assumptions of his own,                        preemption under the Energy Policy and                how each of the relevant prongs
                                                   he runs the risk of having his waiver                      Conservation Act (EPCA), the Equal                    applicable to enforcement procedures
                                                   decision set aside as ‘arbitrary and                       Sovereignty Doctrine and other                        (i.e., that the enforcement procedure
                                                   capricious.’’ 60 Therefore, the                            constitutional issues, in section III.E. As           does not undermine California’s
                                                   Administrator’s burden is to act                           the scope of EPA’s review under section               protectiveness determination and that
                                                   ‘‘reasonably.’’ 61                                         209 is constrained, EPA has declined to               there is consistency between the Federal
                                                   III. Discussion                                            consider them in granting these waiver                and California enforcement procedures)
                                                                                                              requests.                                             are within the scope of the previously
                                                      This section evaluates each of the two                                                                        granted waiver. In the alternative, CARB
                                                   waiver requests and sets forth EPA’s                       A. Evaluation of CARB’s 2018 HD
                                                                                                              Warranty Amendments                                   requested EPA grant a new waiver of
                                                   rationale for granting each separate                                                                             preemption and discussed each of the
                                                   request.62 First, we identify the specific                    With respect to the 2018 HD Warranty               relevant prongs for a new waiver (i.e.,
                                                   rubric by which we adjudicate each                         Amendments, we first address the                      protectiveness, consistency and, if
                                                   waiver request. Because the 2018 HD                        proper rubric by which to evaluate this               waiving a standard, the need for the
                                                   Warranty Amendments constitute                             regulation. To determine the proper                   program as a whole to meet compelling
                                                   ‘‘accompanying enforcement                                 rubric, EPA first evaluates whether                   and extraordinary conditions in the
                                                   procedures,’’ as opposed to new                            CARB’s 2018 HD Warranty                               state).65 CARB noted that the 2018 HD
                                                   standards, EPA evaluates this request                      Amendments should be considered                       Warranty Amendments encompass
                                                   under the more limited rubric for                          standards or ‘‘accompanying                           several elements that individually and
                                                   accompanying enforcement procedures,                       enforcement procedures’’ because                      collectively establish more rigorous
                                                   as detailed in section III.A below.                        ‘‘section 209(b) refers to accompanying               emissions warranty and emissions
                                                   However, even if EPA were to treat the                     procedures only in the context of                     maintenance schedule requirements.66
                                                   2018 HD Warranty Amendments as new                         consistency with section 202(a).’’ 64                    EPA believes that the 2018 HD
                                                   onroad standards and evaluate them                         Specifically, under section 209(b)(1)(C),             Warranty Amendments are properly
                                                   under the full waiver criteria applicable                  EPA is to deny a waiver if ‘‘such state
                                                   to such standards, the opponents of the                    standards and accompanying                              65 See 2018 HD Warranty Amendments Waiver

                                                   waiver have failed to meet their burden                    enforcement procedures are not                        Support Document at 18–25. CARB maintained that
                                                   of proof.                                                  consistent with section 202(a).’’ EPA                 the 2018 HD Warranty Amendments are within the
                                                                                                              then evaluates whether CARB’s request                 scope of the waiver EPA granted for CARB’s 2007
                                                      We next turn to the three waiver                                                                              heavy-duty vehicle emission standards. 70 FR
                                                   criteria, which we evaluate in turn in                     relating to its 2018 HD Warranty                      50322 (August 26, 2005). Therefore, CARB’s waiver
                                                   sections III.B–D. For each waiver                          Amendments should be treated as                       request included information to demonstrate that
                                                   criterion, we set forth EPA’s general                      within-the-scope of a prior waiver                    the 2018 HD Warranty Amendments do not
                                                                                                              request or as a request for a new waiver.             undermine the previous protectiveness
                                                                                                                                                                    determination associated with the 2007 emission
                                                     59 MEMA      I, 627 F.2d at 1121.                        As we explain below, EPA concludes                    standards nor do the Amendments affect the
                                                     60 Id.   at 1126.                                        that CARB’s 2018 HD Warranty                          consistency of the heavy-duty vehicles emission
                                                     61 Id.                                                                                                         standards with section 202(a) of the CAA. CARB
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                                                     62 EPA intends our grant of the waiver for each            63 Although EPA issued separate Federal Notices     also stated that it is not aware of any new issues
                                                   of the four California regulations at issue (i.e., 2018    that solicited comments on each waiver request,       raised by the Amendments. Alternatively, CARB
                                                   HD Warranty Amendments, ACT, ZEAS, and ZEP                 EPA is electing to grant waivers for all the          stated that, if EPA must grant CARB a new waiver
                                                   Certification Regulations,) to be severable. Were a        regulations included in the two requests in this      for the Amendments (in addition to the two waiver
                                                   reviewing court to set aside our waiver action             single document in which it discusses each of the     criteria already discussed for the within-the-scope
                                                   regarding any particular regulation, or portion of         two waiver criteria only once and then evaluates      request), California continues to need a separate
                                                   any particular regulation, EPA intends for the             each of CARB’s regulations under each criterion       motor vehicle program to meet compelling and
                                                   actions on the remaining regulations and the               and makes separate decisions with respect to each     extraordinary conditions.
                                                   remaining portion of the affected regulation to            regulation.                                             66 2018 HD Warranty Amendments Waiver

                                                   remain in effect.                                            64 MEMA I, 627 F.2d at 1111–12.                     Support Document at 18–25.



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                                                   considered accompanying enforcement                     requirements of the third waiver prong.                 ‘‘[t]he language of the statute and its
                                                   procedures because they constitute                      EPA notes that there could be some                      legislative history indicate that
                                                   criteria designed to determine                          level of uncertainty in determining                     California’s regulations, and California’s
                                                   compliance with applicable standards                    whether ‘‘new issues’’ have been raised,                determination that they comply with the
                                                   and are accordingly relevant to a                       including whether a compliance path                     statute, when presented to the
                                                   manufacturer’s ability to produce                       where manufacturers only cover the                      Administrator are presumed to satisfy
                                                   vehicles and engines that comply with                   costs of expected additional warranty                   the waiver requirements.’’ 72
                                                   applicable standards for their useful                   claims is equivalent to a new, more                     Additionally, it is ‘‘the parties opposing
                                                   lives.67                                                stringent accompanying enforcement                      the waiver request bear the burden of
                                                      Because accompanying enforcement                     procedure. In addition, because the                     persuading the Administrator that the
                                                   procedures are only contained in                        criteria for a within-the-scope waiver                  waiver request should be denied.’’ 73
                                                   section 209(b)(1)(C), or the third waiver               evaluation and a full waiver are similar,
                                                   prong, EPA’s historical practice of                                                                             1. EPA’s Historical Interpretation of
                                                                                                           EPA believes it is prudent in this
                                                   considering whether to grant waivers for                                                                        Section 209(b)(1)(A)
                                                                                                           instance to review the request under the
                                                   accompanying enforcement procedures                     full waiver criteria (i.e., the relevant two               EPA’s long-standing interpretation
                                                   tied to standards for which a waiver has                prongs identified above). The 2018 HD                   (also called the ‘‘traditional
                                                   already been granted is to determine                    Warranty Amendments encompass                           interpretation’’) is that the phrase ‘‘State
                                                   only: (1) Whether the enforcement                       several elements that individually and                  standards’’ in section 209(b)(1) means
                                                   procedures threaten the validity of                     collectively establish more rigorous                    the entire California new motor vehicle
                                                   California’s determination that its                     emissions warranty and emissions                        emissions program.74 Therefore, as
                                                   standards are as protective of public                   maintenance schedule requirements that                  explained below, when evaluating
                                                   health and welfare as applicable Federal                raise issues regarding the technological                California’s protectiveness
                                                   standards, (i.e., the first prong) and (2)              feasibility of the aggregate requirements               determination, EPA compares the
                                                   whether the Federal and California                      applicable to new heavy-duty vehicles                   California standards as a whole to the
                                                   enforcement procedures are consistent                   and engines. Therefore, EPA is                          Federal standards. That comparison is
                                                   (i.e., the third prong).68 EPA notes that               evaluating the 2018 HD Warranty                         undertaken within the broader context
                                                   these two criteria are similar to the                   Amendments under the two waiver                         of the previously waived California
                                                   questions EPA reviews for within-the-                   criteria below that apply to                            program, which relies upon
                                                   scope requests for both standards and                   accompanying enforcement                                protectiveness determinations that EPA
                                                   enforcement procedures. However,                        procedures.70                                           has previously found were not arbitrary
                                                   when reviewing amendments to a                                                                                  and capricious.75 That evaluation
                                                                                                           B. First Waiver Criterion: Are                          follows the instruction of section
                                                   previously waived standard or
                                                                                                           California’s Protectiveness                             209(b)(2), which states: ‘‘If each State
                                                   accompanying enforcement procedure,                     Determinations Arbitrary and
                                                   for which CARB seeks a within-the-                                                                              standard is at least as stringent as the
                                                                                                           Capricious?                                             comparable applicable Federal standard,
                                                   scope determination from EPA, EPA
                                                   also reviews whether the amendments                        We now turn to California’s                          such State standard shall be deemed to
                                                   raise any ‘‘new issues’’ affecting the                  protectiveness determinations for the                   be at least as protective of health and
                                                   Administrator’s previous waiver                         regulations covered under each of its                   welfare as such Federal standards for
                                                   determination, and if there are new                     waiver requests. EPA’s evaluation of                    purposes of [209(b)(1)].’’ 76
                                                   issues that trigger a full review of the                this first waiver prong is performed                       To review California’s protectiveness
                                                   relevant two prongs.69                                  under the construct explained here.                     determination in light of section
                                                      In this instance, EPA believes new                   Section 209(b)(1)(A) of the Clean Air                   209(b)(2), EPA conducts its own
                                                   issues have been raised by the                          Act requires EPA to grant a waiver                      analysis of the newly adopted California
                                                   amendments and therefore it is                          unless the Administrator finds that                     standards to comparable applicable
                                                   appropriate to review the Amendments                    California’s determination that its State               Federal standards. The comparison
                                                   under the complete waiver criteria                      standards will be, in the aggregate, at
                                                   applicable to accompanying                              least as protective of public health and                   72 Id. See also Ford Motor, 606 F.2d 1293, 1297

                                                                                                           welfare as applicable Federal standards,                (D.C. Cir. 1979).
                                                   enforcement procedures (i.e., the first                                                                            73 MEMA I, 627 F.2d at 1121.
                                                   and third waiver prongs). Because under                 is arbitrary and capricious. EPA may not                   74 74 FR 32744, 32749 (July 8, 2009); 70 FR 50322

                                                   either compliance path the                              disregard California’s determination                    (Aug. 26, 2005); 77 FR 9239 (Feb. 16, 2012); 78 FR
                                                   manufacturer is under an additional                     unless there is ‘‘clear and compelling                  2112, 2123 (Jan. 9, 2013).
                                                   requirement that creates a new burden                   evidence’’ to the contrary.71 Moreover,                    75 36 FR 17458 (Aug. 31, 1971). (‘‘The law makes

                                                                                                                                                                   it clear that the waiver requests cannot be denied
                                                   rather than a flexibility, EPA believes                   70 EPA believes it is only necessary to review: (1)   unless the specific finding designated in the statute
                                                   this necessarily creates a new question                 Whether the enforcement procedures are so lax that      can properly be made. The issue of whether a
                                                   as to whether the accompanying                          they threaten the validity of California’s              proposed California requirement is likely to result
                                                                                                                                                                   in only marginal improvement in air quality not
                                                   enforcement procedure meets the                         determination that its standards are as protective of
                                                                                                                                                                   commensurate with its cost or is otherwise an
                                                                                                           public health and welfare as applicable Federal
                                                                                                           standards, and (2) whether the Federal and              arguably unwise exercise of regulatory power is not
                                                      67 MEMA I at 1111–13 (‘‘In that setting we believe
                                                                                                           California enforcement procedures are consistent.       legally pertinent to my decision under section 209,
                                                   that the Administrator correctly classified the in-     However, even if EPA were to review the                 so long as the California requirement is consistent
                                                   use maintenance regulations as accompanying             enforcement procedures under the second waiver          with section 202(a) and is more stringent than
                                                   enforcement procedures’ rather than as                  criterion (as EPA does in the alternative below,        applicable Federal requirements in the sense that it
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                                                   ‘‘standards.’’); Decision Document accompanying         without conceding the second waiver criterion           may result in some further reduction in air
                                                   51 FR 12391 (April 10, 1986), at 3. EPA sets            applies, which we include in the event that those       pollution in California.’’). The ‘‘more stringent’’
                                                   emissions warranty periods under section 207(a)         opposed to the waiver believe the 2018 HD               standard expressed here in 1971 was superseded by
                                                   and not section 202(a). See, e.g., 48 FR 52170          Warranty Amendments are equivalent to new               the 1977 Amendments to section 209, which
                                                   (November 16, 1983).                                    emission standards rather than accompanying             established that California’s standards must be, in
                                                      68 MEMA I, 627 F.2d 1095, 1111, 1113; Decision                                                               the aggregate, at least as protective of public health
                                                                                                           enforcement procedures), the opponents of the 2018
                                                   Document accompanying 61 FR 53371 (Oct. 11,             HD Warranty Amendments have not met their               and welfare as applicable Federal standards. The
                                                   1996) at 17; 74 FR 3030, 3032 (Jan. 16, 2009).          burden of proof regarding section 209(b)(1)(B).         stringency standard remains, though, in section
                                                      69 45 FR 54130 (Aug. 14, 1980); 46 FR 36742 (July      71 MEMA I, 627 F.2d 1095, 1121–22 (D.C. Cir.          209(b)(2).
                                                   15, 1981); 75 FR 44948, 444951 (July 30, 2010).         1979).                                                     76 CAA section 209(b)(2).




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                                                   quantitatively answers whether the new                  emission standards, in the aggregate, to                    Second, the ACT, ZEAS, and ZEP
                                                   standards are more or less protective                   be less protective of public health and                  waiver request also contained CARB’s
                                                   than the Federal standards.                             welfare than applicable Federal                          summary of the Board’s protectiveness
                                                      Section 209 provides two paths for                   standards in Resolution 18–24.80 CARB                    findings regarding its ZEAS Regulation
                                                   finding that California’s protectiveness                noted that the 2018 HD Warranty                          and explained that there are no
                                                   determination is reasonable. In addition                Amendments do not reduce the                             comparable Federal requirements.84
                                                   to a side-by-side comparison of                         stringency of the previously waived                         Finally, in the ACT, ZEAS, and ZEP
                                                   California and applicable Federal                       emission standards or the associated test                waiver request, CARB noted that the
                                                   standards considering section 209(b)(2),                procedures for 2007 and subsequent                       ZEP Certification Regulation was also
                                                   California’s program can still be at least              model year heavy-duty diesel engines                     accompanied by the Board approved
                                                   as protective as EPA’s program even if                  and vehicles, but instead establish                      Resolution 19–15 that contained a
                                                   some (or even all) of the new or                        emissions warranty requirements for                      determination that these regulations
                                                   amended standards in a waiver request                   heavy-duty diesel engines and heavy-                     will not cause California’s motor vehicle
                                                   are less stringent than the applicable                  duty diesel vehicles that are more                       emission standards, in the aggregate, to
                                                   EPA standards if California’s program,                  stringent than the corresponding                         be less protective of public health and
                                                   as a whole, is at least as protective as                Federal emission warranty requirements                   welfare than applicable Federal
                                                   the Federal standards as a whole.77                     for such engines and vehicles.81                         standards.85
                                                   Thus, EPA first examines whether the
                                                                                                           b. ACT, ZEAS, and ZEP Certification                      3. Comments on California’s
                                                   side-by-side analysis under section
                                                                                                           Regulations                                              Protectiveness Determinations
                                                   209(b)(2) resolves the protectiveness
                                                   inquiry. If there are some EPA standards                   Regarding CARB’s request for a                           EPA did not receive any comment
                                                   that are numerically more stringent that                waiver for the ACT Regulation, ZEAS                      suggesting that CARB’s 2018 HD
                                                   the California standards, then the                      Regulation, and ZEP Certification                        Warranty Amendments threaten the
                                                   question that EPA reviews is whether                    Regulation, CARB noted that it made                      validity of California’s determination
                                                   the new or amended California                           protectiveness determinations for each                   that its standards are as protective of
                                                   standards would cause the State’s new                   respective regulation in the request.                    public health and welfare as applicable
                                                   motor vehicle emissions program as a                       First, CARB stated that in Board                      Federal standards.86
                                                   whole (‘‘in the aggregate’’) to become                  Resolution 78–10 it determined that the                     However, EPA received several
                                                   less protective than EPA’s program. A                   requirements related to the control of                   comments that claimed that CARB’s
                                                   finding that California’s protectiveness                emissions contained in the ACT                           protectiveness determinations in
                                                   determination was arbitrary and                         Regulation will not cause California                     support of the ACT Regulation and the
                                                   capricious under section 209(b)(1)(A)                   motor vehicle emission standards, in the                 ZEAS Regulation were arbitrary and
                                                   must be based upon ‘‘‘clear and                         aggregate, to be less protective of public               capricious.87 One commenter claimed
                                                   compelling evidence’ to show that                       health and welfare than applicable                       that CARB was pursuing a policy
                                                   proposed [standards] undermine the                      Federal standards, and that no basis                     directive toward the acceleration of
                                                   protectiveness of California’s                          exists for EPA’s Administrator to find                   ZEVs in the medium- and heavy-duty
                                                   standards.’’ 78                                         that determination arbitrary and                         truck sector by glossing over a number
                                                      As noted previously, when                            capricious.82 CARB noted that its ACT                    of impacts both within and outside the
                                                   considering whether to grant waivers for                Regulation is clearly more stringent than                State of California that renders the ACT
                                                   accompanying enforcement procedures                     any applicable Federal requirements                      Regulation less protective than
                                                   tied to standards for which a waiver has                because there are no comparable Federal                  applicable Federal standards.88 Several
                                                   already been granted, EPA has long held                 requirements.83                                          commenters asserted that CARB over-
                                                   that, under section 209(b)(1)(A)’s first                                                                         estimated the emission benefits of its
                                                   prong, it will only address the question
                                                                                                             80 EPA–HQ–OAR–2022–0330–0004.                          standards, even though CARB noted that
                                                   of whether the enforcement procedures
                                                                                                              81 Id. at 19–20. CARB also noted that the newly
                                                                                                                                                                    its standards would still enhance the
                                                                                                           established emission warranty periods for every          relative protectiveness of the California
                                                   are so lax that they threaten the validity              category of California heavy-duty diesel engines
                                                   of California’s previous determination                  and heavy-duty diesel vehicles exceed the
                                                                                                                                                                      84 Id.
                                                                                                           corresponding federal emission warranty period of                at 20. See Board Resolution 19–16.
                                                   that its standards are as protective of                                                                            85 Id.at 20–21.
                                                                                                           5 years or 100,000 miles during this time frame.
                                                   public health and welfare as applicable                 CARB also noted that the newly established                 86 Although there is no information in the record
                                                   Federal standards.79                                    minimum allowable maintenance schedules for              that would support a finding that CARB’s
                                                                                                           emissions-related parts are more restrictive             protectiveness determination was arbitrary and
                                                   2. CARB’s Discussion of California’s                    regarding allowable repairs or replacements of           capricious in a section ‘‘209(b)(2) type’’ of analysis,
                                                   Protectiveness Determinations in the                    emissions-related parts than the corresponding           we note that, because section 209(b)(1)(A) calls for
                                                   Waiver Requests                                         federal allowable maintenance schedules, and the         an analysis of whether California’s motor vehicle
                                                                                                           Amendments expand the scope of California’s              emission standards, in the aggregate, are as
                                                   a. 2018 HD Warranty Amendments                          emissions warranty beyond the federal emissions          protective of public health and welfare as
                                                                                                           warranty by expressly encompassing components            applicable Federal standards, EPA also incorporates
                                                      With regard to the 2018 HD Warranty                  monitored by HD OBD systems which, when they             the findings below regarding the protectiveness of
                                                   Amendments, CARB made a                                 fail, cause the HD OBD system’s malfunction              the regulations in CARB’s ACT, ZEAS, and ZEP
                                                   determination that the Amendments                       indication light (MIL) to illuminate. Id.                waiver request to the finding regarding the HD
                                                                                                              82 EPA–HQ–OAR–2022–0331–0003. See Board               Warranty Amendments.
                                                   will not cause California’s motor vehicle               Resolution 20–19.                                          87 Although EPA discusses these comments as
                                                                                                              83 Id. CARB further notes that ‘‘because              provided (meaning that some comments are
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                                                     77 Id.
                                                                                                           California’s pre-existing motor vehicle emissions        discussed in the context of multiple regulations at
                                                     78 MEMA   I, 627 F.2d at 1122.                                                                                 once), EPA considered comments separately in its
                                                                                                           program does not require medium- or heavy-duty
                                                     79 MEMA   I, 627 F.2d 1095, 1113 n.36 (D.C. Cir.      vehicles and engines to meet zero emission               evaluation of California’s protectiveness
                                                   1979)(The Administrator ‘‘explored whether the          standards, it is evident that the ACT regulation will,   determination for each regulation.
                                                   procedures had a negative effect on the                 in conjunction with other elements of California’s         88 Valero at 2. This commenter asserted that

                                                   protectiveness of the California standards for which    motor vehicle emissions program for medium and           CARB failed to conduct a full lifecycle analysis in
                                                   a waiver had already been granted. See 43 FR 32183      heavy-duty vehicles, render California’s motor           order to understand the full emission impacts of
                                                   (1978), reprinted in J.A. at 56. This inquiry is        vehicle emission emissions standards, in the             battery electric vehicles and that CARB did not
                                                   perfectly consistent with the Administrator’s past      aggregate, to be at least as protective of public        consider potential reductions that may be achieved
                                                   practice and his position in this court.’’)             health and welfare as applicable federal standards.’’    by internal combustion engines.



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                                                   program that EPA previously found to                    claimed that CARB should have adopted                  validity of CARB’s protectiveness
                                                   be as protective as the Federal                         different regulatory approaches, such as               determination applicable to these
                                                   program.89 EPA did not receive any                      one that incorporates increased                        enforcement procedures. Based on the
                                                   comments related to CARB’s                              introduction of renewable liquid and                   record EPA cannot make a
                                                   protectiveness determination for the                    gaseous fuels, which the commenter                     determination that CARB’s
                                                   ZEP Certification Regulation.                           claimed would be more cost effective.94                protectiveness finding regarding the
                                                      As noted above, EPA received                         In response, CARB noted that EPA is                    2018 HD Warranty Amendments was
                                                   comments that claimed that the ACT                      precluded from considering different                   arbitrary and capricious.
                                                   Regulation would slow down fleet                        policy or hypothetical rulemaking                         EPA has received no comment or
                                                   turnover and that, by requiring zero-                   options that CARB might have                           other information in the record to
                                                   emission vehicles, this regulation would                considered and rather is properly                      support an argument that EPA’s
                                                   not ‘‘result in lower emissions of GHGs                 guided by the language at section                      statutory interpretation of the first
                                                   and other pollutants than can be                        209(b)(2) that clearly states that if each             waiver prong for its analysis of the
                                                   achieved by internal combustion engine                  state standard is at least as stringent as             California emission standards (i.e., ACT
                                                   (ICE) vehicles.’’ 90 Another commenter                  the comparable Federal standard that                   Regulation, ZEAS Regulation, and ZEP
                                                   contended that ‘‘to the extent a CARB                   such California standards shall be                     Certification Regulation) is
                                                   [commercial truck or tractor (CMV)] rule                deemed at least as protective of public                unreasonable. In addition, EPA received
                                                   or standard is technologically infeasible,              health and welfare as such Federal                     no comment or information that
                                                   or likely result in new CMVs that are                   standards for purposes of section                      provided any type of numerical
                                                   cost prohibitive’’ or that raises                       209(b)(1).95                                           comparison of the stringency of CARB’s
                                                   reliability concerns then ‘‘the agency’’                                                                       standards to applicable Federal
                                                   would be acting ‘‘arbitrarily and                       4. California’s Protectiveness                         standards. Specifically, there is no
                                                   capriciously’’ to issue such a rule or                  Determinations Are Not Arbitrary and                   evidence in the record to demonstrate,
                                                   standard.91                                             Capricious                                             by way of numerical comparison, that
                                                      In response, CARB noted that these                      As described above, EPA’s traditional               CARB’s standards are not as stringent,
                                                   commenters cannot establish ‘‘that                      analysis has been to evaluate                          in the aggregate, as EPA’s
                                                   delayed purchases or pre-buys or other                  California’s protectiveness                            requirements.97 To the extent that
                                                   purchasing choices would lead to                        determination by comparing the new                     commenters stated that CARB over-
                                                   emissions increases as a result of ACT                  California standards, or amendments, to                estimated the emission benefits of its
                                                   or ZEAS’’ because ‘‘both regulations                    applicable EPA emission standards for                  standards, on the basis of the record
                                                   will require displacement of higher-                    the same pollutants. The comparison of                 EPA agrees with CARB that, under a
                                                   emitting conventional vehicles with                     EPA and California standards is                        numerical comparison of the standards,
                                                   zero-emission vehicles’’ and ‘‘[e]ven if                undertaken within the broader context                  the new standards will still be more
                                                   that displacement is lower or slower                    of the previously waived California                    stringent than the Federal program—
                                                   than CARB estimated, these standards                    program, which relies upon                             especially in the case of the ACT and
                                                   nonetheless could not make California’s                 protectiveness determinations that EPA                 ZEAS Regulations, which have no
                                                   motor vehicle program less protective                   has previously found were not arbitrary                comparable Federal requirements.
                                                   than EPA’s.’’ 92                                        and capricious.96 The prior statutory                     Therefore, we find that the opponents
                                                      EPA also received comments that                      requirement that each California                       of the waiver have not met their burden
                                                   questioned the policy of CARB’s                         standard be ‘‘more stringent’’ than the                of proof to demonstrate that any of
                                                   adoption of the ACT and ZEAS                            Federal standard was superseded by the                 CARB’s protectiveness determinations
                                                   Regulations. One commenter claimed                      1977 Amendments to section 209,                        associated with the regulations
                                                   that maintaining the existing Federal                   which established that a waiver must be                contained in the two waiver requests
                                                   standards would be the best way for                     granted where California’s standards                   were arbitrary and capricious and,
                                                   California to minimize environmental                    are, in the aggregate, at least as
                                                   impacts, based on a full lifecycle                      protective of public health and welfare
                                                                                                                                                                     97 EPA notes that CARB’s protectiveness

                                                   assessment of emissions, instead of                                                                            determinations, associated with each of the
                                                                                                           as applicable Federal standards. This                  regulations contained in its waiver request were not
                                                   California’s approach that would                        was intended to afford California the                  arbitrary and capricious despite subsequent changes
                                                   necessitate expensive battery electric                  broadest possible discretion in                        to the ‘‘applicable Federal standards’’ in section
                                                   technology that would slow fleet                                                                               209(b)(1)(A). In this case changes in the applicable
                                                                                                           designing is motor vehicle emission                    standards are reflected in EPA’s recent rule to lower
                                                   turnover.93 Regarding the ACT                           program.                                               NOX and other air pollutants from heavy-duty
                                                   Regulation some commenters also                            EPA did not receive any comments or                 vehicles and engines starting in the 2027 model
                                                                                                           information in the record that                         year. See 88 FR 4296 (January 24, 2023). EPA’s
                                                      89 CARB Supplemental Comments, Docket Nos.                                                                  regulation does not relate to emission warranty and
                                                                                                           demonstrated that CARB’s new, more                     other requirements for the same model year (2022–
                                                   EPA–HQ–OAR–2022–0330–0072, EPA–HQ–OAR–
                                                   2022–0331–0133. CARB noted that if there are any        stringent 2018 HD Warranty                             2023) heavy-duty vehicles and engines as the 2018
                                                   benefits from the new standards then their adoption     Amendments would threaten the                          HD Warranty Amendments. This is in contrast to
                                                   cannot render the existing California program less                                                             EPA’s recent rulemaking where the extended
                                                   protective. CARB stated that, since there are no          94 One commenter suggests that, to the extent the
                                                                                                                                                                  emission warranty period takes place with the 2027
                                                   comparable federal requirements for ACT and                                                                    model year. Likewise, the EPA regulation does not
                                                                                                           ACT Regulation is technologically infeasible or cost   relate to or does not set zero-emission vehicle
                                                   ZEAS, this logic is all the more true.                  prohibitive for customers or otherwise raises
                                                      90 Valero at 2; see also AFPM at 8.                                                                         requirements related to heavy-duty vehicles and
                                                                                                           reliability concerns, then CARB’s protectiveness       engines as do the regulations contained in CARB’s
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                                                      91 NADA at 2–3. We further address these latter      determination would be arbitrary and capricious.       ACT, ZEAS, and ZEP waiver request. In addition,
                                                   comments in our analysis of the third waiver            Another commenter stated that California has not       at the time CARB submitted its waiver requests the
                                                   criterion below. In general, EPA has long explained     conducted any air quality analysis per dollar of       ‘‘applicable Federal standards’’ were EPA’s
                                                   that ‘‘questions concerning the effectiveness of the    investment relative to the existing Federal            regulations adopted in 2002 and applicable to 2007
                                                   available technology are also within the category       standards versus the ACT Regulation. This              and 2010 requirements, and not EPA’s most recent
                                                   outside my permissible scope of inquiry,’’ under        commenter claimed that a full life-cycle analysis      rulemaking. As noted, no evidence is in the record
                                                   section 209(b)(1)(C). 41 FR 44209, 44210 (October       would reveal that the existing Federal NOX             to demonstrate, by way of numerical comparison,
                                                   7, 1976).                                               standards are the better approach. AFPM at 12–15.      that CARB’s standards are not as stringent, in the
                                                      92 CARB Supplemental Comments at 4.                    95 CARB Supplemental Comments at 2.
                                                                                                                                                                  aggregate, as the prior EPA standards that
                                                      93 AFPM at 8–12.                                       96 78 FR 2112, 2123 (January 9, 2013).               commenced in the 2007 model year.



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                                                   therefore, EPA cannot deny the CARB’s                   a conclusion that the ACT and ZEAS                      burden of proof on the opponents of the
                                                   waiver requests based on section                        Regulations, which require more and                     waiver.102 Similar to commenters’
                                                   209(b)(1)(A).                                           more of these vehicles, would increase                  claims that the regulations would result
                                                      Additionally, in response to                         the protectiveness of California’s                      in slower fleet turnover, statements that
                                                   comments suggesting that CARB should                    program.100 Moreover, EPA does not                      these purchasing decisions will result in
                                                   have adopted different policies or                      agree with the commenters’ claims that                  fewer emission benefits does not
                                                   different regulations, or that CARB’s                   considering lifecycle emissions renders                 otherwise demonstrate that CARB’s
                                                   ACT and ZEAS Regulations will not be                    the protectiveness finding arbitrary and                emission standards are less protective
                                                   effective, EPA notes that there are no                  capricious. First, the scope of EPA’s                   than applicable Federal standards, or
                                                   comparable Federal standards                            review of CARB’s protectiveness                         that CARB’s protectiveness
                                                   mandating, for instance, sales of a                     determination is narrow and need not                    determination was arbitrary and
                                                   certain percentage of ZEV and NZEV                      include far-reaching assessments of the                 capricious.
                                                   vehicles, or zero-emission airport                      environmental or other impacts of
                                                   shuttle fleet composition.98 As such,                   CARB’s chosen regulations and                           5. Section 202(b)(1)(A) Conclusion
                                                   any enhancement to CARB’s motor                         associated policy decisions. Section
                                                   vehicle emission program—including its                  209(b)(1) does not require California or                   EPA believes that, given the lack of
                                                   heavy-duty vehicles standards—cannot                    EPA to consider lifecycle emissions. Nor                any comments or information in the
                                                   render California’s program less                        does it otherwise suggest that EPA must                 record that demonstrate that CARB’s
                                                   protective than the applicable Federal                  look broadly outside motor vehicle                      new more stringent 2018 HD Warranty
                                                   standards. Likewise, and as we further                  emissions to emissions from other                       Amendments would threaten the
                                                   address these latter comments in our                    sources, including those regulated                      validity of CARB’s protectiveness
                                                   analysis of the third waiver criterion                  under separate federal and state                        determination, it has no basis to
                                                   below, EPA is not permitted in its                      programs. Therefore, EPA is not                         conclude that California’s determination
                                                   statutory role to assess different,                     required to consider potential broader                  that its standards are at least as
                                                   hypothetical CARB regulations that                      environmental impacts in assessing                      protective is arbitrary and capricious
                                                   CARB might have adopted and then, in                    protectiveness. Secondly, to the extent                 and therefore deny CARB’s waiver
                                                   turn, compare those regulations to                      such impacts and decisions could be                     request for the 2018 HD Warranty
                                                   Federal standards.99 That is, the                       relevant to section 209(b)(1)(A),                       Amendments under section
                                                   relevant question before EPA is whether                 commenters failed to adduce sufficient                  209(b)(1)(A). The same conclusion
                                                   California’s standards are in the                       evidence to support this argument                       applies were EPA to consider (in the
                                                   aggregate at least as protective as the                 considering California’s technical                      alternative) the 2018 HD Warranty
                                                   Federal ones, not whether California                    findings relating to this issue.101                     Amendments as emission standards as
                                                   hypothetically should have adopted a                       EPA also finds no evidence in the                    opposed to accompanying enforcement
                                                   different program that the commenter                    record, to the extent commenters                        procedures.
                                                   prefers.                                                asserted that fleet turnover would be                      Further, based on the record before
                                                      EPA also received no comments or                     slower, that supports the view that an                  EPA, we cannot find that CARB was
                                                   evidence to support the view that zero-                 emissions increase would occur because                  arbitrary and capricious in its respective
                                                   emission vehicles do not result in some                 of the ACT or ZEAS Regulations. Such                    findings that the California heavy-duty
                                                   degree of lower emissions—of either                     claims, without evidence that the                       vehicle and engine standards, including
                                                   criteria pollutants or GHGs—than                        regulations result in less protective                   the ACT Regulation, the ZEAS
                                                   conventional vehicles do. EPA agrees                    emission standards do not meet the                      Regulation, and the ZEP Certification
                                                   with CARB that this logically supports
                                                                                                             100 CARB Final Statement of Reasons for ACT
                                                                                                                                                                   Regulation) are individually, and in the
                                                     98 In general, EPA has long explained that            Regulation at 105–06, https://ww2.arb.ca.gov/sites/     aggregate, at least as protective of public
                                                   ‘‘questions concerning the effectiveness of the         default/files/barcu/regact/2019/act2019/fsor.pdf;       health and welfare as applicable Federal
                                                   available technology are also within the category       CARB Supplemental Comments at 3–4 (‘‘It is, in          standards. CARB has provided
                                                   outside [the Administrator’s] permissible scope of      fact, unrefuted that zero-emission vehicles result in   reasonably detailed information to
                                                   inquiry,’’ under section 209(b)(1)(C). 41 FR 44209,     lower emissions (and not only of GHGs) than
                                                   44210 (October 7, 1976).                                conventional vehicles. This fact naturally leads to     support its protectiveness
                                                      99 EPA has recognized that the intent of Congress    the conclusion that requiring the sale (ACT) and use    determination. Commenters have not
                                                   in creating a limited review based on the section       (ZEAS) of more and more of these vehicles               provided sufficient information and
                                                   209(b)(1) criteria was to ensure that the Federal       increases the protectiveness of California’s program
                                                                                                           which has previously been found to be at least as
                                                                                                                                                                   analysis that calls CARB’s analysis
                                                   government did not second-guess state policy
                                                   choices. This has led EPA to state, ‘‘It is worth       protective as EPA’s.’’).                                (associated with the California
                                                   noting . . . I would feel constrained to approve a        101 CARB Supplemental Comments at 3 (‘‘[T]he          protectiveness determination) into
                                                   California approach to the problem which I might        only analysis offered—a report by the American          question. Therefore, we find that the
                                                   also feel unable to adopt at the federal level in my    Transportation Research Institute—does nothing to       opponents of the waiver have not met
                                                   own capacity as a regulator. The whole approach         undermine CARB’s determination. That report (also
                                                   of the Clean Air Act is to force the development of     prepared after CARB’s protectiveness                    their burden of proof to demonstrate
                                                   new types of emission control technology where          determination) focused only on lifecycle GHG            that any of CARB’s protectiveness
                                                   that is needed by compelling the industry to ‘‘catch    emissions from Class 8 trucks engaged in long           determinations associated with the
                                                   up’’ to some degree with newly promulgated              hauls, and, as such, it cannot undermine CARB’s         regulations contained within their
                                                   standards. Such an approach * * * may be attended       protectiveness determination which was based on
                                                   with costs, in the shaped of reduced product            consideration of all affected pollutants and all        waiver requests were arbitrary and
                                                   offering, or price or fuel economy penalties, and by    regulated vehicles. In any event, even though it        capricious and, therefore, EPA cannot
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                                                   risks that a wider number of vehicle classes may not    focused exclusively on the vehicles that CARB           deny CARB’s waiver requests based on
                                                   be able to complete their development work in           found the least promising for near-term                 section 209(b)(1)(A).
                                                   time. Since a balancing of these risks and costs        electrification, the report nonetheless finds that
                                                   against the potential benefits from reduced             zero-emission Class 8 trucks engaged in long hauls
                                                   emissions is a central policy decision for any          would have lower lifecycle GHG emissions than              102 As previously mentioned, CARB performed a

                                                   regulatory agency under the statutory scheme            conventional Class 8 trucks. In other words, this       sensitivity analysis of both ‘‘pre-buy’’ and ‘‘no-buy’’
                                                   outlined above, I believe I am required to give very    report, too, supports the determination that            scenarios regarding both the ACT and ZEAS
                                                   substantial deference to California’s judgments on      California’s program with ACT is at least as            program. For the ACT Regulation, CARB found that
                                                   this score.’’ 40 FR 23103–04. See also LEV I, 58 FR     protective as EPA’s federal program (which has no       it would cause no increases in emissions. CARB
                                                   4166 (January 13, 1993), Decision Document at 64.       ACT-like standards)’’ (original emphasis)).             Supplemental Comments at 3–4.



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                                                   C. Second Waiver Criterion: Does                        that ‘‘[t]he expansive statutory language                  [T]o find that the ‘compelling and
                                                   California Need Its Standards To Meet                   gives California (and in turn EPA) a                     extraordinary conditions’ test should apply
                                                   Compelling and Extraordinary                            good deal of flexibility in assessing                    to each pollutant would conflict with the
                                                                                                                                                                    amendment to section 209 in 1977 allowing
                                                   Conditions?                                             California’s regulatory needs. We
                                                                                                                                                                    California to select standards ‘in the
                                                     Under section 209(b)(1)(B) of the Act,                therefore find no basis to disturb EPA’s                 aggregate’ at least as protective as federal
                                                   EPA must grant a waiver for California                  reasonable interpretation of the second                  standards. In enacting that change, Congress
                                                   vehicle and engines standards and                       criterion.’’ 107                                         explicitly recognized that California’s mix of
                                                   accompanying enforcement procedures                        In addressing the Agency’s reading of                 standards could ‘include some less stringent
                                                   unless EPA finds that California ‘‘does                 section 209(b)(1)(B) as addressing                       than the corresponding federal standards.’
                                                   not need such State standards to meet                   California’s need for the motor vehicle                  See H.R. Rep. No. 294, 95th Cong., 1st Sess.
                                                                                                           emission program standards program as                    302 (1977). Congress could not have given
                                                   compelling and extraordinary                                                                                     this flexibility to California and
                                                   conditions.’’ EPA has traditionally                     a whole in the 1983 LEV waiver request,
                                                                                                           for example, EPA explained that:                         simultaneously assigned to the state the
                                                   interpreted this provision as requiring                                                                          seemingly impossible task of establishing
                                                                                                              This approach to the ‘‘need’’ criterion
                                                   consideration of whether California                                                                              that ‘extraordinary and compelling
                                                                                                           is also consistent with the fact that                    conditions’ exist for each standard.109
                                                   needs a separate motor vehicle program
                                                                                                           because California standards must be as
                                                   to meet compelling and extraordinary                                                                                Congress has also not disturbed this
                                                                                                           protective as Federal standards in the
                                                   conditions.103                                                                                                   reading of section 209(b)(1)(B) as calling
                                                                                                           aggregate, it is permissible for a
                                                   1. EPA’s Historical Interpretation of                   particular California standard or                        for EPA review of California’s whole
                                                   Section 209(b)(1)(B)                                    standards to be less protective than the                 program. With two noted exceptions
                                                                                                           corresponding Federal standard. For                      described below, EPA has consistently
                                                      For nearly the entire history of the
                                                                                                           example, for many years, California                      interpreted this provision as requiring
                                                   waiver program, EPA has read the
                                                                                                           chose to allow a carbon monoxide                         the Agency to consider whether
                                                   phrase ‘‘such State standards’’ in section
                                                                                                           standard for passenger cars that was less                California needs a separate motor
                                                   209(b)(1)(B) as referring back to
                                                                                                           stringent than the corresponding                         vehicle emission program rather than
                                                   standards ‘‘in the aggregate,’’ in the root
                                                                                                           Federal standard as a ‘‘trade-off’’ for                  the specific standards in the waiver
                                                   paragraph of section 209(b)(1), which
                                                                                                           California’s stringent nitrogen oxide                    request at issue to meet compelling and
                                                   calls for California to make a
                                                                                                           standard. Under a standard of review                     extraordinary conditions. Congress
                                                   protectiveness finding for its standards.
                                                                                                           like that proposed by MVMA/AIAM,                         intended to allow California to address
                                                   EPA has interpreted the phrase ‘‘in the
                                                   aggregate’’ as referring to California’s                EPA could not approve a waiver request                   its extraordinary environmental
                                                   program as a whole, rather than each                    for only a less stringent California                     conditions and foster its role as a
                                                   State standard, and as such the Agency                  standard because such a standard, in                     laboratory for motor vehicle emissions
                                                   evaluates both protectiveness and need                  isolation, necessarily could be found to                 control. The Agency’s longstanding
                                                   with reference to California’s program as               be contributing to rather than helping,                  practice therefore has been to evaluate
                                                   a whole.104 EPA has reasoned that both                  California’s air pollution problems.108                  CARB’s waiver requests with the
                                                   statutory provisions must be read                          In 1994, EPA again had cause to                       broadest possible discretion to allow
                                                   together so that the Agency reviews the                 explain the Agency’s reading of section                  California to select the means it
                                                   same standards (e.g., new motor vehicle                 209(b)(1)(B) in the context of                           determines best to protect the health
                                                   emission standards program) for need                    California’s particulate matter standards                and welfare of its citizens in recognition
                                                   under 209(b)(1)(B) that California                      waiver request:                                          of both the harsh reality of California’s
                                                   considers in making its protectiveness                                                                           air pollution and the importance of
                                                   determination, and that under this                      209(b)(1)(C). EPA has traditionally interpreted the      California’s ability to serve as a pioneer
                                                                                                           third waiver criterion’s feasibility analysis as a       and a laboratory for the nation in setting
                                                   statutory framework EPA is to afford                    whole-program approach. 87 FR 14361, n.266. See
                                                   California discretion in assessing its                  also 84 FR at 51345.                                     new motor vehicle emission standards
                                                   need for its motor vehicle emission                        107 Am. Trucking Ass’n v. EPA, 600 F.3d 624, 627      and developing control technology.110
                                                   standards program.105 EPA has also                      (D.C. Cir. 2010) (ATA v. EPA). See also Dalton           EPA notes that ‘‘the statute does not
                                                                                                           Trucking v. EPA, No. 13–74019 (9th Cir. 2021)            provide for any probing substantive
                                                   explained that section 209(b)(1)(C) also                (‘‘The EPA was not arbitrary and capricious in
                                                   supports the ‘‘whole program’’                          declining to find that ‘California does not need such    review of the California standards by
                                                   interpretation of section 209(b)(1)(B), as              California standards to meet compelling and              federal officials.’’ 111 As a general
                                                                                                           extraordinary conditions,’ section 7543(e)(2)(A)(ii),    matter, EPA has applied the traditional
                                                   EPA’s feasibility assessment necessarily                under the alternative version of the needs test,
                                                   must evaluate any interactions between                  which requires ‘a review of whether the Fleet
                                                                                                                                                                    interpretation in the same way for all air
                                                   the standards in the proposed program                   Requirements are per se needed to meet compelling        pollutants, criteria and GHG pollutants
                                                   (as well as other existing compliance                   and extraordinary conditions,’ 78 FR at 58,103. The      alike.112
                                                                                                           EPA considered ‘the relevant factors,’ Motor Vehicle        In a departure from its long-standing
                                                   obligations) and whether those                          Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins.
                                                   interactions create feasibility                         Co., Inc., 463 U.S. 29, 42–43 (1983), including          interpretation, EPA has on two separate
                                                   problems.106 The D.C. Circuit has held                  statewide air quality, 78 FR 58,104, the state’s         instances limited its interpretation of
                                                                                                           compliance with Federal National Ambient Air             this provision to California motor
                                                     103 87
                                                                                                           Quality standards for ozone and PM2.5 on a
                                                             FR 14332 (March 14, 2022).                    statewide basis, id. at 58,103–04, the statewide
                                                     104 49                                                                                                           109 49  FR at 18887, 18890.
                                                             FR 18887, 18890 (May 3, 1984) (‘‘The          public health benefits, id. at 58,104, and the utility
                                                   interpretation that my inquiry under section                                                                       110 See,   e.g., S. Rep. No. 403, 90th Cong., 1st Sess.
                                                                                                           of the Fleet Requirements in assisting California to
                                                   209(b)(1)(B) goes to California’s need for its own      meet its goals, id. at 58,110. Contrary to Dalton’s      33 (1967) (The waiver of preemption is for
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                                                   mobile source program is borne out not only by the      argument, the EPA did not limit its review to two        California’s ‘‘unique problems and pioneering
                                                   legislative history, but by the plain meaning of the    of California’s fourteen air quality regions. The EPA    efforts.’’); 113 Cong. Rec. 30950, 32478 (‘‘[T]he State
                                                   statue as well.’’).                                     examined the relevant data provided by CARB, and         will act as a testing agent for various types of
                                                      105 74 FR 32744, 32751, n. 44, 32761, n.104 (July
                                                                                                           it articulated a ‘satisfactory explanation for its       controls and the country as a whole will be the
                                                   8, 2009). See also 78 FR 2112, 2126–27, n.78            action including a rational connection between the       beneficiary of this research.’’) (Statement of Sen.
                                                   (January 9, 2013).                                      facts found and the choice made.’ See Motor              Murphy).
                                                      106 EPA notes there would be an inconsistency if     Vehicle Mfrs. Ass’n of U.S., Inc., 463 U.S. at 43           111 Ford Motor, 606 F.2d 1293, 1300 (D.C. Cir.

                                                   ‘‘State standards’’ meant all California standards      (cleaned up).’’).                                        1979).
                                                   when used in section 209(b)(1) but only particular         108 58 FR 4166, LEV Waiver Decision Document             112 74 FR at 32763–65; 76 FR 34693; 79 FR 46256;

                                                   standards when used in 209(b)(1)(B) and                 at 50–51.                                                81 FR 95982.



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                                                   vehicle standards that are designed to                   2. CARB’s Discussion of California’s                  expressly requires categories of medium
                                                   address local or regional air pollution                  Need for the Standards in the Waiver                  and heavy-duty vehicles and their
                                                   problems.113 In both instances EPA                       Requests                                              powertrains to emit no criteria or GHG
                                                   determined that the traditional                          a. 2018 HD Warranty Amendments                        pollutants, thereby addressing these
                                                   interpretation was not appropriate for                                                                         conditions in California. CARB further
                                                   standards designed to address a global                     As noted above, CARB maintained                     notes that EPA has consistently found
                                                   air pollution problem and its effects and                that the 2018 HD Warranty                             that California needs emission standards
                                                                                                            Amendments are an accompanying                        to address criteria pollutants, and as
                                                   that it was appropriate to address such
                                                                                                            enforcement procedure and, as such, the               each of these standards reduces those
                                                   standards separately from the remainder
                                                                                                            second waiver prong at section                        pollutants EPA has no basis upon which
                                                   of the program (the alternative                          209(b)(1)(B) does not apply to the                    to find that California does not need the
                                                   interpretation).114 However, shortly                     waiver analysis for this regulation.                  standards.121
                                                   after both instances, EPA explained that                 Alternatively, if EPA deems that the
                                                   the reinterpretation of the second                       2018 HD Warranty Amendments are                       3. Comments on Section 209(b)(1)(B)
                                                   waiver prong in this manner is flawed                    standards subject to all three waiver                    EPA received several comments
                                                   and the alternative interpretation is                    prongs, then CARB maintained that the                 requesting a denial of the regulations
                                                   inappropriate, finding that the                          regulations meet the second waiver                    under the two HD waiver requests based
                                                   traditional interpretation—in which                      prong.118 CARB also noted the same                    on section 209(b)(1)(B) grounds—that
                                                   EPA reviews the need for California’s                    conclusion applies whether this request               ‘‘such State does not need such State
                                                   motor vehicle program—is the best                        involves a new waiver (as EPA has                     standards to meet compelling and
                                                   interpretation.115 In the SAFE 1                         determined) or (in the alternative), a                extraordinary conditions.’’ Some
                                                   Reconsideration Decision, for example,                   within-the-scope determination.                       commenters asserted that the need for
                                                   the Agency evaluated the traditional                                                                           California’s standards under the second
                                                                                                            b. ACT, ZEAS, and ZEP Certification                   waiver prong should be interpreted on
                                                   interpretation and the appropriateness                   Regulations
                                                   of interpreting section 209(b)(1)(B) in                                                                        a standard-by-standard basis. In the
                                                   the same manner for all pollutants and                      CARB provided similar context in its               context of such an interpretation several
                                                   provided a textual analysis of why both                  ACT Regulation, ZEAS Regulation, and                  commenters claimed that one or more of
                                                                                                            ZEP Certification Regulation waiver                   the standards in the waiver requests
                                                   section 209(b)(1)(A) and section
                                                                                                            support document. CARB noted that                     were not needed to meet compelling
                                                   209(b)(1)(C) better support interpreting
                                                                                                            ‘‘[t]hese three rulemaking actions                    and extraordinary conditions.
                                                   209(b)(1)(B) as referring to California’s                                                                         Regarding the interpretive issue of
                                                                                                            individually and collectively implement
                                                   need for its mobile source emission                                                                            whether EPA should evaluate a need for
                                                                                                            measures in California’s State
                                                   program rather than to California’s need                                                                       the motor vehicle emission program
                                                                                                            Implementation Plan (SIP) that are
                                                   for a specific standard. EPA has not                                                                           versus an evaluation of the need for a
                                                                                                            needed for California to achieve
                                                   identified any reason to revise the                      compliance with national ambient air                  specific standard, EPA received a
                                                   interpretation contained in the SAFE 1                   quality standards and to reduce                       comment that raises arguments that EPA
                                                   Reconsideration Decision.116 Further,                    emissions of greenhouse gases                         has previously addressed in other
                                                   EPA’s two FR Notices for the HD waiver                   (GHGs).’’ 119 CARB noted that its                     waivers. For example, this commenter
                                                   requests noted the intention to use the                  Executive Officer determined that                     claimed that EPA continues to
                                                   traditional interpretation.117                           ‘‘California needs a separate motor                   incorrectly interpret the waiver criteria
                                                                                                            vehicle emission program to meet                      in a manner that does not allow
                                                      113 73 FR 12156 (March 8, 2008); SAFE 1 at
                                                                                                            compelling and extraordinary                          evaluation of each new California
                                                   51310.                                                   conditions’’ based in part on a number                emission standard. The commenter
                                                      114 SAFE 1. In SAFE 1, EPA withdrew a portion
                                                                                                            of CARB Board findings and statements                 asserted that EPA conflates the
                                                   of the waiver it had previously granted for                                                                    protectiveness criteria with the ‘‘Needs
                                                   California’s Advanced Clean Cars (ACC) program—          and information contained in Staff
                                                   specifically, the waiver for California’s zero           Reports for the regulations.120 CARB                  Test’’ in section 209(b)(1)(B).122 This
                                                   emission vehicle (ZEV) mandate and the GHG               also noted that, even if an alternative                 121 Id. at 27 (‘‘As discussed in Section I, the ACT
                                                   emission standards within California’s ACC               interpretation of section 209(b)(1)(B)
                                                   program. EPA based its action, in part, on its                                                                 regulation is projected to reduce emissions of NOX
                                                   determination that California did not need these         requires an assessment of the need for                by 6.9 tons per day (tpd), and emissions of PM2.5
                                                   emission standards to meet compelling and                individual emission standards, CARB                   by 0.24 tpd by 2031, and the ZEAS regulation is
                                                   extraordinary conditions, within the meaning of          needs the ACT Regulation, ZEAS                        projected to reduce emissions of NOX by 7.60 tons
                                                   section 209(b)(1)(B) of the CAA. That determination                                                            per year (tpy) emissions of PM2.5 by 0.15 tpy, and
                                                                                                            Regulation, and ZEP Certification                     emissions of GHGs by 81 MMT per day of CO2e by
                                                   was in turn based on EPA’s adoption of a new,
                                                   GHG-pollutant specific interpretation of section
                                                                                                            Regulation to address compelling and                  2031. By 2040, the ZEAS regulation is projected to
                                                   209(b)(1)(B). In any event, EPA expressly stated that    extraordinary conditions that California              reduce emissions of NOX by 9.99 tpy, emissions of
                                                   its new interpretation of section 209(b)(1)(B) only      faces from both criteria pollution and                PM2.5 by 1.7 tpy, and emissions of GHGs by 107
                                                                                                                                                                  MMT per day of CO2e. These emissions reductions
                                                   applies to waiver requests for GHG emission-             from climate change—each regulation                   will assist California in its efforts to attain the
                                                   reducing standards, SAFE 1 at 51341, n. 263.
                                                                                                                                                                  national and state ambient air quality standards for
                                                   Therefore, even under the SAFE 1 interpretation             118 2018 HD Warranty Amendments Waiver
                                                                                                                                                                  particulate matter and ozone, reduce individual
                                                   (which EPA does not agree with for the reasons           Support Document at 23–25. CARB noted that            health risk, and meet climate change goals. EPA has
                                                   explained below and in the SAFE 1 Reconsideration        ‘‘[t]he 2018 HD Warranty Amendments are               consistently found that California ‘needs’ emissions
                                                   Decision), EPA’s traditional interpretation would        projected to reduce statewide NOX and PM              standards to address the compelling and
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                                                   still apply to this request given all of the standards   emissions by 0.75 tons per day (tpd) and 0.008 tpd    extraordinary conditions resulting from criteria
                                                   at issue are, in whole or in part, related to the        respectively, by 2030. NOX emissions are projected    pollutants, including emissions standards that
                                                   reduction of criteria pollutant emissions, or would      to decrease in the South Coast Air Basin and in the   expressly specify limitations of emissions of GHGs,
                                                   otherwise meet the SAFE 1 alternative                    San Joaquin Valley Air Basins by 0.24 and 0.18 tpd,   and therefore has no basis to find that the
                                                   interpretation test as it applied to GHG emission.       respectively, by 2030.’’ Waiver Support Document      regulations do not satisfy the ‘compelling and
                                                      115 74 FR 32744 (July 8, 2009); SAFE 1
                                                                                                            at 2.                                                 extraordinary’ criterion.’’).
                                                   Reconsideration Decision at 14333–34, 14352–55,             119 ACT/ZEAS/ZEP Waiver Support Document at          122 Texas Public Policy Foundation at 2–4. This
                                                   14358–62.                                                1.                                                    commenter also asserted that legislative intent does
                                                      116 Id.                                                  120 ACT/ZEAS/ZEP Waiver Support Document at        not justify EPA’s interpretation and that because
                                                      117 See 87 FR 35765, 3767 (June 13, 2022).            22–25 (citing ACT/ZEAS/ZEP Waiver Request).           California must submit a new waiver request each



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                                                   commenter also asserted that EPA’s                        reduce criteria air pollution in two air                    EPA also received comments that
                                                   traditional interpretation of the second                  districts and cannot therefore ‘‘need’’                  California does not need the individual
                                                   waiver prong grants California with                       statewide standards.127                                  regulations in the waiver requests (as a
                                                   preferential regulatory treatment ‘‘by                       In its own comments, CARB noted                       factual matter) because there are other,
                                                   rubber-stamping every regulatory                          that California needs to reduce criteria                 more ‘‘robust’’ or ‘‘logical’’ existing or
                                                   change CARB makes’’ and thus violates                     pollution along major roadways                           proposed standards and/or because
                                                   the equality of the states under the                      throughout many parts of the State and                   these standards will not be effective in
                                                   Equal Sovereignty doctrine and also                       that even if California only needed to                   reducing criteria emissions. Regarding
                                                   raises questions of vast economic and                     reduce criteria pollutants in the two                    the 2018 HD Warranty Amendments,
                                                   political significance.123                                districts with the worst overall air                     EPA received comment that California
                                                      EPA also received comments that                        quality, statewide standards are still                   does not need such amendments
                                                   there cannot be a need for GHG- and                       needed due to trucks travelling from one                 because CARB’s Heavy-Duty Inspection
                                                   climate change-related standards (the                     part of the State to these districts.128                 & Maintenance Program is more
                                                   ACT and ZEAS Regulations) under the                       CARB noted that EPA has consistently                     effective and because EPA’s HD 2027
                                                   second waiver prong. One commenter                        found these challenges, and the                          rule (‘‘a 50-state harmonized approach’’)
                                                   stated that the causes and effect of                      conditions that give rise to them, are                   would soon be finalized.131 EPA also
                                                   climate change are global, not local in                   ‘‘extraordinary and compelling’’ and                     received comment that California does
                                                   nature, and therefore California does not                 thus that California needs a separate                    not need the ACT Regulation because
                                                   need standards addressing climate                         new motor vehicle emissions                              they may actually increase criteria
                                                   change under the second waiver prong.                     program.129 CARB explained that its                      emissions by making new trucks more
                                                   Drawing on principles of equal                            ZEV requirements (i.e., the ACT                          expensive and slowing fleet turnover.132
                                                   sovereignty, one commenter asserted                       Regulation, ZEAS Regulation, and ZEP                     4. California Needs Its Standards To
                                                   that section 209(b) is ‘‘unconstitutional                 Certification Regulation) will result in                 Meet Compelling and Extraordinary
                                                   to the extent it is construed to allow                    no tailpipe emissions, reduced brake                     Conditions
                                                   California to set emission standards                      wear PM emissions, and lower upstream
                                                   aimed at addressing global climate                                                                                    With respect to the need for
                                                                                                             emissions. As such, CARB stated that, at                 California’s standards to meet
                                                   change, as opposed to California’s local                  a minimum, California ‘‘needs’’ its ZEV
                                                   conventional pollution problems.’’ 124                                                                             compelling and extraordinary
                                                                                                             requirements to achieve reductions in                    conditions, EPA continues to apply the
                                                   As such, the commenter argued that                        criteria pollution emissions including in
                                                   California cannot need GHG standards                                                                               traditional interpretation of the waiver
                                                                                                             extreme nonattainment areas and other                    provision.133 Many of the adverse
                                                   because, unlike criteria pollutant                        areas overburdened by unhealthy air
                                                   emissions, GHG emissions in California                                                                             comments arguing against the
                                                                                                             quality.130                                              traditional interpretation were also
                                                   ‘‘bear no relation’’ to ‘‘California-
                                                   specific circumstances’’ like the local                                                                            made in the SAFE 1 Reconsideration
                                                                                                               127 Texas   Public Policy Foundation at 3.
                                                   conditions identified by Congress in                                                                               proceeding. EPA’s response to
                                                                                                               128 CARB    Supplemental Comments at 5–6, n.36.
                                                   enacting section 209.125 The commenter                                                                             applicable comments on these
                                                                                                             See also CARB Initial ACT/ZEAS/ZEP Comments at
                                                   also argued that California does not                      11, 14–15 ((‘‘[B]oth the South Coast and San             arguments remains the same as in the
                                                   need the ACT or ZEAS Regulations                          Joaquin Valley air districts—which are home to           SAFE 1 Reconsideration decision, and
                                                   because the harms of climate change are
                                                                                                             over half of California’s population—are classified      the Agency incorporates the relevant
                                                                                                             as ‘extreme nonattainment areas for the 2008 eight-      reasoning in that action here.134
                                                   not unique to California and cannot be                    hour federal ozone standard.’’’) (‘‘Indeed, California
                                                                                                                                                                         As stated above and similar to the
                                                   alleviated by regulating emissions from                   has the only extreme nonattainment regions for
                                                                                                             ozone in the country, and the San Joaquin Valley         SAFE 1 Reconsideration decision, EPA
                                                   sources in one state alone. Similarly,
                                                                                                             has the highest PM2.5 levels in the country.’’).         continues to believe the best way to
                                                   another commenter argued that, because                       129 CARB Initial ACT/ZEAS/ZEP Comments at 14.         interpret this provision is to determine
                                                   climate change is a global issue, a                          130 Id. See also Environmental and Public Health
                                                                                                                                                                      whether California continues to have
                                                   single-state standard will be less                        Organizations at 31–33 (‘‘California continues to        compelling and extraordinary
                                                   effective and more disruptive to the                      experience some of the worst air quality in the
                                                                                                             nation. The South Coast and San Joaquin Valley Air       conditions giving rise to a need for its
                                                   economy than a Federal rule will.126
                                                                                                             Basins are in non-attainment of the national             own new motor vehicle emission
                                                   One commenter also asserted that,                         ambient air quality standards for PM2.5 and ozone.       program.135 EPA believes this continues
                                                   within the context of the alternative                     The South Coast has never met any of the federal
                                                   interpretation, California only needs to                  ozone standards established pursuant to the Clean          131 ATA   at 5–6.
                                                                                                             Air Act. . . California also faces compelling and          132 AFPM
                                                                                                             extraordinary climate change impacts. With each                        at 2–3.
                                                   time it alters or adds emission standards that                                                                        133 EPA’s two notices for comment on CARB’s
                                                                                                             passing year, the dangers of climate change and
                                                   California must also demonstrate a need for such                                                                   waiver requests noted that the review under the
                                                                                                             health-harming air pollution become more and
                                                   standards—a test different from whether California                                                                 second waiver prong would be done under this
                                                                                                             more clear. Climate change worsens the effects of
                                                   continues to need its motor vehicle emission                                                                       traditional interpretation. EPA has not reopened
                                                                                                             local pollutants: in addition to a severe increase in
                                                   program.                                                                                                           this interpretive issue by these notices nor by this
                                                     123 Id. at 3. See also AFPM at 16 (‘‘[T]he ‘whole
                                                                                                             deadly wildfires and accompanying particulate
                                                                                                             pollution, increasing heat favors the formation of       final decision.
                                                   program’ approach would effectively force EPA to          additional ozone, putting compliance with the               134 87 FR 14332, 14334, 14352–55, 14358–62
                                                   grant a waiver for any later standard California          ozone NAAQS further out of reach.’’); SCAQMD at          (March 14, 2022).
                                                   proposes once EPA decided initially that California       1 (‘‘The South Coast Air Basin continues to face            135 To the extent comments contend that EPA’s
                                                   ‘needs’ its own motor vehicle program to address          extraordinary air pollution challenges . . . The area    interpretation of the second waiver prong provides
                                                   criteria pollution. EPA decisions made in the 1970s       is nonattainment for fine particulates and classified    preferential treatment to California over other
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                                                   would tie EPA’s hands more than 50 years later and        ‘extreme’ for ozone nonattainment. . . . To              States, EPA notes that the review of CARB waiver
                                                   force approval of whatever new regulation CARB            highlight one aspect of one of the regulations, the      requests is limited to the criteria set forth in section
                                                   proposes for a waiver.’’).                                Zero Emission Airport Shuttle Bus regulation will        209 and that we need not engage in an Equal
                                                     124 AFPM at 2. To the extent that this commenter
                                                                                                             promote the use of zero-emission airport grand           Sovereignty constitutional law analysis. (See SAFE
                                                   also argued that section 209(b) is ‘‘unconstitutional     transportation at California’s commercial airports.      1 Reconsideration Decision at 14376). In any case,
                                                   in all its applications’’ because it violates the equal   The South Coast Air Basin happens to be home to          for the purposes of reviewing the second waiver
                                                   sovereignty doctrine, that argument is addressed in       five commercial airports. Among many necessary           prong, EPA incorporates the reasoning from the
                                                   section III.E.2.                                          initiatives for attainment of the NAAQS, Southern        SAFE 1 Reconsideration Decision at 14360. As
                                                     125 Id. at 6–7.
                                                                                                             California simply needs zero-emission airport            such, EPA evaluates CARB’s waiver requests based
                                                     126 ATA at 6–7.                                         transportation to succeed.’’).                                                                         Continued




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                                                   to be true for section 209(b)(1)(B), which                that California has demonstrated that it               and climatic conditions (like thermal
                                                   was at issue in the SAFE 1                                needs its program to address compelling                inversions) that, when combined with
                                                   Reconsideration action.136 EPA finds                      and extraordinary conditions, those                    large numbers and high concentrations
                                                                                                             arising from criteria pollution and                    of automobiles, create serious air
                                                   solely on the criteria in section 209(b)(1) and does      separately, those arising from                         pollution problems.141 For example, as
                                                   not consider factors outside of those statutory           greenhouse gases. No comments have                     stated in CARB’s waiver request and
                                                   criteria, including constitutional claims. EPA
                                                   continues to note that Congress struck a reasonable
                                                                                                             provided an analytical basis for                       additional written comment, California
                                                   balance in authorizing two standards (EPA’s and           undermining California’s need.137                      and particularly the South Coast and
                                                   California’s if certain criteria are met) but that that      Although nothing in the statutory text              San Joaquin Valley Air Basins continue
                                                   equal sovereignty principle simply does not fit in        limits California’s program or the                     to experience some of the worst air
                                                   section 209. EPA further addresses the commenter’s        associated waivers to a certain category
                                                   concerns relating to the Equal Sovereignty doctrine
                                                                                                                                                                    quality in the nation and continue to be
                                                   in the Other Issues section below. Similarly, to the      of air pollution problems, EPA notes                   in nonattainment with several
                                                   extent that commenters contend that EPA’s                 that each of the regulations contained in              NAAQS.142 In the context of these
                                                   traditional interpretation raises questions of vast       the two waiver requests from CARB is                   serious and long-lasting pollution
                                                   economic and political significance where Congress        clearly designed to address emissions of
                                                   must speak clearly, EPA believes that this doctrine
                                                                                                                                                                    challenges, California has demonstrated
                                                   is inapplicable. That doctrine posits that in certain     criteria pollutants and will have that                 that every reduction in ozone precursor
                                                   extraordinary cases, Congress should not be               effect, regardless of whether some also                and particulate emissions is particularly
                                                   presumed to delegate its own authority over matters       reduce greenhouse gases. As such, these                critical.
                                                   of vast economic and political significance to            standards are no different from all prior                In addition, EPA did not receive any
                                                   Federal agencies in the absence of clear statutory
                                                   authorization. These concerns have no logical
                                                                                                             standards addressing criteria emissions                adverse comments suggesting that
                                                   connection to provisions that preserve state              that EPA has found to satisfy the section              California no longer needs a separate
                                                   authority in areas that fall within the police powers     209(b)(1)(B) inquiry. In any case, there               motor vehicle emissions program to
                                                   of states, such as the protection of the environment.     is no statutory basis to suggest that GHG              address the various conditions that lead
                                                   Further, EPA has consistently explained that
                                                   section 209(b)(1) of the Act limits the Agency’s
                                                                                                             emissions should be treated any                        to serious and unique air pollution
                                                   authority to deny California’s requests for waivers       differently.                                           problems in California. EPA did receive
                                                   to the three criteria contained therein and as such          Further, it is inappropriate for EPA to             comment that contends that California
                                                   the Agency has consistently refrained from                second-guess CARB’s policy choices                     does not have a need for its standards
                                                   reviewing California’s requests for waivers based on      and objectives in adopting its heavy-
                                                   any other criteria. EPA acknowledges that
                                                                                                                                                                    as only two areas in the State (the San
                                                   California adopts its standards as a matter of law        duty vehicle and engine standards                      Joaquin Valley and the South Coast)
                                                   under its state police powers, that the Agency’s task     designed to achieve long term emission
                                                   in reviewing waiver requests is limited to                benefits for both criteria emissions and                  141 In response to commenters that believe that
                                                   evaluating California’s request according to the          greenhouse gas emissions. EPA’s                        the traditional interpretation is simply a ‘‘rubber-
                                                   criteria in section 209(b). Furthermore, the language                                                            stamp[ ]’’ because EPA has already once decided
                                                   of section 209 provides clear statutory authorization
                                                                                                             longstanding practice, based on the                    that California ‘‘needs’’ its own motor vehicle
                                                   for the waiver framework, and the history of section      statutory text, legislative history, and               program, EPA notes that although California has yet
                                                   209(b) and (e) provide additional evidence that           precedent, calls for deference to                      to resolve its pollution problems, that does not
                                                   Congress intended for California to have great            California in its approach to addressing               mean it will never do so or that Congress could not
                                                   deference in designing its own vehicle program.                                                                  aim for that goal. See 87 FR at 14336 n.22. So long
                                                   MEMA I, 627 F.2d at 1111.
                                                                                                             the interconnected nature of air                       as those problems persist, however, EPA’s
                                                      136 EPA notes that if Congress had been                pollution within the state. Critically,                affirmance of California’s need for a separate
                                                   concerned with only California’s smog problems            EPA is not to engage in ‘‘probing                      vehicle program allows California to continue to
                                                   when it enacted section 209(b) in 1967 it would           substantive review’’ of waiver                         serve as a ‘‘laboratory’’ for resolving its own
                                                   have limited California’s ability to obtain a waiver                                                             pollution problems and those of the entire nation.
                                                                                                             requests,138 but rather to ‘‘afford                    See MEMA I, 627 F.2d at 1109–11.
                                                   to standards for only hydrocarbons and NOX, which
                                                   are the known automotive pollutants that contribute       California the broadest possible                          142 See, e.g., CARB Supplemental Comments at 5–

                                                   to California’s smog problem. But Congress was            discretion in selecting the best means to              6, n.36; CARB Initial ACT/ZEAS/ZEP Comments at
                                                   aware that California would most likely decide to         protect the health of its citizens and the             11, 14–15; SJVUAPCD at 2 (‘‘Despite achieving
                                                   regulate other non-smog forming pollutants. ‘‘[T]he       public welfare.’’ 139                                  significant emissions reductions through decades of
                                                   total program for control of automotive emissions            As noted above, the term compelling                 implementing the most stringent stationary and
                                                   is expected to include [in addition to hydrocarbons                                                              mobile regulatory control program in the nation,
                                                   and oxides of nitrogen] carbon monoxide, lead and         and extraordinary conditions ‘‘does not                significant additional reductions in nitrogen oxide
                                                   particulate matter.’’ 123 Cong. Rec. 30951                refer to the levels of pollution                       (NOX) emissions are needed to attain the latest
                                                   (November 2, 1967) (Remarks of Rep. Herlong).             directly.’’ 140 California continues to                health-based National Ambient Air Quality
                                                   Further, Congress intended that California would          experience compelling and                              Standards (NAAQS) for ozone and PM2.5.’’); State of
                                                   serve as a pioneer and a laboratory for the nation                                                               California et al at 12–13 (‘‘Sixteen of the 8-hour
                                                   in setting new motor vehicle emission standards           extraordinary conditions that cause it to              ozone nonattainment areas are located in California
                                                   and developing control technology, which extends          need a separate motor vehicle emissions                and the only two extreme nonattainment areas in
                                                   to ZEVs, BEVs, FCVs and PHEVs. ‘‘The waiver of            program. These include geographical                    the nation are located in the South Coast Air Basin
                                                   preemption is for California’s ‘‘unique problems                                                                 and San Joaquin Valley of California. Indeed, for the
                                                   and pioneering efforts.’’ S. Rep. No. 403, 90th                                                                  South Coast Air Basin to meet the federal ozone
                                                                                                             241(4), 243(f), 246(f)(4).’’ MVMA, 17 F.3d at 536.)
                                                   Cong., 1st Sess. 33 (1967); 113 Cong. Rec. 30950,                                                                standards, overall NOX emissions need to be
                                                                                                             See also 87 FR at 14360.
                                                   32478 (‘‘[T]he State will act as a testing agent for        137 EPA notes that CARB ACT Regulation is only
                                                                                                                                                                    reduced by 70 percent from today’s levels by 2023,
                                                   various types of controls and the country as a whole                                                             and approximately 80 percent by 2031.’’);
                                                   will be the beneficiary of this research.’’) (Statement   regulating emissions from new motor vehicles and       Environmental and Public Health Organizations at
                                                   of Sen. Murphy). Thus, for example, in the 1990           that such standards are the types preempted under      32 (‘‘California continues to experience some of the
                                                   Amendments Congress mandated California’s LEV             section 209(a). Section 209(b) requires EPA to waive   worst air quality in the nation. The South Coast and
                                                   program, which includes the ZEV program, in its           such standards unless one or more of the specified     San Joaquin Valley Air Basins are in non-attainment
                                                   State Implementation Plan provision regarding fleet       criteria are found. CARB’s ACT Regulation is           of the national ambient air quality standards for
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                                                   programs required for certain non-attainment areas        focused on emissions of air pollutants from this       PM2.5 and ozone. The South Coast has never met
                                                   relating to issuing credits for innovative and cleaner    vehicle source and to EPA’s knowledge is not           any of the federal ozone standards established
                                                   vehicles. Specifically, ‘‘standards established by the    designed to address a broader set of transportation    pursuant to the Clean Air Act . . . [H]eavy-duty
                                                   Administrator under this paragraph . . . shall            and energy issues nor is the scope of the waiver       vehicles represent the largest source of NOX
                                                   conform as closely as possible to standards which         criteria in section 209 designed for such a broad      emissions reductions needed to attain the 2015 8-
                                                   are established for the State of California for ULEV      and searching review.                                  hour ozone National Ambient Air Quality
                                                                                                               138 Ford Motor, 606 F.2d 1293, 1300 (D.C. Cir.
                                                   and ZEV vehicles in the same class. Section                                                                      Standards (NAAQS), and California’s air quality
                                                   246(f)(4). (‘‘[W]hen it amended the Act in 1990,          1979).                                                 regulations, like those at issue here, are central to
                                                                                                               139 MEMA II, 142 F.3d 449, 453 (D.C. Cir. 1998).
                                                   [Congress recognized] California’s LEV program,                                                                  the state’s attainment strategy for the South Coast
                                                   including the ZEV mandate. See e.g., Act sections           140 49 FR 18887, 18890 (May 3, 1984).                Air Basin.’’).



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                                                   have serious air quality issues. EPA                      drought, acidification threats to marine                 California does not continue to need
                                                   believes this commenter misses the                        ecosystems as carbon dioxide is                          every reduction in criteria pollutant
                                                   mark for several reasons. The                             absorbed by the ocean along California’s                 emissions it can obtain.147 As EPA
                                                   commenter provided no legal rationale                     coastline, and a host of other impacts.144               continues to believe California has
                                                   for limiting the ‘‘compelling and                         EPA believes the same conditions and                     compelling and extraordinary
                                                   extraordinary conditions’’ to those                       impacts assessed in the SAFE 1                           conditions, it is appropriate for EPA to
                                                   conditions experienced by all of                          Reconsideration Decision apply to this                   continue giving substantial deference to
                                                   California. In addition, California is                    waiver decision and incorporates that                    California’s policy choices on how it
                                                   responsible, in part, for developing State                analysis here.145                                        chooses to protect public health and
                                                   Implementation Plan (SIP) measures to                        Regarding comments received that the                  welfare and achieve its air quality
                                                   address nonattainment and maintenance                     2018 HD Warranty Amendments are not                      objectives.
                                                   and EPA sees no basis to deny a waiver                    needed because EPA’s HD 2027 rule and
                                                   for regulations designed at the state                     CARB’s Heavy-Duty Inspection &                           5. Section 209(b)(1)(B) Conclusion
                                                   level and that address emission sources                   Maintenance Program are or will be                          As previously explained, EPA
                                                   that move around the state. Nor has the                   more effective, EPA notes that California                believes that the traditional
                                                   commenter provided sufficient data or                     is entitled to substantial deference in its              interpretation of the section 209(b)(1)(B)
                                                   analysis to demonstrate that other areas                  policy choices regarding the best path to                criterion is the best reading of the
                                                   of California do not need the motor                       address its air pollution problems,                      statute.148 The traditional approach is
                                                   vehicle standards program to address                      including the choice to adopt or retain                  for EPA to evaluate California’s need for
                                                   compelling and extraordinary                              emission standards that overlap with                     a separate motor vehicle emission
                                                   conditions. Based on the record, EPA is                   previous California standards and EPA’s                  program to meet compelling and
                                                   unable to identify any change in                          standards.146 In the context of these                    extraordinary conditions. The issue of
                                                   circumstances or any evidence to                          arguments about effectiveness, it is                     whether any particular standard is
                                                   undermine EPA’s prior findings that                       important to note that under the statute,                needed is not the inquiry directed under
                                                   California needs its motor vehicle                        California’s standards in the aggregate                  section 209(b)(1)(B). Applying the
                                                   emissions program to address                              must be as protective as EPA’s                           traditional approach of assessing
                                                   compelling and extraordinary                              standards—there is no requirement that                   California’s need for a separate motor
                                                   conditions. Therefore, using the                          they be more protective. This reinforces                 vehicle emissions program to address
                                                   traditional approach of reviewing the                     the deference owed to California in its                  compelling and extraordinary
                                                   need for a separate California program                    determination of whether it needs a                      conditions, with the reasoning noted
                                                   to meet compelling and extraordinary                      particular configuration of standards as                 above and with due deference to
                                                   conditions, EPA cannot deny any of the                    its program to address compelling and                    California, EPA cannot deny the
                                                   waiver requests.                                          extraordinary conditions. In response to                 respective waiver requests. CARB has
                                                      Further, EPA does not believe, to the                  comments received that the specific                      repeatedly demonstrated the need for its
                                                   extent that it is appropriate to examine                  regulations are not necessary (as a                      motor vehicle program to address
                                                   the need for CARB’s individual heavy-                     factual matter) because they may slow                    compelling and extraordinary
                                                   duty vehicle and engine standards to                      fleet turnover, EPA finds that these                     conditions in California and opponents
                                                   meet compelling and extraordinary                         commenters have not met their burden                     of the waiver requests have not
                                                   conditions, that the opponents of the                     of proof to demonstrate that such a                      demonstrated that California does not
                                                   waiver requests have met their burden                     result in fleet turnover will occur and                  need its state standards to meet
                                                   of proof that California does not need                    that if it did occur, it would cause an                  compelling and extraordinary
                                                   these standards. The record                               increase in emissions. Commenters have                   conditions. Therefore, I determine that I
                                                   demonstrates that each regulation in the                  also failed to demonstrate that                          cannot deny either of the waiver
                                                   two waiver requests is designed to                                                                                 requests under section 209(b)(1)(B).
                                                   produce reductions in criteria emissions                     144 California Supplemental ACT Comments at
                                                                                                                                                                         In addition, although EPA does not
                                                   that continue to be a serious air quality                 16–17, California also noted that the ACT
                                                                                                             Regulation will ensure the development and               believe an interpretation that requires a
                                                   concern in California, which is a result                  commercialization of technology required to              demonstrated need for a specific
                                                   of its compelling and extraordinary                       achieve further emission reductions to address           standard is appropriate, EPA’s review of
                                                   conditions. While EPA believes that                       climate changes and to attain national ambient air
                                                                                                                                                                      the complete record indicates that
                                                   CARB has demonstrated the criteria                        quality standards (NAAQS) in California.
                                                                                                                145 87 FR 14332, 14334, 14352–55, 14358–62.           opponents of the waiver requests have
                                                   emission reductions associated with its                      146 See, e.g., 78 FR at 2129 (‘‘The Commenter . . .   not met the burden of proof necessary
                                                   ACT, ZEAS, and ZEP Certification                          relies on the existence of the federal GHG standards     to demonstrate that California does not
                                                   Regulations and therefore a need for                      and the ‘deemed to comply’ language to claim that
                                                   such standards, EPA also believes that,                   there is no need for CARB’s GHG standards . . .             147 CARB Supplemental Comments at 5–6 (‘‘But
                                                                                                             EPA believes that the commenter does not
                                                   to the extent such standards are                          appropriately appreciate the role that Congress          AFPM provides no evidence that ACT will slow
                                                   designed to also address climate change                   envisioned California to play as an innovative           fleet turnover at all, let alone to the degree
                                                   conditions in California, such standards                  laboratory that may set standards that EPA may           necessary to increase pollution. And none of these
                                                                                                             ultimately harmonize with or that California or EPA      comments refutes CARB’s conclusion that zero-
                                                   are needed to meet compelling and                                                                                  emission vehicles placed into well-suited
                                                                                                             may otherwise accept compliance with the others
                                                   extraordinary conditions.143 EPA notes                    emission program as compliance with their own.’’).       applications will be less expensive, over their
                                                   that the record contains evidence that                    In addition, given that there are a variety of           lifetimes, than conventional ones, or explains why
                                                   global warming continues to pose an                       regulatory measures and levels of stringency that        the requirement to sell a certain percentage of
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                                                                                                             California may choose to address the durability of       vehicles that will save owners or operators money
                                                   extraordinary threat to the economic                                                                               would slow turnover to the (unspecified) extent
                                                                                                             emission controls on vehicles and engines while in
                                                   well-being, public health, natural                        use, and the lack of evidence in the record that an      required to increase emissions. Moreover, the
                                                   resources and environment in                              inspection and maintenance program is more               recently passed Inflation Reduction Act includes
                                                   California. These adverse impacts                         protective than a warranty regulation (or that both      numerous financial incentives that will decrease
                                                                                                             may be implemented at some point), EPA finds that        the cost of zero-emission heavy-duty vehicles,
                                                   include exacerbation of local air quality                                                                          further undercutting the claim that the high costs
                                                                                                             opponents of the waiver have not met their burden
                                                   problems, severe wildfires, extreme                       of proof with evidence to support their policy           of those vehicles will slow fleet turnover.’’).
                                                                                                             preference on an inspection and maintenance                 148 87 FR 14332, 14334, 14352–55, 14358–62
                                                     143 87   FR 14332, 14365–66 (March 14, 2022).           program.                                                 (March 14, 2022).



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                                                   need its ACT Regulation, ZEAS                           nonetheless deny the waiver based on                  protective as the Federal standards. As
                                                   Regulation, ZEP Certification                           the lead time and stability requirements              such, California is also not obligated to
                                                   Regulation, and the 2018 HD Warranty                    for certain federal heavy-duty vehicle                comply with either the maximum
                                                   Amendments when assessed                                standards found in section 202(a)(3)(C)               stringency requirements or the
                                                   individually.                                           of the Act. These commenters claim that               companion lead time provision in
                                                                                                           because the third waiver criterion                    section 202(a)(3)(C) to provide the four
                                                   D. Third Waiver Criterion: Are
                                                                                                           requires California’s standards to be                 years of lead time and three years of
                                                   California’s Regulations Consistent With
                                                                                                           ‘‘consistent with’’ section 202(a),                   stability that Congress determined was
                                                   Section 202(a) of the Clean Air Act?
                                                                                                           California must necessarily comply with               needed for the federal market.
                                                      Under section 209(b)(1)(C), EPA must                 section 202(a)(3)(C), as that is a sub-                  This plain text reading is well-
                                                   grant California’s waiver request unless                provision of 202(a). This argument is                 supported by the history and purpose of
                                                   the Agency finds that California’s                      inconsistent with the plain text of the               the Act and is also consistent with
                                                   standards and accompanying                              statute. Congress used the phrase                     administrative and judicial precedents.
                                                   enforcement procedures are not                          ‘‘consistent with,’’ not ‘‘compliant                  Commenters rely heavily on EPA’s
                                                   consistent with section 202(a) of the                   with.’’ The statutory phrase ‘‘consistent             single contrary decision in a 1994
                                                   Act. EPA’s longstanding approach to                     with’’ indicates that California’s                    medium-duty vehicle waiver (1994
                                                   this third waiver criterion is limited to               standards should be congruent and                     MDV waiver) even though the
                                                   reviewing California’s feasibility                      compatible with section 202(a), which                 interpretation contained in that decision
                                                   assessment and evaluating whether the                   requires that Federal standards provide               was inconsistent with EPA’s historical
                                                   opponents of the waiver have met their                  adequate lead time and consider cost.                 practice in waiver decisions both before
                                                   burden of establishing: (1) That                        Thus, EPA interprets this prong of the                and after 1994.149 Indeed, by 2012 EPA
                                                   California’s standards are                              waiver analysis to require California’s               had indicated that it did not believe
                                                   technologically infeasible, or (2) that                 standards to be feasible. The statute                 section 202(a)(3)(C) applied to
                                                   California’s test procedures are                        does not, however, obligate California to             California’s heavy-duty engines and
                                                   inconsistent with the Federal test                      comply with provisions of section                     vehicle standards and issued a decision
                                                   procedures. As with the other two                       202(a) directed solely at the                         consistent with its historical practice.150
                                                   criteria, our review is narrow and                      development and design of federal                     We acknowledge that the 1994 MDV
                                                   deferential to California.                              standards. This would make little sense               waiver took a different position on this
                                                      Each of CARB’s two waiver requests                                                                         issue than we do today, but as explained
                                                                                                           given Congress’ intent to set up two
                                                   contained a demonstration that its                                                                            below, we believe that our practice, both
                                                                                                           motor vehicle programs in title II—with
                                                   standards in each request were based on                                                                       before and after the 1994 MDV waiver,
                                                                                                           California’s program dedicated to
                                                   technologies currently available or                                                                           represents the best understanding of the
                                                   reasonably projected to be available in                 address the state’s air quality problems
                                                                                                           and serve as a testing ground for motor               statute. Importantly, the interpretation
                                                   the lead time given and giving                                                                                in the 1994 MDV waiver is inconsistent
                                                   consideration to costs. As such, CARB                   vehicle emissions policy designs and
                                                                                                           technologies. If exactly the same                     with the plain text of the statute, as
                                                   argued that its standards did not create                                                                      discussed below. In this action, EPA is
                                                   any issues regarding the consistency                    requirements and conditions apply to
                                                                                                           both the Federal and the California                   therefore taking an approach similar to
                                                   with section 202(a) requirements.                                                                             its approach both before and after the
                                                   CARB’s waiver requests included their                   programs, then they would necessarily
                                                                                                           overlap extensively if not completely,                1994 MDV waiver, and different from
                                                   state rulemaking records for each                                                                             the 1994 MDV waiver.151 EPA believes
                                                   standard, including CARB’s detailed                     and California could not serve as the
                                                                                                                                                                 that its historical practice and
                                                   responses to any issues raised regarding                testing ground that Congress intended.
                                                                                                                                                                 application of the ‘‘consistency with
                                                   technological feasibility.                              Further, applying some of the language
                                                                                                                                                                 section 202(a)’’ language is permissible
                                                      Commenters opposed to the waiver                     in 202(a) to California standards would
                                                                                                                                                                 and is the best interpretation of the
                                                   did not argue that the 2018 HD                          directly conflict with the text and intent
                                                                                                                                                                 statute based on all the relevant factors.
                                                   Warranty Amendments were not                            of the waiver provisions in section 209.
                                                                                                                                                                 Additionally, commenters also
                                                   technologically feasible or that any of                 For those reasons, for over five decades,
                                                                                                                                                                 mistakenly rely on the D.C. Circuit’s
                                                   the waiver requests presented                           EPA has consistently granted waivers to
                                                                                                                                                                 opinion in American Motors Corp. v.
                                                   inconsistent test procedures. Further,                  California without assessing compliance
                                                                                                                                                                 Blum, 603 F.2d 978 (D.C. Cir. 1979)
                                                   while EPA received comment to suggest                   with section 202(a)(3)(C), with a single
                                                                                                                                                                 (Blum). Blum addressed a different
                                                   that CARB’s ACT Regulation and ZEAS                     exception (in 1994).
                                                                                                                                                                 provision of the CAA and is
                                                   Regulation were not appropriate policy                     The commenters’ argument regarding                 distinguishable from the instant
                                                   choices, to the extent commenters raised                section 202(a)(3)(C) fails for a number of            waivers.
                                                   feasibility issues regarding the ACT                    additional reasons. That provision,                      The balance of this section begins
                                                   Regulation and ZEAS Regulation, such                    which requires at least four years of lead            with a discussion of EPA’s longstanding
                                                   commenters either failed to meet the                    time and three years of stability, is a               approach to the third waiver criterion
                                                   burden of proof to demonstrate                          companion to a specific Federal                       and relevant case law (III.D.1). We then
                                                   infeasibility in light of California’s                  standard-setting mandate, section
                                                   demonstration of feasibility or such                    202(a)(3)(A). That mandate is for EPA to                149 See 77 FR 9239, 9249 (February 16, 2012); 46

                                                   comments fell beyond the scope of                       promulgate certain heavy-duty criteria                FR 22302, 22304 (1981).
                                                   EPA’s technological feasibility review.                 pollutant standards that reflect the                    150 77 FR at 9239. Moreover, in October 2000,
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                                                                                                           greatest degree of emission reduction                 EPA informed California of the intent to ‘‘conduct
                                                   As explained in detail below, based on                                                                        a new evaluation of . . . arguments . . . in regard
                                                   our examination of the record, EPA                      achievable giving appropriate                         to whether the lead time provisions of the Act apply
                                                   finds that the commenters have failed to                consideration to a number of factors.                 to California. . . . [As well as] evaluate the
                                                   meet their burden of proof as to the                    Congress paired the mandated                          applicability of the stability requirement in Section
                                                                                                           stringency with the lead time and                     202(a)(3)(C).’’ Letter from Margo Oge, Director,
                                                   third prong.                                                                                                  Office of Transportation and Air Quality, to Michael
                                                      In addition, certain commenters                      stability requirements. By contrast,                  Kenny, CARB Executive Officer (Oct. 24, 2000).
                                                   asserted that, even if the standards were               California may adopt state standards                    151 FCC v. Fox Television Stations, Inc., 556 U.S.

                                                   actually feasible, EPA should                           that are ‘‘in the aggregate’’ at least as             502 (2009).



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                                                   summarize the positions of CARB and                      (2) California and Federal test                           available, EPA will consider whether
                                                   the commenters (III.D.2 and III.D.3                      procedures are incompatible so that a                     California has provided adequate lead
                                                   respectively). Subsequently, we evaluate                 single vehicle could not be subjected to                  time for the development and
                                                   the waiver requests under the historical                 both tests.155 EPA has also explained                     application of necessary technology
                                                   approach, finding that those opposed to                  that ‘‘the import of section 209(b) is not                prior to the effective date of the
                                                   the waiver have failed to meet their                     that California and Federal standards be                  standards for which a waiver is being
                                                   burden of proof (III.D.4). We then                       identical, but that the Administrator not                 sought. Additionally, the D.C. Circuit
                                                   explain why, contrary to the                             grant a waiver of Federal preemption                      has held that ‘‘[i]n the waiver context,
                                                   commenters’ arguments, the statutory                     where compliance with the California                      section 202(a) relates in relevant part to
                                                   lead time requirements in section                        standards is not technologically feasible                 technological feasibility and to federal
                                                   202(a)(3)(C) do not apply to California                  within available lead time.’’ 156 Further,                certification requirements. The
                                                   (III.D.5). A brief conclusion follows                    EPA’s review is limited to the record on                  technological feasibility component of
                                                   (III.D.6).                                               feasibility of the technology. Therefore,                 section 202(a) obligates California to
                                                                                                            EPA’s review is narrow and does not                       allow sufficient lead time to permit
                                                   1. Historical Interpretation of Section
                                                                                                            extend to whether the regulations under                   manufacturers to develop and apply the
                                                   209(b)(1)(C)
                                                                                                            review are the most effective or whether                  necessary technology. The federal
                                                      Under section 209(b)(1)(C), EPA must                  the technology incentivized by                            certification component ensures that the
                                                   grant California’s waiver request unless                 California’s regulations are the best                     Federal and California test procedures
                                                   the Agency finds that California                         policy choice or better choices should                    do not impose inconsistent certification
                                                   standards and accompanying                               be evaluated. The Administrator has                       requirements. Neither the court nor the
                                                   enforcement procedures are ‘‘not                         thus long explained that ‘‘questions                      agency has ever interpreted compliance
                                                   consistent’’ with section 202(a) of the                  concerning the effectiveness of the                       with section 202(a) to require more.’’ 158
                                                   Act.152 Section 202(a)(1) grants EPA                     available technology are also within the                     Regarding the technology costs
                                                   authority to regulate motor vehicle                      category outside my permissible scope                     portion of the technology feasibility
                                                   emissions generally and the                              of inquiry,’’ under section                               analysis, when cost is at issue EPA
                                                   accompanying section 202(a)(2)                           209(b)(1)(C).157 California’s                             evaluates the cost of developing and
                                                   specifies that those standards are to                    accompanying enforcement procedures                       implementing control technology in the
                                                   ‘‘take effect after such period as the                   would also be inconsistent with section                   actual time provided by the applicable
                                                   Administrator finds necessary to permit                  202(a) if the Federal and California test                 California regulations. The D.C. Circuit
                                                   the development and application of the                   procedures conflicted, i.e., if                           has stated that compliance cost ‘‘relates
                                                   requisite technology, giving appropriate                 manufacturers would be unable to meet                     to the timing of a particular emission
                                                   consideration to the cost of compliance                  both the California and Federal test                      control regulation.’’ 159 In MEMA I, the
                                                   within such period.’’ 153 Thus, no                       requirements with the same test vehicle.                  court addressed the cost of compliance
                                                   specific lead time requirement applies                      In determining whether California                      issue at some length in reviewing a
                                                   to standards promulgated under section                   standards are inconsistent with section                   waiver decision. According to the court:
                                                   202(a)(1). EPA has long limited its                      202(a), EPA makes a finding as to
                                                                                                            whether there is inadequate lead time to                    Section 202’s cost of compliance concern,
                                                   evaluation of whether California’s                                                                                 juxtaposed as it is with the requirement that
                                                   standards are consistent with section                    permit the development of technology                      the Administrator provide the requisite lead
                                                   202(a) to determining if: (1) There is                   that is necessary to meet the standards                   time to allow technological developments,
                                                   inadequate lead time to permit the                       for which a waiver is sought. For this                    refers to the economic costs of motor vehicle
                                                   development of the necessary                             finding, EPA considers whether                            emission standards and accompanying
                                                   technology giving appropriate                            adequate technology is presently                          enforcement procedures. See S. Rep. No. 192,
                                                   consideration to the cost of compliance                  available or already in existence and in-                 89th Cong., 1st Sess. 5–8 (1965); H.R. Rep.
                                                   within that time period; 154 or whether                  use. If technology is not presently                       No. 728 90th Cong., 1st Sess. 23 (1967),
                                                                                                                                                                      reprinted in U.S. Code Cong. & Admin. News
                                                      152 EPA must grant a waiver request unless it         Duty Diesel Engine Standards); 71 FR 335 (Jan. 4,
                                                                                                                                                                      1967, p. 1938. It relates to the timing of a
                                                   finds that there is: ‘‘[i]nadequate time to permit the   2006) (2007 Engine Manufacturers Diagnostic               particular emission control regulation rather
                                                   development of the necessary technology given the        standards); 77 FR 9239 (February 16, 2012) (HD            than to its social implications. Congress
                                                   cost of compliance within that time period.’’ H.         Truck Idling Requirements); 79 FR 46256 (Aug. 7,          wanted to avoid undue economic disruption
                                                   Rep. No. 728, 90th Cong., 1st Sess. 21 (1967). ‘‘That    2014) (the first HD GHG emissions standard waiver,        in the automotive manufacturing industry
                                                   California standards are not consistent with the         relating to certain new 2011 and subsequent model         and also sought to avoid doubling or tripling
                                                   intent of section 202(a) of the Act, including           year tractor-trailers); 81 FR 95982 (December 29,         the cost of motor vehicles to purchasers. It,
                                                   economic practicability and technological                2016) (the second HD GHG emissions standard               therefore, requires that the emission control
                                                   feasibility.’’ S. Rep. No. 403, 90th Cong. 1st Sess.     waiver, relating to CARB’s ‘‘Phase I’’ regulation for     regulations be technologically feasible within
                                                   32 (1967).                                               2014 and subsequent model year tractor-trailers); 82
                                                      153 CAA section 202(a)(2); H.R. Rep. No. 95–294,      FR 4867 (January 17, 2017) (On-Highway Heavy-
                                                                                                                                                                      economic parameters. Therein lies the intent
                                                                                                            Duty Vehicle In-Use Compliance Program).                  of the cost of compliance requirement
                                                   95th Cong., 1st Sess. 301 (1977) (‘‘Also preemption
                                                   could not be waived if California standards and             155 To be consistent, the California certification     (emphasis added).160
                                                   enforcement procedures were found not to be              procedures need not be identical to the Federal             Previous waiver decisions are fully
                                                   ‘consistent with section 202(a)’ (relating to the        certification procedures. California procedures
                                                   technological feasibility of complying with these        would be inconsistent, however, if manufacturers          consistent with MEMA I, which
                                                   standards).’’).                                          would be unable to meet the state and the Federal         indicates that the cost of compliance
                                                      154 Previous waivers of Federal preemption have       requirements with the same test vehicle in the            must reach a very high level before the
                                                   thus stated that California’s standards are not          course of the same test. See, e.g., 43 FR 32182 (July     EPA can deny a waiver. Therefore, past
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                                                   consistent with section 202(a) if there is inadequate    25, 1978).
                                                                                                               156 46 FR 22032, 22034–35 (April 15, 1981).
                                                                                                                                                                      decisions indicate that the costs must be
                                                   lead time to permit the development of technology
                                                   necessary to meet those requirements, giving                157 41 FR 44209, 44210 (October 7, 1976); 47 FR
                                                                                                                                                                         158 MEMA II, 142 F.3d 449, 463 (Emphasis added)
                                                   appropriate consideration to the cost of compliance      7306, 7310 (February 18, 1982) (‘‘I am not
                                                   within that time. See e.g., 36 FR 8172 (April 30,        empowered under the Act to consider the                   (internal citations omitted).
                                                                                                                                                                         159 MEMA v. EPA, 637 F.2d. 1118 (D.C. Cir. 1979).
                                                   1971) (HD MY 1972 and later MY); 38 FR 30136             effectiveness of California’s regulations, since
                                                   (Nov. 1, 1973); 40 FR 23102, 23105 (May 28, 1975)        Congress intended that California should be the              160 MEMA I 627 F.2d at 1118 (emphasis added).

                                                   (extending waiver of April 30, 1971, to MY 1975 HD       judge of ‘the best means to protect the health of its     See also id. at 1114, n.40 (‘‘[T]he ‘cost of
                                                   standards); 40 FR 30311 (July 18, 1975); 70 FR           citizens and the public welfare.’’’ (Internal citations   compliance’ criterion relates to the timing of
                                                   50322 (August 26, 2005) (2007 California Heavy-          omitted)).                                                standards and procedures.’’).



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                                                   excessive to find that California’s                     their use nationwide. This pattern grew out             interactions between technologies
                                                   standards are infeasible and therefore                  of early recognition that auto caused air               necessary to meet both new and existing
                                                   inconsistent with section 202(a).161                    pollution problems are unusually serious in             standards, and any interactions between
                                                     Regarding the burden of proof under                   California. In response to the need to control          those technologies that would affect
                                                                                                           auto pollution, California led the nation in
                                                   the third prong, EPA has previously                                                                             feasibility.168 EPA’s assessment under
                                                                                                           development of regulations to require control
                                                   stated that the third prong’s feasibility               of emissions. This unique leadership was                section 209(b)(1)(C) is thus not in
                                                   determination is limited to: (1) Whether                recognized by Congress in enacting federal              practice a standard-by-standard review.
                                                   those opposed to the waiver have met                    air pollution legislation both in 1967 and              Rather it involves an analysis of
                                                   their burden of establishing that                       1970 by providing a special provision to                feasibility that builds on prior analyses
                                                   California’s standards are                              permit California to continue to impose more            of feasibility and any impacts of the new
                                                   technologically infeasible, including                   stringent emission control requirements than            standards on the feasibility of the
                                                   whether they include adequate lead                      applicable to the rest of the nation.165                remainder of the program.169
                                                   time or (2) that California’s test                        In a subsequent waiver decision                         EPA has also long recognized that the
                                                   procedures impose requirements                          approving a waiver request for                          laboratory role and nature of California’s
                                                   inconsistent with the Federal test                      California, the Administrator stated:                   standards may result in California
                                                   procedure. Additionally, the burden of                                                                          amending or revising requirements after
                                                                                                              It is worth noting . . . I would feel
                                                   proof regarding the cost component of                                                                           the grant of a waiver, or otherwise
                                                                                                           constrained to approve a California approach
                                                   feasibility also falls upon the waiver                  to the problem which I might also feel unable           adjusting the implementation of the
                                                   opponents.                                              to adopt at the federal level in my own                 waived standards as circumstances
                                                     The scope of EPA’s review under this                  capacity as a regulator. The whole approach             dictate.170 EPA’s waiver practice when
                                                   criterion is also narrow.162 This is                    of the Clean Air Act is to force the                    California amends a previously waived
                                                   consistent with the motivation behind                   development of new types of emission                    standard or accompanying enforcement
                                                   section 209(b) to foster California’s role              control technology where that is needed by              procedure is to consider whether such
                                                   as a laboratory for motor vehicle                       compelling the industry to ‘‘catch up’’ to              an amendment is within the scope of a
                                                                                                           some degree with newly promulgated                      previously granted waiver or requires a
                                                   emission control, in order ‘‘to continue
                                                                                                           standards. Such an approach * * * may be                new waiver. If EPA considers the
                                                   the national benefits that might flow                   attended with costs, in the shape of a
                                                   from allowing California to continue to                 reduced product offering, or price or fuel
                                                                                                                                                                   amendment as within the scope of a
                                                   act as a pioneer in this field.’’ 163                   economy penalties, and by risks that a wider            prior waived standard, then the Agency
                                                   According to the D.C. Circuit, ‘‘The                    number of vehicle classes may not be able to            reviews the amendment to determine
                                                   history of congressional consideration of               complete their development work in time.                that it does not undermine California’s
                                                   the California waiver provision, from its               Since a balancing of these risks and costs              determination that its standards in the
                                                   original enactment up through 1977,                     against the potential benefits from reduced             aggregate are as protective of public
                                                   indicates that Congress intended the                    emissions is a central policy decision for any          health and welfare as applicable Federal
                                                                                                           regulatory agency under the statutory scheme            standards, does not affect the
                                                   State to continue and expand its
                                                                                                           outlined above, I believe I am required to              regulation’s consistency with section
                                                   pioneering efforts at adopting and                      give very substantial deference to California’s
                                                   enforcing motor vehicle emission                                                                                202(a), and raises no new issues
                                                                                                           judgments on this score.’’ 166
                                                   standards different from and in large                                                                           affecting EPA’s previous waiver
                                                   measure more advanced than the                            In keeping with this deferential                      decisions.
                                                   corresponding federal program; in short,                posture, as noted earlier, EPA’s                           Decisions from the D.C. Circuit
                                                   to act as a kind of laboratory for                      historical interpretation of section                    provide guidance regarding the lead
                                                   innovation.’’ 164 EPA has thus long                     209(b) has also been to assess whether                  time requirements of section 202(a).
                                                   believed that California must be given                  California’s program of motor vehicle                   Section 202(a)(2) states that ‘‘any
                                                   substantial deference when adopting                     emission standards as a whole provides                  regulation prescribed under paragraph
                                                   motor vehicle emission standards                        for adequate lead time consistent with                  (1) of this subsection (and any revision
                                                   because such action may require new or                  section 202(a). This is because EPA’s                   thereof) shall take effect after such
                                                   improved technology to meet                             long-standing interpretation is that the                period as the Administrator finds
                                                   challenging levels of compliance. Over                  phrase ‘‘State standards’’ in section                   necessary to permit the development
                                                   50 years ago, EPA’s Administrator                       209(b)(1) means the entire California                   and application of the requisite
                                                   discussed this deference in an early                    new motor vehicle emissions                             technology, giving appropriate
                                                   waiver decision that approved a waiver                  program.167 Similar to the second
                                                   request for California:                                 waiver criterion, EPA has also                             168 As a practical matter, EPA’s consideration of

                                                                                                           historically viewed the third waiver                    the third waiver prong, like the first waiver prong,
                                                     There is a well-established pattern that                                                                      does not necessitate in every case that EPA re-
                                                                                                           criterion’s feasibility analysis as a                   review previously-approved aspects of California’s
                                                   emission control technology have been                   whole-program assessment, i.e., one that                program—for example, where it is evident that new
                                                   phased in through use in California before
                                                                                                           ensures manufacturers have sufficient                   standards will not interact with existing ones. But
                                                                                                           lead time to comply with the program’s                  where a new waiver request might affect one of
                                                     161 See, e.g., 47 FR 7306, 7309 (Feb. 18, 1982); 43
                                                                                                                                                                   EPA’s previous assessments under any of the
                                                   FR 25735 (Jun. 14, 1978); 46 FR 26371, 26373 (May       standards as a whole, accounting for the                waiver criteria, EPA reviews the program as a
                                                   12, 1981).                                                                                                      whole—or any aspect necessary to confirm
                                                     162 41 FR 44208, 44210 (October 7, 1976)(‘‘While        165 38 FR 10317, 10324 (April 26, 1973) (‘‘[T]he      alignment with the statutory text. 87 FR at 14361
                                                   section 209(b) requires consideration of whether the    experience of Federal and State officials as well as    and n.266.
                                                   adoption of standards by California is consistent       the industry itself in meeting such standards for          169 Id. at 14361. The feasibility assessment
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                                                   with section 202(a), nevertheless [the                  California will facilitate an orderly implementation    conducted for a new waiver request focuses on the
                                                   Administrator’s] discretion in determining whether      of the more stringent, catalyst-forcing standards for   standards in that request but builds on the previous
                                                   to deny the waiver is considerably narrower than        California.’’).                                         feasibility assessments made for the standards
                                                   [his] discretion to act or not to act in the context      166 40 FR 23102, 23104 (May 28, 1975). See also       already in the program and assesses any new
                                                   promulgating Federal standards under section            78 FR 2111, 2115–16 (Jan. 9, 2013); 79 FR 46256,        feasibility risks created by the interaction between
                                                   202(a).’’).                                             46258 (Aug. 7, 2014); 81 FR 95982, 95984 (Dec. 29,      the standards in the petition and the existing
                                                     163 40 FR 23102, 23103 (May 28, 1975) (waiver         2016).                                                  standards.
                                                   decision citing views of Congressman Moss and             167 74 FR 32744, 32749 (July 8, 2009); 70 FR             170 See e.g., 68 FR 19811 (April 22, 2003), 71 FR
                                                   Senator Murphy).                                        50322 (Aug. 26, 2005); 77 FR 9239 (Feb. 16, 2012);      78190 (December 28, 2006), 75 FR 44948 (July 30,
                                                     164 MEMA I, 627 F.2d 1095, 1110.                      78 FR 2112, 2123 (Jan. 9, 2013).                        2006).



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                                                   consideration to the cost of compliance                 relatively short amount of lead time                   subsection III.D.5, why, contrary to the
                                                   within such period.’’ For example, in                   involved (a May 1972 decision                          commenters’ arguments, the statutory
                                                   Natural Resources Defense Council v.                    regarding 1975 MY vehicles, which                      lead time requirements in section
                                                   EPA (NRDC), the court reviewed claims                   could be produced starting in early                    202(a)(3)(C) do not apply to California.
                                                   that EPA’s PM standards for diesel cars                 1974), and because ‘‘the hardship
                                                                                                                                                                  a. 2018 HD Warranty Amendments
                                                   and light trucks were both too stringent                resulting if a suspension were
                                                   and not stringent enough. In upholding                  mistakenly denied outweigh[s] the risk                    CARB’s waiver request noted that the
                                                   the EPA standards, the court concluded:                 of a suspension needlessly granted.’’ 173              elements of the 2018 HD Warranty
                                                                                                           The NRDC court compared the                            Amendments that lengthen the warranty
                                                     Given this time frame [a 1980 decision on
                                                   1985 model year standards]; we feel that                suspension proceedings with the                        periods present no issues regarding
                                                   there is substantial room for deference to the          circumstances concerning the diesel                    technical feasibility or lead time. At the
                                                   EPA’s expertise in projecting the likely                standards before it: ‘‘The present case is             outset, CARB noted that although
                                                   course of development. The essential                    quite different; ‘the base hour’ for                   manufacturers are incentivized to
                                                   question in this case is the pace of that               commencement of production is                          produce and use more durable emission
                                                   development, and absent a revolution in the                                                                    related components and systems in 2022
                                                   study of industry, defense of such a
                                                                                                           relatively distant, and until that time the
                                                                                                           probable effect of a relaxation of the                 and beyond, the manufacturers are not
                                                   projection can never possess the inescapable
                                                   logic of a mathematical deduction. We think             standard would be to mitigate the                      compelled to do so. Because
                                                   that the EPA will have demonstrated the                 consequences of any strictness in the                  manufacturers may elect to use their
                                                   reasonableness of its basis for projection if it        final rule, not to create new                          existing components to comply with the
                                                   answers any theoretical objections to the               hardships.’’ 174 The NRDC court further                regulations, CARB contended that EPA’s
                                                   [projected control technology], identifies the          noted that International Harvester did                 prior findings of adequate technical
                                                   major steps necessary in refinement of the              not involve EPA’s predictions of future                feasibility and lead time found within
                                                   technology, and offers plausible reasons for                                                                   EPA’s waiver for California’s 2007 and
                                                   believing that each of those steps can be
                                                                                                           technological advances, but an
                                                                                                           evaluation of presently available                      later model years remains applicable
                                                   completed in the time available.171
                                                                                                           technology.                                            and dispositive. CARB also noted that
                                                      Another key case addressing the lead                                                                        no commenters raised objections
                                                   time requirements of section 202(a) is                  2. CARB’s Discussion of the                            regarding the feasibility and lead time of
                                                   International Harvester v. Ruckelshaus                  Regulations’ Consistency With Section                  the extended emission warranty periods
                                                   (International Harvester). In                           202(a) in the Waiver Requests                          during its rulemaking. CARB noted
                                                   International Harvester, the court                         Each of CARB’s waiver requests                      similar findings regarding the new
                                                   reviewed EPA’s decision to deny                         demonstrated that its standards were                   minimum allowable maintenance
                                                   applications by several automobile and                  based on technologies currently                        schedules. CARB also noted its belief
                                                   truck manufacturers for a one-year                      available or reasonably projected to be                that it appropriately considered the
                                                   suspension of the 1975 emission                         available in the lead time provided                    costs of the 2018 HD Warranty
                                                   standards for light-duty vehicles. In the               under each regulation, taking into                     Amendments and that it is not aware of
                                                   suspension proceeding, the                              consideration costs and other factors. As              any test procedure consistency
                                                   manufacturers presented data which, on                  such, CARB argued that its standards                   issues.175
                                                   its face, showed little chance of                       did not create any issues regarding
                                                   compliance with the 1975 standards,                                                                            b. ACT, ZEAS, and ZEP Certification
                                                                                                           consistency with section 202(a)                        Regulations
                                                   but which, at the same time, contained                  requirements. CARB’s waiver requests
                                                   many uncertainties and inconsistencies                  included the state rulemaking records                     CARB’s ACT Regulation waiver
                                                   regarding test procedures and                           for each standard, including CARB’s                    request provided information pertaining
                                                   parameters. In a May 1972 decision, the                 response to any issues raised regarding                to consistency with section 202(a)’s
                                                   Administrator applied an EPA                            technological feasibility. In this section             feasibility requirements for each of the
                                                   methodology to the submitted data, and                  III.D.2, we present CARB’s arguments                   three regulations covered by the request.
                                                   concluded that ‘‘compliance with the                    for each of its waiver requests in turn.               CARB noted that the ACT Regulation’s
                                                   1975 standards by application of present                In the following section III.D.3, we                   requirements that new 2024 MY
                                                   technology can probably be achieved,’’                  present the commenters arguments. EPA                  medium- and heavy-duty ZEVs be
                                                   and so denied the suspension                            has reviewed the information submitted                 produced and delivered for sale to
                                                   applications.172 In reviewing the                       to the record of this proceeding to                    ultimate purchasers in California are
                                                   Administrator’s decision, the court                     determine whether the parties opposing                 consistent with section 202(a) because
                                                   found that the applicants had the                       the waiver requests have met their                     the required technology already
                                                   burden of providing data showing that                   burden to demonstrate that the                         exists.176 CARB’s waiver request also
                                                   they could not comply with the                          respective standards (and accompanying
                                                   standards, and if they did, then EPA had                enforcement procedures) are not
                                                                                                                                                                     175 2018 HD Warranty Amendments Support

                                                   the burden of demonstrating that the                                                                           Document at 20–23.
                                                                                                           consistent with section 202(a). As                        176 ACT/ZEAS/ZEP Waiver Support Document at
                                                   methodology it used to predict                          explained in subsection III.D.4 below,                 31–32 (‘‘As described in the ACT regulation’s
                                                   compliance was sufficiently reliable to                 EPA has evaluated each of the waiver                   rulemaking record, medium- and heavy-duty ZEVs
                                                   permit a finding of technological                       requests under the test historically used              are currently commercially available . . . This
                                                   feasibility. In that case, EPA failed to                                                                       includes vehicles from companies such as BYD,
                                                                                                           and is concluding that the opponents of                Motiv, Phoenix Motorcars, XOS, and others.
                                                   meet this burden.
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                                                                                                           the waiver requests have not met the                   Traditional manufacturers of heavy-duty vehicles,
                                                      In NRDC the court pointed out that                   burden of proof regarding the third                    including Freightliner, Kenworth, Peterbilt, and
                                                   the court in International Harvester                    waiver prong. EPA also discusses, in                   Volvo, are currently demonstrating heavy-duty
                                                   ‘‘probed deeply into the reliability of                                                                        ZEVs in California, with the intent to launch
                                                                                                                                                                  commercial products by 2024. 15 manufacturers are
                                                   EPA’s methodology’’ because of the                        173 NRDC,   655 F.2d 318, 330.                       offering more than 50 different ZEV truck and bus
                                                                                                             174 Id.The ‘‘hardships’’ referred to are hardships   configurations, other than transit buses, from Class
                                                     171 NRDC,  655 F.2d 318, 331 (D.C. Cir. 1981).        that would be created for manufacturers able to        3 through Class 8 through the Hybrid and Zero-
                                                     172 InternationalHarvester v. Ruckelshaus, 478 F      comply with the more stringent standards being         Emission Truck and Bus Voucher Incentive
                                                   2d. 615, 626 (D.C. Cir. 1979).                          relaxed late in the process.                                                                      Continued




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                                                   noted that the ACT Regulation                           positive results for ZEAS by 2028.181                  CARB also recognized the challenges to
                                                   implements the ZEV sales requirement                    CARB also noted that neither the ACT,                  the technical feasibility of the ACT
                                                   through a credit and deficit mechanism,                 ZEAS, nor ZEP Certification Regulations                Regulation raised by one commenter but
                                                   whereby manufacturers’ deficits are                     present any issues of test procedure                   noted that no commenter has disputed
                                                   generated commencing with the 2024                      inconsistency because there are no                     CARB’s evidence that the technology
                                                   model year based, in part, on their                     analogous Federal requirements and, as                 need to comply with the ACT
                                                   annual sales of onroad vehicles with                    such, engines manufacturers are not                    Regulation already exists.186 In
                                                   gross vehicle weight ratings (GVWRs)                    precluded from complying with the                      addition, CARB responded to comments
                                                   exceeding 8,501 pounds produced and                     California and Federal test requirements               regarding ZEV constraints associated
                                                   delivered for sale in California.                       with one test engine or vehicle.182                    with operating ranges and performance
                                                   Manufacturers may earn credits by                                                                              characteristics.187 Finally, CARB noted
                                                                                                           3. Comments on Section 209(b)(1)(C)
                                                   producing and delivering for sale, to                                                                          several commenters’ assertions that
                                                   ultimate consumers in California,                          EPA received a range of comments on                 CARB failed to account for and
                                                   certain types of ZEV vehicles, and                      each of CARB’s regulations relating to                 accurately assess a number of different
                                                   subsequently there is a banking and                     the third criteria. Regarding the ACT                  costs associated with the ACT
                                                   trading system.177                                      Regulation, EPA received a comment                     Regulation (e.g., costs of manufacturing
                                                      Similarly, regarding the ZEAS                        that stated that the applicable                        and maintaining ZEVs, battery
                                                   Regulation, CARB noted that the                         technological feasibility criteria to apply            replacement costs, reduced operational
                                                   technology needed to produce zero-                      is found in section 202(a)(3)(A).183 This              hours due to needs to recharge, etc.) and
                                                   emission airport shuttle vehicles                       commenter maintains that CARB must                     pointed to its rulemaking record and
                                                   currently exists.178 Finally, CARB also                 demonstrate that the ACT standards                     submissions to EPA that address such
                                                   noted that the ZEP Certification                        ‘‘are achievable through reasonably                    claims. And in any case CARB
                                                   Regulation, requiring manufacturers to                  available technology, and must similarly               maintained that these commenters have
                                                   conduct energy-capacity testing for                     consider related costs, energy, and                    not introduced evidence that establishes
                                                   batteries used in zero-emission                         safety factors’’ and that CARB cannot                  that the compliance costs as so
                                                   powertrains, presents no issues of                      meet this obligation. This commenter                   excessive as to make the standards
                                                   technical feasibility because the                       notes two separate studies regarding the               infeasible.188
                                                   specified test procedure only requires                  current availability of electric and
                                                                                                                                                                    Many of the comments EPA received
                                                   use of commercially available test                      hydrogen fuel cell medium and heavy-
                                                                                                                                                                  on the third prong also focused not on
                                                   equipment.179                                           duty trucks, and that one of the studies
                                                                                                                                                                  whether the standards under review
                                                                                                           noted that electric trucks using present
                                                      In addition to showing that the                                                                             were actually infeasible under section
                                                                                                           lithium battery technology would need
                                                   required technology is already                                                                                 202(a)(2), but on whether CARB, to be
                                                                                                           levels of energy density and battery
                                                   commercially available, CARB noted                                                                             consistent with section 202(a), must
                                                                                                           storage capacity to support a daily
                                                   that it appropriately considered the cost                                                                      provide the four years of lead time and
                                                                                                           ranger of 600 miles at level that would
                                                   of each of the regulations, including the                                                                      three years of stability for standards
                                                                                                           weigh 6300 kg and cost approximately
                                                   incremental capital costs as well as total                                                                     applicable to new heavy-duty vehicles
                                                                                                           $180,000. This commenter maintains
                                                   costs of ownership (TCO) to potential                                                                          and engines required under section
                                                                                                           that CARB did not consider several
                                                   vehicle owners.180 CARB noted that its                                                                         202(a)(3)(C). Commenters objected to
                                                                                                           factors including charging networks as
                                                   Staff Report for the ACT Regulation                                                                            the 2018 HD Emission Warranty
                                                                                                           well as safety issues and legal
                                                   included an estimate that the average                                                                          Amendments and the ACT Regulation
                                                                                                           restrictions on commercial activity at
                                                   incremental vehicle price for certain                                                                          on the grounds that the third waiver
                                                                                                           rest stops. The commenter maintains
                                                   new ZEVs would be 30 percent to 60                                                                             criterion requires ‘‘consistency’’ with
                                                                                                           that because these factors were not
                                                   percent higher than a comparable                                                                               every provision of section 202(a) and
                                                                                                           considered by CARB then it does not
                                                   combustion-powered vehicle in certain                                                                          therefore, by the text of the statute,
                                                                                                           meet the requirements of section
                                                   years, with costs for these vehicles                                                                           CARB must provide four years of lead
                                                                                                           202(a)(3)(A).184 EPA also received
                                                   declining over time. Further, CARB                                                                             time and three years of stability for its
                                                                                                           supplemental comment from CARB that
                                                   noted that it had evaluated the TCO for                                                                        new heavy-duty vehicle and engine
                                                                                                           was submitted in response to comments
                                                   purchasing an ACT compliant vehicle                     submitted in opposition to the waiver
                                                   and all other related costs including                   for the ACT Regulation. CARB noted                     objections. Similarly, objections pertaining to the
                                                   fuel, maintenance, Low Carbon Fuel                                                                             wisdom of California’s judgment on various public
                                                                                                           that several comments fail to satisfy                  policy matters are beyond the [Administrator’s]
                                                   Standard revenue, and infrastructure,                   opponents’ burden of proof because                     scope of inquiry.’’ 43 FR 32184 citing 42 FR 44209,
                                                   and noted that ZEVs in appropriate duty                 they misunderstand the necessary                       44210 (October 7, 1976).
                                                   cycles can see a positive TCO by 2024                   showing or make no showing at all.185
                                                                                                                                                                    186 Id. at 11–12.

                                                   or sooner and reported similar TCO                                                                               187 Id. at 12. (CARB’s analysis found that although

                                                                                                             181 Id.
                                                                                                                                                                  certain market segments presented challenges, a
                                                                                                                                                                  large number of other segments are well suited for
                                                   Program (HVIP). HVIP has provided funding for             182 Id.  at 39.                                      electrification across the medium- and heavy-duty
                                                   2,456 zero-emission trucks and buses and 2,593            183 Valero   at 4. This commenter does not discuss   truck market, including refuse trucks, yard trucks
                                                   hybrid trucks since 2010 to support the long-term       the phase ‘‘greatest degree of emission reduction      and box trucks within the Class 8 vocational
                                                   transition to zero-emission vehicles in the heavy-      achievable through application of technology’’ in      market. CARB expects that the demand for heavy-
                                                   duty market. These commercially available zero-         202(a)(3)(A)(i) and whether and how it is related to   duty ZEVs will significantly increase as ZEV
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                                                   emission trucks and buses cover a wide variety of       its cited language regarding the consideration to      technology improves, resulting in increased
                                                   vocations and duty cycles; some vehicles available      ‘‘cost, energy, and safety factors.’’                  operating ranges and decreased vehicle prices.’’).
                                                   today include delivery vans, school buses, refuse          184 Id. at 4–6.                                     CARB also provided updated data and noted
                                                   trucks, cutaway shuttles, terminal tractors, and           185 CARB Supplemental Comments at 11. CARB          recently enacted federal action.
                                                   passenger vans.’’).
                                                      177 Id. at 7–10
                                                                                                           noted both EMA and WSPA comments that do not             188 Id. at 12–13 (Citing the ACT waiver request at

                                                                                                           provide any elaboration of why the lead time           31–39, ACT ISOR at IX–8, ACT FSOR at IX–23–IX–
                                                      178 Id. at 33.
                                                                                                           provided is not reasonable. ‘‘[S]ection 209(b) does    24, IX–27–IX–28, ACT FSOR at 105, 192, 204–222,
                                                      179 Id. at 34–36.
                                                                                                           not give [the Administrator] the latitude to review    269–274 (respond to comments asserting that CARB
                                                      180 Id. at 36–38 (ACT), at 38–39 (ZEAS), and 39–     procedures at the State level, and the EPA hearing     did not accurately assess cost impacts of the ACT
                                                   40.                                                     is not the proper forum in which to raise these        Regulation).



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                                                   standards.189 In response, supporters of                document, which found that CARB is                      information, and comments received in
                                                   the regulations argued that                             subject to 202(a)(3)(C)’s four-year lead                this proceeding, EPA has determined
                                                   ‘‘consistency’’ does not require                        time requirement.193 That decision                      that the opponents of the waiver request
                                                   identicality with lead time and stability               considered the plain text and                           for CARB’s regulations have not
                                                   requirements imposed on EPA. Such a                     congressional intent of the CAA as well                 demonstrated that these regulations are
                                                   strict imposition, they argued, would                   as the 1979 D.C. Circuit case, American                 inconsistent with section 202(a). As
                                                   frustrate Congress’ intent to give                      Motors Corporation v. Blum (Blum),                      noted above, CARB’s waiver requests
                                                   California flexibility and deference to                 which incorporated a specific minimum                   indicated that control technology either
                                                   create innovative standards that are                    two-year lead time from CAA section                     presently exists or is in use, and
                                                   more stringent than the Federal                         202(b)(1)(B) into the 202(a)(2) general                 opponents do not provide information
                                                   standards.190 Identicality also cannot be               technological feasibility analysis. The                 that sufficiently meets their burden of
                                                   required, they argued, because it would                 commenter explained that the D.C.                       proof.
                                                   be impossible for certain sub-provisions                Circuit in Blum ‘‘found that the                           The rationale supporting EPA’s
                                                   of section 202(a) to apply to CARB.191                  Congressionally-specified lead time                     determination is organized as follows.
                                                   In response, one commenter argued that,                 requirement was implicitly incorporated                 Applying its historical approach of
                                                   even if some provisions of 202(a) are                   into section 202(a)(2)’’ and argues that                section 209(b)(1)(C) to CARB’s
                                                   relevant only to EPA and not CARB,                      Blum’s logic applies equally to section                 regulations, EPA first examines whether
                                                   ‘‘consistency’’ still requires CARB to                  202(a)(3)(C).194                                        the opponents of the waiver requests at
                                                   abide by relevant provisions, such as                                                                           issue have met their burden of proof to
                                                                                                           4. California’s Standards Are Consistent
                                                   202(a)(3)(C)’s lead time and stability                                                                          demonstrate that the regulations are not
                                                                                                           With Section 202(a) Under EPA’s
                                                   requirements.192                                                                                                technologically feasible, within the lead
                                                                                                           Historical Approach
                                                      EPA also received comment that four                                                                          time provided and giving consideration
                                                   years of lead time is supported by                         As explained above, EPA has                          to cost. We present our analysis for each
                                                   Federal case law and EPA’s prior waiver                 historically applied a consistency test                 of the regulations in the two waiver
                                                   decisions. In particular, one commenter                 under section 202(a) that calls for the                 requests (the 2018 HD Warranty
                                                   noted EPA’s 1994 MDV waiver decision                    Administrator to first review whether                   Amendments, the ACT, ZEAS, and the
                                                                                                           adequate technology already exists, and                 ZEP Certification Regulations), in
                                                      189 EMA Initial Comments at 4–5, 6–7; EMA            if it does not, whether there is adequate               subsections III.D.4.a and b below. We
                                                   Supplemental Comments at 1. NADA at 2; WSPA             time to develop and apply the
                                                   at 2.                                                                                                           conclude, under EPA’s historical
                                                      190 See, e.g., CARB Initial ACT Comments at 17–
                                                                                                           technology before the standards go into                 approach to the third waiver criterion,
                                                   18; CARB Initial Omnibus Low NOx Comments at            effect.195 After a review of the record,                that the opponents of the waiver have
                                                   9 (submitted as Exhibit 4 of CARB’s Initial ACT                                                                 not met their burden of proof.
                                                   Comments); CARB Supplemental Comments at 7–                193 EMA Initial Comments at 3; EMA

                                                   8; Environmental and Public Health Organizations        Supplemental Comments at 2–3.                           a. 2018 HD Warranty Amendments
                                                   at 22–24. EPA notes CARB’s contention that section         194 EMA Initial Comments at 7–9 (‘‘The D.C.
                                                   202(a)(3)(C) was designed with specific purposes by     Circuit’s reasoning in Blum applies with equal force      As previously described, the 2018 HD
                                                   Congress, and that such purposes were, in part, to      here: failing to apply the minimum four-year
                                                   minimize the burden associated with new standards       leadtime requirement would frustrate the leadtime
                                                                                                                                                                   Warranty Amendments lengthen the
                                                   and the associated new designs of affected vehicles     that Congress explicitly found to be necessary for      warranty periods for new heavy-duty
                                                   and that in many instances CARB’s regulations do        [heavy-duty on-highway] standards.’’); EMA              vehicles and engines commencing with
                                                   not require a redesign of existing vehicles. (‘‘The     Supplemental Comments at 2–3 (‘‘In addition to the      the 2022 model year. Manufacturers can
                                                   clear purpose of Section 202(a)(3)(C) is to protect     general technology-based lead-time required for all
                                                   manufacturers with respect to specific EPA              vehicles and engines, section 202(a)(3)(C) is aimed
                                                                                                                                                                   choose to meet the new warranty
                                                   standards, from having to perform redesigns             specifically at the heavy-duty industry, which is not   periods either through installing more
                                                   without four years of lead time or more often than      vertically integrated, involves much lower              durable emission related components
                                                   every three years.’’ But ‘‘the year-on-year changes     production volumes, is more capital intensive,          (with an associated increase in cost) or
                                                   in the legal obligations imposed by ACT are             requires longer planning and product development
                                                   different from those imposed by more traditional        timelines, and requires longer time periods to
                                                                                                                                                                   by relying upon existing emission
                                                   vehicle emission standards—the kind of standards        recoup large capital investments. See, e.g., Hearing    related components designed to meet
                                                   Congress had in mind when it drafted Section            on S.1630 Before Subcomm. on Env’t Protection,          applicable emission standards and cover
                                                   202(a)(3)(C).’’ See CARB Supplemental Comments,         101st Cong. 312–13 (1989). These considerations         any increase in costs associated with
                                                   9–11 and CARB Initial ACT Comments at 19–22. As         make lead-time necessary regardless of whether it
                                                   explained below, EPA finds its textual assessment       is EPA or CARB that adopts the applicable
                                                                                                                                                                   additional emission warranty claims
                                                   of 202(a)(3)(C) to be sufficient to determine the       standards with which the industry must make             and repairs due to the increase in the
                                                   inapplicability to California and that it is not        investments to comply. Thus, as EPA rightly             warranty periods. Opponents of a
                                                   necessary to examine the underpinnings of this          concluded in 1994, the section 202(a)(3)(C) lead-       waiver for the 2018 HD Warranty
                                                   aspect of CARB’s argument.                              time requirement is no different than the lead-time
                                                      191 See, e.g., CARB Initial Omnibus Low NO           provision at issue in Blum.’’).
                                                                                                                                                                   Amendments do not claim that the
                                                                                                    X
                                                   Comments at 16–17 (submitted as Exhibit 4 of               195 EPA has previously stated that the               regulation is actually infeasible under
                                                   CARB’s Initial ACT Comments); CARB                      determination is limited to whether those opposed       EPA’s approach. If EPA had received
                                                   Supplemental Comments at 7–8; Environmental             to the waiver have met their burden of establishing     such comments, it would be appropriate
                                                   and Public Health Organizations at 20–21; ACT/          that California’s standards are technologically
                                                   ZEAS/ZEP Waiver Support Document at 31–32
                                                                                                                                                                   to evaluate whether more durable
                                                                                                           infeasible, or that California’s test procedures
                                                   (citing the ACT FSOR at 131).                           impose requirements inconsistent with the Federal       emission related components are
                                                      192 EMA Supplemental Comments at 4 (‘‘Of             test procedure. See, e.g., 38 FR 30136 (Nov. 1,         technologically feasible (giving
                                                   course, all of the provisions of section 202(a) are     1973); 40 FR 30311 (July 18, 1975); 71 FR 335 (Jan.     consideration to the cost of such
                                                   directed on their face to EPA, not California, and      4, 2006) (2007 Engine Manufacturers Diagnostic          components) and to evaluate the costs
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                                                   that is no reason to distinguish one part of section    standards); 70 FR 50322 (August 26, 2005) (2007
                                                   202(a) from another. Consistency means that CARB        California Heavy-Duty Diesel Engine Standards); 77      for manufacturers to choose to use
                                                   must abide by and avoid contradicting those             FR 9239 (February 16, 2012) (HD Truck Idling            existing components and cover the costs
                                                   provisions that are relevant. CARB agrees that it       Requirements); 78 FR 2111, 2132 (Jan. 9, 2013); 79      of additional emission warranty related
                                                   must abide by the technology lead-time requirement      FR 46256 (Aug. 7, 2014) (the first HD GHG               claims.
                                                   directed at EPA in section 202(a)(2), and CARB          emissions standard waiver, relating to certain new
                                                   must equally abide by the four-year lead-time           2011 and subsequent model year tractor-trailers); 81
                                                   requirement in section 202(a)(3)(C) that is directed    FR 95982 (December 29, 2016) (the second HD GHG         year tractor-trailers); 82 FR 4867 (January 17, 2017)
                                                   at EPA in precisely the same way. Neither of those      emissions standard waiver, relating to CARB’s           (On-Highway Heavy-Duty Vehicle In-Use
                                                   provisions is uniquely applicable to EPA’’).            ‘‘Phase I’’ regulation for 2014 and subsequent model    Compliance Program).



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                                                      During the course of EPA’s waiver                    development and application of                         received limited cost data from a
                                                   proceeding, we did not receive any                      necessary technology prior to the                      commenter, EPA finds no requisite
                                                   comments or evidence to suggest, let                    effective date of the standards for which              evidence in the record or comments that
                                                   alone meet the burden of proof, that the                a waiver is being sought. Second, EPA                  suggest that such technology does not
                                                   emission control technology needed for                  has thus long believed that California                 exist at reasonable costs (including the
                                                   the new extended emission warranty                      must be given substantial deference                    costs to consumers), or that ZEV trucks
                                                   periods and the new minimum                             when adopting motor vehicle emission                   and buses that cover a variety of
                                                   allowable maintenance schedules did                     standards because such action may                      vocation and duty cycles are not
                                                   not meet the consistency with section                   require new or improved technology to                  commercially available.200 EPA also
                                                   202(a) requirement.                                     meet challenging levels of compliance                  notes that the ACT Regulation includes
                                                      Likewise, EPA received no comments                   and that California plays a laboratory                 deficit and credit generation provisions
                                                   concerning CARB’s separate point                        role. EPA is guided both by the amount                 whereby manufacturers have the
                                                   regarding the options within California’s               of lead time provided by CARB and                      flexibility to phase in differing products
                                                   regulation that incentivize                             principles set forth in cases such as                  over time and mitigate deficits in later
                                                   manufacturers to produce more durable                   International Harvester and NRDC. This                 model years or through trading. Further,
                                                   emission related parts. EPA received no                 is EPA’s historical approach, and it is                in examining costs where technologies
                                                   comments that this separate compliance                  applied in this decision. As such, the                 already exist, EPA is also guided by how
                                                   strategy, of using existing emission                    requirements of section 202(a)(3)(A) do                costs are juxtaposed with lead time.
                                                   control parts and covering the costs of                 not apply to California. Nevertheless,                 Costs in this context relates to the
                                                   any additional emission warranty                        the factors such as energy and safety                  timing of a particular emission control
                                                   claims, was infeasible or too costly. In                found in section 202(a)(3)(A) have been                technology rather than to broader
                                                   addition, we did not receive any                        addressed by California and are part of                considerations.201 Opponents of the
                                                   comments or evidence during the                         the record here.                                       waiver have not met their burden of
                                                   waiver proceeding to suggest such                          EPA finds that CARB’s assessment of                 proof to demonstrate the ACT
                                                   concerns were raised during California’s                technology, lead time and cost was                     Regulation is inconsistent with section
                                                   rulemaking. CARB also noted that there                  based on reasonable assumptions and                    202(a). The commenters have not
                                                   are no test procedure consistency issues.               EPA has received no subsequent                         demonstrated, based on EPA’s
                                                   EPA has not received comment during                     comment during the waiver proceeding                   assessment of the record on the overall
                                                   the waiver comment period regarding                     to indicate otherwise. Although EPA                    feasibility of technology and costs, that
                                                   any of these matters.196                                received comment suggesting that EPA’s                 a disruption to the heavy-duty vehicle
                                                      Therefore, based on the record before                technological feasibility analysis should              and engine manufacturing industry
                                                   us, EPA cannot find that the opponents                  be performed under the criteria of                     would occur or that there is an undue
                                                   of the 2018 HD Warranty Amendments                      section 202(a)(3)(A), the Agency                       burden on this industry as a result of the
                                                   waiver have met their requisite burden                  explains below that section 202(a)(3)(A)               ACT Regulation. The record includes
                                                   of proof to demonstrate that such                       does not apply to California. As also                  evidence of the ability of manufacturers
                                                   requirements are inconsistent with                      explained, section 202(a)(3)(A) was                    to introduce certain service classes of
                                                   section 202(a). Thus, EPA cannot deny                   designed by Congress to explicitly                     vehicles that may have availability of
                                                   CARB’s 2018 HD Warranty                                 address EPA rulemaking activities. As                  central charging and lower costs, and in
                                                   Amendments waiver request on this                       such, EPA’s historical waiver approach                 a timeframe and sequence that meets the
                                                   basis.197                                               of applying section 202(a)(2), for
                                                                                                                                                                  ZEV phase-in requirements of the ACT
                                                                                                           purposes of assessing technological
                                                   b. ACT, ZEAS, and ZEP Certification                                                                            Regulation. Further, while the heavy-
                                                                                                           feasibility, lead time and cost as
                                                   Regulations                                                                                                    duty vehicles that meet the ACT
                                                                                                           required by section 209(b)(1)(C), also
                                                      At the outset, EPA notes two key                                                                            Regulation includes initial development
                                                                                                           applies to California’s heavy-duty
                                                   principles among others that guide                                                                             costs and costs of integrating the
                                                                                                           vehicle and engine emission standards.
                                                   EPA’s evaluation of technological                                                                              technology to the vehicles (the cost of
                                                                                                           Nevertheless, EPA has examined the
                                                   feasibility within section 209(b)(1)(C).                                                                       compliance) and other higher upfront
                                                                                                           waiver opponents comments regarding
                                                   As previously explained, first, EPA                                                                            costs for certain vehicles and in certain
                                                                                                           the requisite battery technologies
                                                   considers whether adequate technology                                                                          years, than traditional or conventionally
                                                                                                           (including weight, infrastructure, and
                                                   is either presently available or already                safety issues).198                                     fueled vehicles, the opponents of the
                                                   in existence and in-use. If technology is                  CARB’s ACT Regulation waiver                        waiver have not met their burden of
                                                   not presently available, EPA will                       request provided information pertaining                proof to demonstrate that such costs of
                                                   consider whether California has                         to consistency with section 202(a) for                 compliance are prohibitive. Beyond the
                                                   provided adequate lead time for the                     each of the three regulations covered by               technological feasibility of the emission
                                                                                                           the request. CARB noted that the ACT                   controls needed to meet the applicable
                                                      196 The record for this waiver proceeding also
                                                                                                           Regulation’s requirements that new                     standards, EPA is also sensitive to the
                                                   includes the ISOR and FSOR for CARB’s 2018 HD           2024 MY medium- and heavy-duty                         costs of the vehicles as well as the TCO
                                                   Warranty Amendments rulemaking (included in the
                                                                                                           ZEVs be produced and delivered for sale                of such vehicles. There is no indication
                                                   2018 HD Warranty Amendments Waiver docket at                                                                   that the ZEV vehicles today and
                                                   EPA–HQ–OAR–2022–0330–0006 and EPA–HQ–                   to ultimate purchasers in California are
                                                   OAR–2022–0330–0014). EPA has received no                consistent with section 202(a) because                 projected to meet the ACT Regulation
                                                   comment that questions CARB’s findings.                 the required technology already                        would be experience cost increases
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                                                      197 EPA evaluates the lead time associated with a
                                                                                                           exists.199 In addition, although EPA                   close in magnitude to prohibitive levels.
                                                   CARB’s regulation by in part examining the date of                                                             Additionally, EPA agrees with CARB
                                                   CARB’s adoption of the regulation and when
                                                                                                             198 EPA finds that it is beyond the scope of EPA’s
                                                   manufacturers are required to meet the regulation.
                                                   EPA is guided both by the amount of lead time           review to examine the feasibility of CARB’s              200 Id.
                                                                                                                                                                          at 18.
                                                   provided and by the principles set forth in cases       standards outside of California, including in states     201 MEMA   I at 1118. (‘‘Congress wanted to avoid
                                                   such as International Harvester and NRDC. EPA           adopting CARB’s standards (section 177 states). See    undue economic disruption in the automotive
                                                   finds no evidence in the record that manufacturers      78 FR 2143, 74 FR 32744.                               manufacturing industry and also sought to avoid
                                                   were unable to comply with CARB’s requirements            199 ACT/ZEAS/ZEP Waiver Support Document at          doubling or tripling the cost of motor vehicles to
                                                   that commenced with the 2022 model year.                31–32.                                                 purchasers.’’).



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                                                   that the opponents of the waiver that                    commenters suggest preferred feasible                   deny CARB’s ACT, ZEAS, and ZEP
                                                   asserted claims regarding various                        alternatives but do not argue that the                  Certification Regulations waiver request
                                                   battery issues such as replacement costs,                CARB regulations are technologically                    on this basis.208
                                                   weight, and inabilities to travel longer                 infeasible themselves, EPA again notes
                                                                                                                                                                    5. The Inapplicability of Section
                                                   distances have not demonstrated that                     that CARB has significant discretion in
                                                   the compliance costs are so excessive to                                                                         202(a)(3)(C) to the Third Prong
                                                                                                            the policy choices it makes to address
                                                   make the standards infeasible. EPA                       California’s air pollution problems.205                    Certain commenters asserted that,
                                                   notes that CARB, in adopting the ACT                     ‘‘The structure and history of the                      even if the standards are technologically
                                                   Regulation, performed a market segment                   California waiver provision clearly                     feasible, EPA should nonetheless deny
                                                   analysis for 87 market segments that use                 indicate a Congressional intent and an                  the waiver based on the lead time and
                                                   Class 2b–8 trucks, and assessed their                    EPA practice of leaving the decision on                 stability requirements found in section
                                                   suitability for electrification based on                 ambiguous and controversial public                      202(a)(3)(C).209 These commenters claim
                                                   issues including payload, daily                          policy to California’s judgment.206                     that because the third waiver criterion
                                                   operational ranges, infrastructure                          Therefore, based on the record before                requires California’s standards to be
                                                   access, and space considerations.202                     us, EPA cannot find that the opponents                  ‘‘consistent with’’ section 202(a),
                                                   EPA finds that CARB has reasonably                       of the ACT, ZEAS, and ZEP Certification                 California must necessarily comply with
                                                   identified technologies and vehicle                      Regulations waiver request have met                     section 202(a)(3)(C), as that is a sub-
                                                   applications that are available in the                   their requisite burden of proof to                      provision of 202(a). This argument is
                                                   near term as well as reasonable evidence                 demonstrate that such requirements are                  inconsistent with the plain text of the
                                                   that the performance and demand for                      inconsistent with section 202(a) under                  statute. The statutory phrase ‘‘consistent
                                                   heavy-duty ZEVs will significantly                       EPA’s historical approach to the third                  with’’ indicates that California’s
                                                   improve as technology evolves.                           waiver criterion.207 Thus, EPA cannot                   standards should be congruent and
                                                   Separately, EPA notes that CARB has                                                                              compatible with section 202(a), which
                                                   submitted extensive information to EPA                   (2004). Although the ZEAS Regulation does not           in turn sets forth requirements for
                                                   regarding its assessment of battery                      expressly require operators to purchase cleaner new     Federal standard-setting. The statute
                                                   technology—including safety, the                         vehicles because regulated parties may comply by
                                                                                                            converting existing internal combustion vehicles to
                                                                                                                                                                    does not, however, obligate California to
                                                   suitability of the grid and charging                     zero-emissions vehicles, EPA nevertheless believes      comply with every single provision of
                                                   infrastructure, and related issues related               it necessary to evaluate the purchasing                 section 202(a). Not only would doing so
                                                   to the ACT Regulation as a policy                        requirements and options within the ZEAS                make little sense given Congress’ intent
                                                   choice.203                                               Regulation and waives preemption of the ZEAS
                                                                                                            Regulation by this action.
                                                                                                                                                                    to set up two motor vehicle programs in
                                                      Therefore, the phase-in of ZEV sales                     205 See, e.g., Ford Motor, 606 F.2d 1293, 1302       title II—with California’s program
                                                   percentages in the ACT Regulation falls                  (D.C. Cir. 1979) (‘‘There is no indication in either    dedicated to address the state’s air
                                                   within the feasibility tests set forth in                the statute or the legislative history that Congress    quality problems and serve as a testing
                                                   International Harvester and NRDC and                     intended to permit the Administrator to supplant its    ground for motor vehicle emissions
                                                   the opponents of the waiver have not                     emission control regulations with those of
                                                                                                            California, no matter how sagacious and beneficial      policy designs and technologies—but it
                                                   met their burden of proof to refute                      the latter may be. Nor is there any evidence that the   would also conflict with the text and
                                                   CARB’s analysis and projections.                         Administrator is supposed to determine whether          intent of the waiver provisions in
                                                   Similarly, EPA finds no evidence in the                  California’s standards are in fact sagacious and        section 209.
                                                   record that suggests that technology                     beneficial.’’). To the extent comments suggest that
                                                   needed to produce zero emission airport                  consistency with 202(a) requirements includes
                                                                                                            limits on the types of emission standards that may      product offerings to make available in the California
                                                   shuttle vehicles to meet the ZEAS                        be adopted, these claims do not pertain to the third    marketplace during the transition to and for
                                                   Regulation does not exist or that                        prong analysis. Rather, the consistency with section    showing compliance with the new standards. These
                                                   manufacturers would not be able to                       202(a) requirement relates to the technological         market choices could include offering for sale a
                                                   meet the ZEP Certification                               feasibility of California’s standards as explained in   limited set of products. Given the statutory scheme,
                                                                                                            this decision. Further, the Administrator has long      the EPA Administrator is to give very substantial
                                                   Regulation.204 To the extent that                        explained that ‘‘questions concerning the               deference to California’s judgments. See also
                                                                                                            effectiveness of the available technology are also      International Harvester v. Ruckelshaus, 478 F 2d.
                                                      202 CARB Supplemental Comments at 12 (see             within the category outside my permissible scope        615, 640 (D.C. Cir. 1979) (‘‘We are inclined to agree
                                                   appendix E to the ACT ISOR).                             of inquiry,’’ under section 209(b)(1)(C). 41 FR         with the Administrator that as long as feasible
                                                      203 See CARB’s FSOR at 9–10 (discussion of            44209, 44210 (October 7, 1976); 47 FR 7306, 7310        technology permits the demand for new passenger
                                                   alternative fueled vehicles and regulatory               (February 18, 1982) (‘‘I am not empowered under         automobiles to be generally met, the basic
                                                   suggestion of ultra-low NOX rather than the ZEV          the Act to consider the effectiveness of California’s   requirements of the Act would be satisfied, even
                                                   levels on ACT, in context of grid readiness); FSOR       regulations, since Congress intended that California    though this might occasion fewer models and a
                                                   at 124–127 (grid resiliency); FSOR at 103 (CARB          should be the judge of ‘the best means to protect       more limited choice of engine types. The driving
                                                   notes ‘‘The Board approved the regulation without        the health of its citizens and the public welfare.’’’   preferences of hot rodders are not to outweigh the
                                                   off-ramps to ensure that vehicle manufacturers,          (Internal citations omitted)). Finally, one             goal of a clean environment.’’).
                                                   suppliers, and infrastructure manufacturers have         commenter (AFPM at 12–13) specifically suggests            208 EPA evaluates the lead time associated with

                                                   certainty in making long-term investments needed         that consistency with section 202(a), including         CARB’s regulation by examining the date of CARB’s
                                                   to ensure large-scale deployment of ZEVs in              section 202(a)(3)(A), means California cannot           adoption of the regulation and when manufacturers
                                                   California. The regulation’s structure gives             require particular technologies. However, as we         are required to meet the regulation. The CARB
                                                   manufacturers flexibility to bank credits, shift sales   explain below, section 202(a)(3)(A) does not apply      Board adopted the ACT Regulation on June 25,
                                                   between weight classes, and trade credits with other     to California and EPA evaluates the third waiver        2020. EPA is guided both by the amount of lead
                                                   manufacturers. These flexibility provisions give         prong under the technological feasibility, lead time,   time provided and by the principles set forth in
                                                   manufacturers assurance that they can comply and         and costs requirements in section 202(a)(2). Further,   cases such as International Harvester and NRDC.
                                                   does not introduce the uncertainty associated with       with respect to CARB’s ability to set particular        The lead time here is between the CARB Board’s
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                                                   potential off-ramps.’’); ACT Waiver Request at 31–       technology requirements, see 71 FR 78190                adoption of the ACT Regulation in June 2020 and
                                                   39. See also, ACT ISOR at IX–8, IX–23 to IX–24, IX–      (December 28, 2006) and Decision Document at            the compliance implementation for the 2024 model
                                                   27 to IX–28, 10, 192, 204–22, and 269–74.                EPA–HQ–OAR–2004–0437–0173, at 35–46).                   year (recognizing that manufacturers may choose to
                                                      204 Id. While the ZEAS Regulation regulates fleet        206 40 FR 213101, 23103 (May 28, 1975).              certify earlier in 2023 for the 2024 model year). EPA
                                                   operators of airport shuttles, EPA acknowledges             207 EPA recognizes that CARB may make different      finds no evidence in the record that manufacturers
                                                   that the emission levels expressed in the ZEAS           policy choices based on the air quality and other       are unable to comply with CARB’s requirements
                                                   Regulation are emission standards preempted under        conditions within the State, and that EPA does not      that commence with the 2024 model year.
                                                   section 209(a) and require a waiver of preemption        play the role of second-guessing such choices. It          209 Formerly contained in section 202(a)(3)(B), the

                                                   under 209(b). See Engine Manuf. Ass’n v South            also follows that, in response to the ACT               1990 Amendment renumbered this section as
                                                   Coast Air Quality Mgmt. Dist., 541 U.S. 246, 255         Regulation, a manufacturer will determine which         section 202(a)(3)(C).



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                                                      The commenters’ argument regarding                     and is the best view based on all the                   custom.’’ 215 These definitions support
                                                   section 202(a)(3)(C) fails. That                          relevant factors. EPA’s reasoning in the                the conclusion that the phrase
                                                   provision, which requires at least four                   1994 MDV waiver is unpersuasive, as                     ‘‘consistent with section 202(a)’’ does
                                                   years of lead time and three years of                     explained below, especially because this                not require California’s standards to
                                                   stability, is a companion to a specific                   aspect of the 1994 MDV waiver is                        comply with all sub-provisions in
                                                   Federal standard-setting mandate,                         inconsistent with both prior and                        section 202(a), but rather calls for
                                                   section 202(a)(3)(A). That mandate is for                 subsequent agency decisions,211 and                     congruence and compatibility. Caselaw
                                                   EPA to promulgate certain heavy-duty                      more importantly, it is inconsistent with               from the D.C. Circuit explaining the
                                                   standards for hydrocarbons, carbon                        the plain text of the statute. EPA is                   meaning of the phrase ‘‘consistent with’’
                                                   monoxide, oxides of nitrogen, and                         therefore taking a different approach                   in other parts of the Clean Air Act also
                                                   particulate matter that reflect the                       from the 1994 MDV waiver.212                            supports this understanding that the
                                                   ‘‘greatest degree of emission reduction                   Additionally, commenters also                           phrase does not mean lockstep
                                                   achievable’’ using technology that EPA                    mistakenly rely on the D.C. Circuit’s                   correspondence.216
                                                   determines will be available for a given                  opinion in American Motors Corp. v.                        EPA thus believes that the phase
                                                   model year, giving appropriate                            Blum, 603 F.2d 978 (D.C. Cir. 1979)                     ‘‘consistent with’’ does not require
                                                   consideration to cost, energy, and safety                 (Blum). Blum addressed a different                      California’s standards to strictly
                                                   factors associated with application of                    provision of the CAA and is readily                     conform or comply with every provision
                                                   those technologies. In conjunction with                   distinguishable from the instant                        in section 202(a). After all, that would
                                                   this directive to set standards reflecting                waivers.                                                defeat the scheme Congress set up to
                                                   the ‘‘greatest degree of emission                                                                                 encourage two sets of standards—the
                                                                                                             a. EPA’s Historical Practice Is Supported               Federal standards and California’s
                                                   reduction achievable,’’ section
                                                                                                             by the Text, Context, and Purpose of the                standards. Congress chose the term
                                                   202(a)(3)(C) requires EPA to provide the
                                                                                                             Statute                                                 ‘‘consistent with’’ instead of, for
                                                   four years of lead time and three years
                                                   of stability for the Federal standards.                      We begin by interpreting the text of                 example, ‘‘comply with,’’ or terms
                                                      The statute is also explicit that                      section 209(b)(1)(C), which requires                    connoting identicality such as ‘‘the
                                                   California, by contrast, may adopt state                  EPA to assess whether CARB’s                            same as,’’ or ‘‘identical to’’ in section
                                                   standards that are ‘‘in the aggregate’’ at                standards are ‘‘consistent with section                 209(b)(1)(C).217 The use of ‘‘consistent
                                                   least as protective as the Federal                        [202(a)].’’ The mere fact that Congress                 with’’ in section 209, rather than
                                                   standards—a starkly different structure                   placed a provision applicable to Federal                ‘‘identical’’ or the like, makes perfect
                                                   than requiring each of the relevant                       standards in section 202(a) does not                    sense because Congress established two
                                                   heavy-duty standards to reflect the                       mean California must comply with it in                  programs for control of emissions from
                                                   ‘‘greatest degree of emission reduction                   order for its standards to be ‘‘consistent’’            new motor vehicles in Title II—EPA
                                                   achievable.’’ As such, the requirement                    with section 202(a).213 Rather, what the                emission standards adopted under the
                                                   for EPA to find, in granting a waiver,                    ‘‘consistent with’’ provision requires                  Act and California emission standards
                                                   that California’s standards ‘‘are not                     must ‘‘account for the broader context of               adopted under its state law. Motor
                                                   [in]consistent with’’ section 202(a)                      the statute as a whole’’ 214 and should be              vehicles are ‘‘either ‘federal cars’
                                                   cannot mean that California’s standards                   based on analysis of the text, context,                 designed to meet the EPA’s standards or
                                                   comply with every provision of section                    purpose, and history of the relevant                    ‘California cars’ designed to meet
                                                   202(a). Further, given that California’s                  portions of the Act. The term                           California’s standards.’’ 218 Thus, an
                                                   standards are not subject to the ‘‘greatest               ‘‘consistent’’ means ‘‘marked by                        interpretation that every portion of
                                                   degree of emission reduction                              harmony, regularity, or steady                          section 202(a) must be applicable to
                                                   achievable’’ mandate, and apply only in                   continuity: free from variation or                      California standards would defeat
                                                   a limited market, it would make little                    contradiction,’’ ‘‘marked by agreement,’’               Congress’s plan.219 In contrast, EPA’s
                                                   sense in the statutory scheme to obligate                 and ‘‘showing steady conformity to
                                                   California to comply with the                             character, profession, belief, or                          215 Consistent, https://www.merriam-

                                                   companion lead time provision in                                                                                  webster.com/dictionary/consistent (last accessed
                                                   section 202(a)(3)(C) to provide four                        211 See 77 FR 9239, 9249 (2012); 46 FR 22302,         Jan. 30, 2023).
                                                                                                             22304 (1981).                                              216 See Wisconsin v. EPA, 938 F.3d 303, 316 (D.C.
                                                   years of lead time and three years of                       212 FCC v. Fox Television Stations, Inc., 556 U.S.    Cir. 2019) (collecting authorities).
                                                   stability.                                                502 (2009).                                                217 EPA notes, moreover, that elsewhere in the
                                                      This plain text reading is well-                         213 The D.C. Circuit has noted ‘‘section 202’s        statute Congress did use the term ‘‘identical,’’
                                                   supported by the history and purpose of                   pervasive regulation of national motor vehicle          indicating that Congress knew how to clearly
                                                   the Act and is also consistent with                       emission standards’’ and explained that if the entire   express when it wanted identicality as opposed to
                                                   administrative and judicial precedents.                   provision were applicable to California ‘‘[the          consistency. For example, under section 177,
                                                                                                             Administrator] would be powerless to consider           Congress ‘‘permitted other states to ‘piggyback’ onto
                                                   Commenters rely heavily on EPA’s                          waiving federal preemption for California’s             California’s standards, if the state’s standards ‘are
                                                   single cursory and contrary decision in                   emission standards and certification process. This      identical to the California standards for which a
                                                   a 1994 MDV waiver, even though by                         lack of power would render the waiver provision         waiver has been granted for such model year.’’’
                                                   2012 EPA had indicated that it did not                    and indeed, the express preemption provision mere       Motor Vehicle Mfrs. Ass’n v. New York State Dep’t
                                                                                                             surplusage.’’ MEMA I, 627 F.2d at 1122.                 of Envtl. Conservation, 17 F.3d 521, 525 (2d Cir.
                                                   believe section 202(a)(3)(C) applied to                     214 Wisconsin v. EPA, 938 F.3d 303, 316 (D.C. Cir.    1994) (Emphasis added); Similarly, in section
                                                   California’s heavy-duty engines and                       2019) (‘‘We note that we do not conclude that the       211(c)(4)(A)(ii), state fuel controls that are
                                                   vehicle standards.210 We acknowledge                      phrase ‘consistent with’ in the Good Neighbor           ‘‘identical’’ to controls promulgated under section
                                                   that the 1994 waiver action took a                        Provision necessarily effects an incorporation of the   211(c)(1) are otherwise not preempted. (Emphasis
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                                                                                                             full contours of every provision of Title I in pure,    added). Section 211(c)(4)(A)(ii)(Emphasis added).
                                                   different position on this issue than we                                                                             218 Engine Mfrs. Ass’n v. EPA, 88 F.3d 1075,
                                                                                                             lockstep fashion. As we have observed elsewhere in
                                                   do today. EPA believes that the                           construing the same words in the context of the         1079–80, 1088 (D.C. Cir. 1996).
                                                   interpretation of the ‘‘consistency with                  same statute, the phrase ‘consistent with’ other           219 For example, the requirement in section

                                                   section 202(a)’’ language that EPA has                    statutory sections ‘calls for congruence or             202(a)(3)(D) for the Administrator to conduct a
                                                   historically applied—both before and                      compatibility with those sections, not lock-step        study for the practice of rebuilding heavy-duty
                                                                                                             correspondence.’’’) (Citing Envtl. Def. Fund Inc. v.    engines and, on the basis on such study, consider
                                                   after the 1994 waiver—is permissible                      EPA, 82 F.3d 451, 460 (D.C. Cir. 1996); Nuclear         prescribing requirements for rebuilding practices is
                                                                                                             Energy Institute, Inc. v. EPA, 373 F.3d 1251, 1270      clearly directed at EPA and not a requirement of
                                                     210 77   FR 9239 (February 16, 2012).                   (D.C. Cir. 2004)).                                      California. It would not be a reasonable reading of



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                                                   historical practice regarding ‘‘consistent              Amendments, reflected congressional                     minimum amount of lead time and
                                                   with’’ is in accordance with both                       frustration at EPA’s slow pace of                       considering costs and other factors.226
                                                   Congress’s structure and the case law                   regulating emissions from heavy-duty                    Congress chose these prescribed lead
                                                   that guides how the phrase should be                    vehicles and engines and was thus a                     time and stability requirements because
                                                   interpreted by ensuring that California,                direct command to EPA.223 By its terms,                 of industry concerns over the level of
                                                   in setting its standards, evaluates the                 section 202(a)(3)(A)(i) directs EPA to                  stringency expected of EPA’s national
                                                   same factors that EPA does—e.g.,                        establish standards for hydrocarbons,                   standards. According to the D.C. Circuit
                                                   feasibility, lead time, and cost. EPA also              carbon monoxide, oxides of nitrogen,                    ‘‘[t]hat requirement was enacted for the
                                                   ensures that enforcement mechanisms,                    and particulate matter emissions from                   benefit of manufacturers to allow time
                                                   such as test procedures, are compatible                 heavy-duty vehicles and engines that                    for them to design and develop engines
                                                   to avoid creating challenges for                        ‘‘reflect the greatest degree of emission               in compliance with newly promulgated
                                                   automakers in complying with both                       reduction achievable.’’ 224 Section                     standards.’’ 227 Both the four-year lead
                                                   California and federal standards.220 For                202(a)(3)(C) in turn requires that such                 time and the three-year stability time
                                                   example, EPA has considered                             stringent standards (‘‘those promulgated                frames thus provide assurance to the
                                                   California’s classification scheme for                  . . . under this paragraph,’’ section                   heavy-duty industry of a minimum
                                                   heavy-duty vehicles as consistent with                  202(a)(3)(C)) have at least four years of               amount of lead time and stability to
                                                   section 202(a), even though it is not                   lead time and apply for no less than                    meet EPA’s national standards
                                                   identical to the federal classification.221             three model years.225 Congress intended                 considering the mandate to EPA to
                                                   This understanding of ‘‘consistent with’’               the fixed lead time and stability                       promulgate standards which reflect the
                                                   is supported by case law, such as MEMA                  provisions of section 202(a)(3)(C) as a                 greatest degree of emission reduction
                                                   II: ‘‘Section 209(b)(1) makes clear that                companion to the requirement in                         achievable under in section
                                                   section 202(a) does not require, through                section 202(a)(3)(A) to promulgate                      202(a)(3)(A).228 (‘‘It seems that Congress
                                                   its cross-referencing, consistency with                 national standards which ‘‘reflect the                  intended the EPA in promulgating
                                                   each federal requirement in the                         greatest degree of emission reduction                   standards with an adequate lead period
                                                   act. . . . California’s consistency [with               achievable,’’ balancing the mandate for                 to engage in reasonable predictions and
                                                   section 202(a)] is to be evaluated ‘in the              the most stringent possible standards                   projections in order to force
                                                   aggregate,’ rather than on a one-to-one                 with granting regulated manufacturers a                 technology.’’).229
                                                   basis. CAA section 209(b)(1).’’ 222 In                                                                             Several factors indicate that section
                                                   sum, section 209(b)(1)(C) does not                        223 NRDC v. Thomas, 805 F.2d 410 (D.C. Cir.           202(a)(3)(C) is a companion provision to
                                                   require California to conform identically               1986) (for the history and treatment of the 1977        section 202(a)(3)(A). As a general
                                                   to every provision of section 202(a).                   Amendments for heavy-duty vehicles and engines          matter, the level of stringency of a
                                                                                                           particulate matter, oxides of nitrogen, carbon
                                                      Having established that California’s                 monoxide and hydrocarbons standards). Acting
                                                                                                                                                                   standard and its accompanying lead
                                                   standards do not need to be identical to                under the 1977 Amendments, EPA first                    time are intertwined. Notably, a
                                                   or meet all of the requirements set out                 promulgated heavy-duty vehicle and engines              standard does not act in isolation, but
                                                   in section 202(a) for Federal standards,                standards on May 15, 1985 (50 FR 10606) but by          rather goes into effect after a certain
                                                                                                           that time California had been granted waivers for
                                                   we now turn to the question whether                     heavy-duty vehicles and engines standards (See for
                                                                                                                                                                   amount of lead time and in a particular
                                                   California’s standards must comply with                 example, 34 FR 7348 (May 6, 1969); 36 FR 8172           model year (e.g., a 1 gram/mile standard
                                                   section 202(a)(3)(C)’s requirements to be               (April 30, 1971); 40 FR 23102 (May 28, 1975);           effective beginning model year 2027).
                                                   ‘‘consistent’’ with section 202(a). To                  Section 202(a)(3)(A)(iii) was originally contained in   The feasibility of a standard, including
                                                   answer this question, EPA further                       the 1977 Senate bill ‘‘applicable to emissions of
                                                                                                           carbon monoxide, hydrocarbons, particulates, and
                                                                                                                                                                   the availability of technology and its
                                                   examines the statute’s text and purpose.                oxides of nitrogen from heavy duty trucks, buses,       costs, also depends on the lead time
                                                   Based on the plain language, statutory                  and motorcycles and engines thereof.’’ S. Rep. No.      provided. Further, the actual impact of
                                                   context and legislative history, we                     252, 95th Cong., 1st Sess. at 19 (1977). See S. Rep.    a standard, whether on regulated
                                                   conclude that the best view is that                     No.127, 95th Cong., 1st Sess. 193 (1977), reprinted
                                                                                                           in 3 Legislative History 1567. The 1977
                                                                                                                                                                   entities or its protectiveness of public
                                                   compliance with section 202(a)(3)(C) is                 Amendments added section 202(a)(3) directing EPA
                                                   not necessary for consistency. In                       to set heavy-duty vehicle emission standards for           226 NRDC v. Thomas, 805 F.2d 420–23 (Rejecting

                                                   particular, section 202(a)(3)(C) is a                   certain emissions for the 1983 model year and later.    argument that the terms ‘‘maximum’’ and ‘‘greatest’’
                                                                                                           (Congress having identified a need for standards in     before the phrase ‘‘degree of emission reduction’’
                                                   companion lead time provision that                                                                              meant that EPA must set standards at the
                                                                                                           1970 ‘‘had become impatient with the EPA’s failure
                                                   applies to Federal standard-setting                     to promulgate a particulate standard’’ for heavy        performance level of the best vehicle or engine and
                                                   under section 202(a)(3)(A) and is                       duty vehicles.’’ NRDC, 655 F.2d at 325 (citing S.       upholding instead EPA’s consideration and
                                                   therefore not relevant to California’s                  Rep. No.127, 95th Cong., 1st Sess. 67 (1977),           balancing of all relevant factors in setting applicable
                                                   program.                                                reprinted in 3 Legislative History 1441). This          standards.).
                                                                                                           language appears in the same legislative history           227 EPA ‘‘cannot cite us to any precedent allowing
                                                      In general, section 202(a)(3), which
                                                                                                           where Congress expressed approval for EPA’s             a court to ignore an explicit leadtime requirement.’’
                                                   was first added in the 1977                             implementation of the waiver provision over the         NRDC v. Thomas, 805 F.2d at 435 (Reversing EPA’s
                                                                                                           past decade and expanded California’s discretion to     decision to provide less than the statutorily
                                                   section 209(b)(1)(C) to require California to           adopt standards that were intended to address the       mandated four-year lead time for certain model year
                                                   complete an identical study in order to be              state’s severe air quality issues.                      heavy-duty vehicles and engines standards.). See
                                                   ‘‘consistent with’’ section 202(a).                       224 NRDC v. Thomas, 805 F.2d at 414–16.               also, 805 F.2d 435 n.40.
                                                      220 42 FR 2337, 2338 (January 11, 1977).               225 Formerly contained in section 202(a)(3)(B), the      228 ‘‘[I]n adding section 202(a)(3)(A)(iii) . . .

                                                      221 Id. (A medium duty vehicle is defined by the     1990 Amendments renumbered this section as              Congress directed the EPA to give priority to
                                                   CARB as a subset of the heavy-duty vehicle class,       section 202(a)(3)(C) and slightly modified its terms    establishing particulate emission standards for
                                                   and is any motor vehicle (except a passenger car)       while still retaining the four-year lead time and       heavy-duty vehicles and left the agency free to
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                                                   with a gross vehicle weight rating (GVWR) of            three-year stability requirement and extending this     exercise its power under section 202(a)(1) to
                                                   between 6000 and 8500 pounds).); See also, 43 FR        lead time to standards promulgated by EPA for the       regulate light-duty automobiles, whether diesel-
                                                   1829, n.2, 1830, n.9 (January 12, 1978); CARB           control of NOX emissions from heavy-duty vehicles       powered or otherwise.’’ NRDC., at 326; H.R. Conf.
                                                   Waiver Request at 3 n.6; 78 FR 2114 n.9 (Medium-        and engines. (‘‘Any standard promulgated or             Rep. No. 294, 95th Cong., 1st Sess. 542–43 (1977)
                                                   duty vehicles (MDVs) are vehicles in California’s       revised under this paragraph and applicable to          (‘‘Additional revisions of up to 3 years each could
                                                   regulations between 8,500 and 114,000 lbs GVWR          classes or categories of heavy-duty vehicles or         be granted at three-year intervals thereafter;’’ and
                                                   that are also called Class 2b/Class 3 vehicles. These   engines shall apply for a period of no less than 3      Congress ‘‘provides four years lead time before
                                                   vehicles are generally termed heavy-duty vehicles       model years beginning no earlier than the model         temporary or permanent revision of any statutory
                                                   under EPA’s regulation).                                year commencing 4 years after such revised              standard.’’).
                                                      222 MEMA II, 143 F.3d 449, 463–64.                   standard is promulgated.’’ Section 202(a)(3)(C)).          229 NRDC v. Thomas, 805 F.2d at 430.




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                                                   health and the environment, depends on                  Legislative history supports this                       explicitly recognized that California’s
                                                   the lead time provided.                                 connection.232 Opponents of the waiver,                 mix of standards could ‘‘include some
                                                      The context of the statute also evinces              however, contend that California’s                      less stringent than the corresponding
                                                   the link between sections 202(a)(3)(A)                  standards must ‘‘reflect the greatest                   federal standards.’’ 235 ‘‘[T]here is no
                                                   and (C). EPA’s general authority to                     degree of emission reduction                            question that Congress deliberately
                                                   establish motor vehicle standards is                    achievable’’ required for Federal                       chose in 1977 to expand the waiver
                                                   found in section 202(a)(1), which                       standards in 202(a)(3)(A) and meet the                  provision so that California could
                                                   authorizes the Administrator to                         companion lead time and stability                       enforce emission control standards
                                                   prescribe emission standards for motor                  requirements in section 202(a)(3)(C).                   which it determined to be in its own
                                                   vehicles upon making an endangerment                       Congress’ direction to EPA in sections               best interest even if those standards
                                                   finding but does not specify the                        202(a)(3)(A) and (C) stands in stark                    were in some respects less stringent
                                                   stringency of the standard (i.e., there is              contrast to its approach to California’s                than comparable federal ones.’’ 236 The
                                                   no requirement to promulgate standards                  standards. EPA’s practice of providing a                four-year lead time and three-year
                                                   that reflect the greatest degree of                     highly deferential review of California’s               stability requirement for heavy-duty
                                                   emission reduction achievable).230                      standards in waiver proceedings was                     engines and vehicles standards
                                                   Section 202(a)(1) in turn is accompanied                already well established by 1977, and                   contained in section 202(a)(3)(C) should
                                                   by the general lead time provision in                   Congress recognized and approved of                     thus be properly viewed as applying to
                                                   section 202(a)(2), which does not set                   this practice.233 And in the very same                  EPA’s standard-setting authority under
                                                   any fixed lead time but rather allows the               1977 Amendments, Congress instructed                    section 202(a)(3)(A), and not California’s
                                                   Administrator to determine the lead                     California to consider the protectiveness               authority as applied under the waiver
                                                   time ‘‘necessary to permit the                          of its standards ‘‘in the aggregate,’’                  provisions. To give proper effect to the
                                                   development and application of the                      rather than requiring each California                   ‘‘in the aggregate’’ language in section
                                                   requisite technology, giving appropriate                standard being as or more stringent than                209(b)(1), and for California to retain its
                                                   consideration to the cost of compliance                 its Federal counterpart.234 Congress                    ability to set more stringent standards
                                                   within such period.’’ By contrast, in                                                                           for some pollutants and less stringent
                                                   enacting section 202(a)(3), Congress was                in the text: the lead time requirements in              for others, California is not explicitly
                                                                                                           202(a)(3)(C) accompany specific Federal standard-
                                                   more prescriptive in both the                           setting requirements and do not act in isolation.       required, nor should it be implicitly
                                                   appropriate level of stringency and lead                Thus, those lead time requirements were not             required by the cross-reference to
                                                   time, requiring both standards that                     intended to apply to all Federal standards for          section 202(a), to set heavy-duty vehicle
                                                   reflect the greatest degree of emission                 heavy-duty vehicles or engines, much less to apply      emission standards that ‘‘reflect the
                                                                                                           to California standards. See infra footnote 250.
                                                   reduction achievable for specific                       Instead, they apply only to standards ‘‘promulgated     greatest degree of emission reduction.’’
                                                   pollutants emitted from heavy-duty                      or revised under this paragraph.’’                      In other words, the legislative
                                                   vehicles and at least four-year lead time.                 232 H.R. Conf. Rep. No. 564, 95th Cong., 1st Sess.
                                                                                                                                                                   compromise that Congress established
                                                   This contextual contrast between                        542–43 (1977) (The conference agreement provides        in 202(a)(3) for Federal standard-
                                                                                                           four years lead time before temporary or permanent
                                                   sections 202(a)(1)–(2) and 202(a)(3)                    revision of any statutory standard and requires the     setting—between standards that reflect
                                                   further demonstrates the close link                     Administrator to promulgate particulate standards       the greatest degree of emission
                                                   between the standard-setting provision                  based on criteria set forth in the House interim        reduction achievable and at least four
                                                   in section 202(a)(3)(A) and the lead time               standards provision. These standards are to become      years of lead time and three years of
                                                                                                           effective as expeditiously as practicable taking into
                                                   provision in section 202(a)(3)(C). That                 account the lead time necessary to comply, but in       stability—does not make sense in the
                                                   is, Congress departed from EPA’s                        no event later than 1981 model year.). This             California context: since California can
                                                   general authority to set motor vehicle                  legislative history from the Conference Report          establish differing (and sometimes less
                                                   emission standards in sections                          indicates that section 202(a)(3)(C) provides lead       stringent) standards than what is
                                                                                                           time and stability requirements for standards
                                                   202(a)(1)–(2) in two respects by making                 promulgated under section 202(a)(3)(A).                 required by 202(a)(3)(A), it also follows
                                                   a very specific legislative compromise                     233 In the 1977 Amendments to section 209(b)(1),     that it may prescribe differing lead time
                                                   in 202(a)(3): (1) By forcing stringent                  Congress also approved EPA’s interpretation of the      and stability requirements than what is
                                                   standards that reflect the greatest degree              waiver provision as providing appropriate               required by 202(a)(3)(C))—provided
                                                   of emission reduction achievable, while                 deference to California’s policy goals and consistent
                                                                                                           with Congress’s intent ‘‘to permit California to
                                                                                                                                                                   those requirements are ‘‘consistent
                                                   (2) also expecting that such standards                  proceed with its own regulatory program’’ for new       with’’ EPA’s general approach to
                                                   may be sufficiently difficult to achieve                motor vehicle emissions. H.R. Rep. No. 95–294, at       addressing feasibility, lead time, and
                                                   such that manufacturers would be                        301 (1977); MEMA I, 627 F.2d at 1120–21 (‘‘The          cost pursuant to section 202(a)(2). The
                                                   entitled to a minimum of four years of                  language of the statute and its legislative history
                                                                                                           indicate that California’s regulations, and
                                                                                                                                                                   1977 Amendment to section 209(b)(1)
                                                   lead time and three years of stability.231              California’s determination that they comply with        thus also supports the view that
                                                                                                           the statute, when presented to the Administrator are    California’s standards should be
                                                      230 And ‘‘[w]hile section 209(b) requires            presumed to satisfy the waiver requirements and         reviewed under the traditional
                                                   consideration of whether the adoption of standards      that the burden of proving otherwise is on whoever
                                                   by California is consistent with section 202(a),        attacks them.’’); Id. at 1110 (‘‘The Committee
                                                                                                                                                                   feasibility test of section 202(a), and that
                                                   nevertheless [the Administrator’s] discretion in        amendment is intended to ratify and strengthen the      California need only provide lead time
                                                   determining whether to deny the waiver is               California waiver provision and to affirm the           it deems sufficient based on its analysis
                                                   considerably narrower than [his] discretion to act or   underlying intent of that provision, i.e., to afford    of technology feasibility and cost for
                                                   not to act in the context promulgating Federal          California the broadest possible discretion in
                                                   standards under section 202(a). . . . [The              selecting the best means to protect the health of its
                                                                                                                                                                   standards at issue, and that EPA reviews
                                                   Administrator] would therefore feel compelled to        citizens and the public welfare.’’ Citing H.R. Rep.     California’s determinations.
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                                                   approve a California approach to the regulation of      No. 294, 95th Cong., 1st Sess. 30102 (1977), U.S.          As previously noted, the 1977
                                                   . . . emissions which [he] might choose not to          Code Cong. Admin. News 1977, p. 1380 (emphasis          Amendments removed the stringency
                                                   adopt at the Federal level.’’ 41 FR 44210.              in original).’’)
                                                      231 NRDC v. Thomas, 805 F.2d at 421–24, 430,            234 ‘‘Congress decided in 1977 to allow California
                                                                                                                                                                   requirements for California standards
                                                   435. EPA acknowledges that the lead time                to promulgate individual standards that are not as
                                                   requirements in 202(a)(3)(C) apply to ‘‘any standard    stringent as comparable federal standards, as long      amendments significantly altered the California
                                                   promulgated or revised under this paragraph’’ and       as the standards are ‘in the aggregate, at least as     waiver provision.’’).
                                                                                                                                                                     235 H.R. Rep. No. 294, 95th Cong., 1st Sess. 302
                                                   that paragraph (3) also includes other standard-        protective of public health and welfare as
                                                   setting provisions. We view these additional            applicable federal standards.’’ Ford Motor, 606 F.2d    (1977).
                                                   provisions as further support for the main argument     1293, 1302 (DC Cir. 1979) (‘‘[T]he 1977                   236 MEMA I, 627 F.2d at 1110.




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                                                   under review and now allows for                          developed section 202(a)(3) in the                        legislative history. Congress recognized
                                                   granting waivers if standards are ‘‘in the               context of the nationwide regulation of                   California’s severe air quality problems
                                                   aggregate’’ as protective of health as                   emissions from heavy-duty engines and                     and envisioned California’s role as an
                                                   federal standards in section 209(b)(1).                  vehicles by EPA, a decade after                           innovative laboratory for motor vehicle
                                                   This amendment reflected California’s                    enactment of the original waiver                          emission standards and control
                                                   wish to ‘‘trade off’’ controlling carbon                 provision and also after California had                   technology. California’s ‘‘unique [air
                                                   monoxide emissions, which were not as                    been regulating heavy-duty engine                         pollution] problems and [its] pioneering
                                                   critical of a problem in California, for                 emissions with the appropriate waivers                    efforts justif[ied] a waiver of the
                                                   NOX emissions, which were and                            that EPA granted applying the                             preemption section;’’ California ‘‘should
                                                   continue to present severe air quality                   traditional consistency test.241 In                       serve the Nation as a ‘testing area’ for
                                                   challenges in California.237 Therefore,                  amending section 202(a) to ensure more                    more protective standards.’’ 245
                                                   California’s carbon monoxide standards                   effective Federal regulation of certain                   Similarly, California is to ‘‘blaze its own
                                                   can now be less stringent than federal                   heavy-duty vehicle emissions, Congress                    trail with a minimum of federal
                                                   standards.238 Recognizing that both                      gave no indication that it had any                        oversight.’’ 246 EPA has thus
                                                   carbon monoxide and NOX are also                         intention of upending the application of                  ‘‘[h]istorically granted waivers allowing
                                                   listed in section 203(a)(3)(C), and then                 the traditional consistency test to                       the introduction of new technology in
                                                   reading this section as applicable to                    California standards.                                     California prior to its introduction
                                                   California’s heavy-duty vehicles                            Further, as far back as 1967 Congress                  nationwide’’ intending for the phase-in
                                                   standards, however, would entirely                       in enacting section 209(b) recognized                     of new control technology in California
                                                   undermine the purpose of the 1977                        that emissions technology would be                        as a means of successful
                                                   Amendments. Under such a reading, if                     introduced and tested first in California                 implementation nationwide.247 The
                                                   California identified a need to relax an                 before nationwide introduction and                        Administrator has explained that
                                                   existing carbon monoxide standard to                     use.242 According to the D.C. Circuit:                    allowing California to first introduce
                                                   enable a much more stringent NOX                         ‘‘The history of congressional                            technology ‘‘best serves the total public
                                                   standard, based on the interactions                      consideration of the California waiver                    interest and the mandate of the statute.
                                                   between the control technologies                         provision, from its original enactment                    It promotes continued momentum
                                                   involved, it would be precluded from                     up through 1977, indicates that                           toward installation of control systems
                                                   doing so because the carbon monoxide                     Congress intended the State to continue                   meeting the statutory standards while
                                                   standard would not meet the ‘‘greatest                   and expand its pioneering efforts at                      minimizing risks incident to national
                                                   degree of emission reduction’’                           adopting and enforcing motor vehicle                      introduction of new technology.’’ 248
                                                   requirement. This result is in direct                    emission standards different from and                     Applying fixed lead time and stability
                                                   conflict with Congress amending section                  in large measure more advanced than                       requirements to the California heavy-
                                                   209(b)(1) to enable California to do                     the corresponding Federal program; in                     duty vehicle program would thwart
                                                   precisely that, with precisely those                     short, to act as a kind of laboratory for                 California’s ability to serve as a
                                                   pollutants.239 As such, it is not a                      innovation.’’ 243 EPA has thus also long                  laboratory of vehicle emission reduction
                                                   reasonable reading of the statute.                       recognized Congressional intention that                   technologies and delay the transfer of
                                                      Moreover, the D.C. Circuit has held                   California ‘‘pioneer’’ emissions
                                                   that not all the 1977 amendments to the                  control.244 EPA’s view is supported by                    1967 and 1970 by providing a special provision to
                                                   Clean Air Act apply in the waiver                                                                                  permit California to continue to impose more
                                                                                                                                                                      stringent emission control requirements than
                                                   context. In MEMA I, for instance, the                    meaning of the word ‘‘standards’’ in section 209);        applicable to the rest of the nation. In 1973 for
                                                   Court held that section 302 was                          Motor Vehicle Mfrs. Ass’n v. New York State Dep’t         example, the Administrator granted a waiver to
                                                   inapplicable to section 209 because                      of Envtl. Conservation, 17 F.3d 521, 533 (2d Cir.         California that would force the use of emissions
                                                                                                            1994).                                                    catalyst while setting national standards that would
                                                   ‘‘[s]ection 302(k)’s definition [of                         241 ‘‘The 1977 Amendment also drew heavily on          not call for such technology. The Administrator
                                                   standards] was not enacted until ten                     the California experience in the ten years since          explained that ‘‘[i]f the new technology is largely
                                                   years after the original waiver provision,               enactment of the first waiver provision. See 123          restricted to California vehicles in 1975, it is the
                                                   and it was developed in the context of                   Cong. Rec. H4852 (daily ed. May 21, 1977); id. at         testimony of both General Motors and Ford that all
                                                   regulating emissions from stationary                     H5061 (daily ed. May 25, 1977).’’ MEMA I, 627 F.          the processes needed to mass produce catalyst cars
                                                                                                            2d. 1095, 1111 n.34; For example, EPA granted a           can be tested out on a limited scale that makes
                                                   sources.’’ 240 Similarly, Congress                       waiver for 1972 and later heavy-duty vehicles             tighter quality control possible and allows extra
                                                                                                            gasoline standards to California on May 6, 1969 (34       energy to be applied to the cure of any problems
                                                      237 58 FR 4166, LEV Waiver Decision Document          FR 7348). In turn, EPA first promulgated heavy-           that may arise [ ]. Both companies also stated that
                                                   at 50–51.                                                duty vehicle and engine standards pursuant to the         they would be able to focus their energies to deal
                                                      238 MEMA II, 142 F.3d at 464 (‘‘EPA has observed,     1977 Amendments in 1985. 50 FR 10606 (May 15,             more effectively with such in use failures as did
                                                   ‘California would not be denied a waiver if its CO       1985).                                                    occur if the first introduction of catalysts were in
                                                   standard were slightly higher than the federal . . .        242 S. Rep. No. 403, 90th Cong., 1st Sess. 33 (1967)   a limited geographical area [ ].’’ Notably, the
                                                   standard. . . . This is despite the fact that section    (The waiver of preemption is for California’s             Administrator was acting under a somewhat
                                                   202(g) contains specific standards for CO that EPA       ‘‘unique problems and pioneering efforts.’’); 113         analogous provision to section 202(a)(3)(A)(ii) by
                                                   must promulgate.’ EPA Air Docket A–90–28, Doc.           Cong. Rec. 30950, 32478 (‘‘[T]he State will act as        calling for standards that ‘‘reflect the greatest degree
                                                   No. V–B–1 at 47.’’).                                     a testing agent for various types of controls and the     of emissions control which is achievable by
                                                      239 MEMA II, 142 F.3d at 464 (‘‘California would      country as a whole will be the beneficiary of this        application of technology which the Administrator
                                                   not be denied a waiver if its CO standard were           research.’’) (Statement of Sen. Murphy); MEMA I,          determines is available giving appropriate
                                                   slightly higher than the federal . . . standard. . . .   627 F.2d 1095, 1111 (DC Cir. 1979).                       consideration to the cost of applying such
                                                   This is despite the fact that section 202(g) contains       243 MEMA I, 627 F.2d 1095, 1110.                       technology within the period of time available to
                                                   specific standards for CO that EPA must                     244 38 FR 10317, 10324 (April 26, 1973). There is      manufacturers.’’ Section 202(b)(5)(C).
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                                                                                                                                                                         245 S. Rep. No. 90–403, at 33 (1967); 113 Cong.
                                                   promulgate.’’); MEMA I, 627 F.2d at 1110 n.32            a general pattern that emission control technology
                                                   (explaining the specific intent of Congress to allow     have been phased in through use in California             Rec. 30950, 32478 (‘‘[T]he State will act as a testing
                                                   California carbon monoxide standards to be less          before their use nationwide. This pattern grew out        agent for various types of controls and the country
                                                   stringent than federal carbon monoxide standards).       of early recognition that auto caused air pollution       as a whole will be the beneficiary of this research.’’)
                                                      240 MEMA I, 627 F.2d 1095, 1112 n.35 (DC Cir.         problems are unusually serious in California. In          (Statement of Sen. Murphy); MEMA I, 627 F.2d
                                                   1979) (‘‘For this reason we find unpersuasive            response to the need to control auto pollution,           1095, 1111 (D.C. Cir. 1979).
                                                                                                                                                                         246 Ford Motor Co., v. EPA, 606 F.2d 1293, 1297
                                                   petitioners’ suggestion that section 302(k) of the       California led the nation in development of
                                                   Clean Air Act, 42 U.S.C. 7602(k) (Supp. I 1977),         regulations to require control of emissions. This         (D.C. Cir. 1979).
                                                                                                                                                                         247 49 FR 18887, 18894 (May 3, 1984).
                                                   which contains a definition of ‘‘emission                unique leadership was recognized by Congress in
                                                   standards,’’ controls our examination of the             enacting Federal air pollution legislation both in           248 38 FR 10317, 10319 (April 26, 1973).




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                                                   those innovations to the country as a                      and applied in its regulatory practice                   that commenters rely on also
                                                   whole under federal standards. Given                       ‘‘under this paragraph’’ in section                      acknowledged this reading of section
                                                   Congress’s desire for California to serve                  202(a)(3)(C) as meaning under                            202(a)(3)(C) at the time. By contrast,
                                                   as a laboratory for innovation, the                        paragraph 3, i.e., section 202(a)(3).251 In              California’s standards are not
                                                   traditional feasibility inquiry under                      other words, the lead time and stability                 promulgated under section 202(a)(3); as
                                                   section 209(b)(1)(C) suffices to ensure                    requirements apply to, and only to,                      a general matter, California adopts
                                                   that manufacturers have sufficient time                    certain regulations authorized under                     standards for which it seeks a waiver as
                                                   to deploy technologies to comply within                    paragraph 3. EPA has thus also long                      a matter of law under its police
                                                   the California market while allowing                       read section 202(a)(3)(C) as the authority               powers.254
                                                   California to move faster in deploying                     to provide the specified lead time and                      Additional reasons justify not
                                                   feasible technologies than the fixed lead                  stability requirements for heavy-duty                    applying 202(a)(3)(C) to the 2018 HD
                                                   time and stability requirements would                      vehicle and engine emissions standards                   Warranty Amendments. Specifically, it
                                                   allow.                                                     that are promulgated ‘‘under this                        has been EPA’s long-standing view that
                                                      Additional statutory text and context                   paragraph’’—under paragraph 3 (‘‘That                    section 207, which requires
                                                   further supports our historical view. A                    requirement was enacted for the benefit                  manufacturers to provide an emissions
                                                   plain reading of ‘‘under this paragraph’’                  of manufacturers to allow time for them                  warranty for heavy-duty engines, is the
                                                   in section 202(a)(3)(C) means under                        to design and develop engines in                         grant of authority to EPA to promulgate
                                                   paragraph 3.249 Paragraph 3 grants EPA                     compliance with newly promulgated                        heavy-duty vehicles emissions warranty
                                                   the authority to: (1) Establish heavy-                     standards.’’).252 Specifically, this                     requirements.255 Accordingly, section
                                                   duty engine and vehicles standards for                     language applies when EPA                                202(a)(3) is inapplicable to Federal
                                                   four listed pollutants in 202(a)(3)(A)(i),                 promulgates heavy-duty vehicle and                       warranty requirements, and it would not
                                                   (2) classify or categorize heavy-duty                      engine emissions standards for the                       be reasonable to give it force in
                                                   vehicles and engines in 202(a)(3)(A)(ii);                  listed pollutants: hydrocarbons, carbon                  California’s warranty requirements.
                                                   (3) revise earlier promulgated heavy-                      monoxide, oxides of nitrogen, and                        Notably, the D.C. Circuit has agreed,
                                                   duty standards in 202(a)(3)(B); and (4)                    particulate matter emissions from                        holding that ‘‘California is not required
                                                   establish standards for motorcycles in                     heavy-duty vehicles, under section                       to comply with section 207 to get a
                                                   202(a)(3)(E).250 EPA has thus long read                    202(a)(3).253 The 1994 MDV decision                      waiver.256 Further, EPA has also long
                                                                                                                                                                       considered CARB’s warranty
                                                      249 In deciding to grant these waiver requests,         reductions achievable, section 202(a)(3)(B)(ii)          amendments as not standards
                                                   EPA is relying on its legal interpretation of the          allows EPA to revise such standards based on             themselves, but rather accompanying
                                                   statute as explained in this notice. In each case,         certain air quality information. See section
                                                                                                              202(a)(3)(A)(i) (including the proviso ‘‘unless the
                                                                                                                                                                       enforcement procedures because they
                                                   EPA believes that its interpretation is the best
                                                   interpretation of the statute, regardless of judicial      standard is changed as provided in subparagraph          constitute criteria designed to better
                                                   deference. Guedes v. ATF, 45 F.4th 306, 313 (D.C.          (B)’’). As explained above, section 202(a)(3)(A) does    ensure compliance with applicable
                                                   Cir. 2022). Moreover, to the extent the statute is         not apply to California, and thus section                standards and are accordingly relevant
                                                   ambiguous, EPA’s interpretation is reasonable and          202(a)(3)(B)(ii) does not either. Separately, section
                                                                                                              202(a)(3)(B)(ii) also does not apply to California
                                                                                                                                                                       to a manufacturer’s ability to produce
                                                   entitled to deference. Washington All. of Tech.
                                                   Workers v. DHS, 50 F.4th 164, 192 (D.C. Cir. 2022).        because California is not revising standards             vehicles and engines that comply with
                                                      250 One commenter also mistakenly suggests that         previously promulgated under the CAA, whether            applicable standards.257 And while
                                                   202(a)(3)(B) may also apply to California. EMA             ‘‘under, or before the date of, the enactment of’’ the   ‘‘section 209(b) refers to accompanying
                                                                                                              1990 CAA Amendments. Finally, to the extent the
                                                   Supp. Comment at 6. To begin with, the
                                                                                                              commenter is specifically concerned with
                                                                                                                                                                       procedures only in the context of
                                                   commenter’s argument is internally inconsistent.
                                                   Compare id. at 6, with id. at 4 (‘‘certain provisions      greenhouse gas aspects of California’s regulations,
                                                                                                              EPA notes that in the federal standard-setting           statutorily mandated four-year lead time for certain
                                                   in section 202(a)(3) are not directly relevant to
                                                                                                              context, the agency has promulgated heavy-duty           model year heavy-duty vehicles and engines
                                                   CARB—for example, because they authorize EPA to
                                                                                                              GHG standards under its general standard-setting         standards.); 805 F.2d 435 n.40; See also, e.g., 87 FR
                                                   revise standards (i.e., section 202(a)(3)(B))’’).
                                                                                                              authority in section 202(a)(1)–(2) and does not          17414, 17420 n.26 (March 28, 2022) (‘‘Section
                                                   Underscoring the point, there are other obligations
                                                                                                              apply the four-year lead time and three-year             202(a)(3)(A) and (C) apply only to regulations
                                                   imposed on EPA by section 202(a) that are not
                                                                                                              stability requirements in section 202(a)(3)(C) in        applicable to emissions of these four pollutants.’’);
                                                   imposed on California. For example, the
                                                                                                              such heavy-duty GHG rulemakings. See 87 FR               87 FR 17435–36. EPA’s statutory authority requires
                                                   requirements involving motorcycles under section
                                                                                                              17436–37 & n.26 (Mar. 28, 2022) (‘‘Section               a four-year lead time for any heavy-duty engine or
                                                   202(a)(3)(E) do not apply to California, (EPA has
                                                                                                              202(a)(3)(A) and (C) . . . do not apply to regulations   vehicle standard promulgated or revised under
                                                   issued waivers for California’s motorcycle standards
                                                                                                              applicable to GHGs.’’); 81 FR 73512 (Oct. 25, 2016);     CAA section 202(a)(3).
                                                   that include 42 FR 1503 (January 7, 1977); 41 FR                                                                       254 Central Valley Chrysler-Jeep, Inc. v. Goldstene,
                                                   44209 (October 7, 1976); 43 FR 998 (January 5,             Greenhouse Gas Emissions Standards and Fuel
                                                   1978)), neither does the consultation requirement          Efficiency Standards for Medium- and Heavy-Duty          529 F.Supp.2d 1151, 1174 (‘‘The waiver provision
                                                   under section 202(a)(5)(A), nor do certain                 Engines and Vehicles EPA Response to Comments            of the Clean Air Act recognizes that California has
                                                   requirements of section 202(a)(6) addressing               Document for Joint Rulemaking 5–34 to 5–36 (Aug.         exercised its police power to regulate pollution
                                                   onboard vapor recovery. Moreover, applying section         2011).                                                   emissions from motor vehicles since before March
                                                   202(a)(3)(B) to California would, as with applying
                                                                                                                 251 ‘‘[I]n adding section 202(a)(3)(A)(iii) . . .     30, 1966; a date that predates . . . the Clean Air
                                                   section 202(a)(3)(A), create a conflict with section       Congress directed the EPA to give priority to            Act.’’).
                                                   209(b). Section 209(b)’s ‘‘in the aggregate’’ language     establishing particulate emission standards for             255 Auto. Parts Rebuilders Ass’n v. EPA, 720 F.2d

                                                   allows California to adopt any standards so long as        heavy-duty vehicles, and left the agency free to         142, 149 (D.C. Cir. 1983) (Section 207 ‘‘commands
                                                   they are in the aggregate more protective than the         exercise its power under section 202(a)(1) to            that the Administrator ‘shall prescribe regulations
                                                   federal standards; California is not limited to the        regulate light-duty automobiles, whether diesel-         which shall require manufacturers to warrant [their
                                                   fixed numerical NOx standards found in section             powered or otherwise.’’ NRDC v. EPA, 655 F.2d            cars].’ ’’ (Alteration in original)). See Decision
                                                   202(a)(3)(B)(ii), or to revising standards based on        318, 326 (D.C. Cir. 1981); See, e.g., EPA’s statutory    Document for the Notice of Scope of Preemption for
                                                   certain air quality information as provided by             authority requires a four-year lead time for any         California’s amendments to warranty regulations
                                                   202(a)(3)(B)(i). Further, section 202(a)(3)(B)(i) grants   heavy-duty engine or vehicle standard promulgated        pertaining to 1983 and later model year passenger
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                                                   the Administrator discretion to revise certain             or revised under CAA section 202(a)(3). See also 81      cars, light-duty vehicles, medium- and heavy-duty
                                                   heavy-duty standards that the Administrator                FR 95982 (December 29, 2016); 79 FR 46256                vehicles and motorcycles, V–B–1, at 65, n.132 and
                                                   previously ‘‘promulgated under, or before the date         (August 7, 2014); 77 FR 73459 (December 10, 2012);       66–67; 51 FR 12391 (Apr. 10, 1986).
                                                   of, the enactment of the Clean Air Act Amendments          73 FR 52042 (September 8, 2008).                            256 MEMA II, 142 F.3d at 466–67.
                                                                                                                 252 EPA ‘‘cannot cite us to any precedent allowing       257 MEMA I at 1111–13; Decision Document
                                                   of 1990 (or previously revised under this
                                                   subparagraph).’’ This provision is closely linked          a court to ignore an explicit leadtime requirement.’’    accompanying 51 FR 12391 (April 10, 1986), at 3;
                                                   with section 202(a)(3)(A). That is, notwithstanding        NRDC v. Thomas, 805 F.2d at 435. See also, 805           43 FR 32182, 32184 (July 25, 1978). EPA sets
                                                   the mandate in section 202(a)(3)(A) for EPA to             F.2d 435, n.40.                                          emissions warranty period under section 207(a) and
                                                   promulgate heavy-duty standards for the four listed           253 NRDC v. Thomas, 805 F.2d at 414–16, 435           not section 202(a). See, e.g., 48 FR 52170
                                                   pollutants that reflect the greatest emissions             (reversing EPA decision to provide less than the         (November 16, 1983).



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                                                   consistency with section 202(a),’’ EPA                  applied section 202(a)(3)(C) to                         duty standards.265 A provision that
                                                   has long reviewed the accompanying                      authorizations for nonroad engines and                  would require the Administrator to
                                                   procedures under the traditional                        vehicles, explaining for instance that                  preclude California from revising the
                                                   consistency test.258 In any event, the                  ‘‘section [202(a)(3)(C)] by its own terms               state’s heavy-duty standards for a
                                                   2018 HD Warranty Amendments would                       applies only to standards applicable to                 minimum of three model years would
                                                   not be properly considered emission                     emissions from new heavy-duty on-                       appear to be an important enough
                                                   standards for the listed pollutants that                highway motor vehicle engines, not the                  limitation for Congress to explicitly set
                                                   would come within the purview of                        nonroad engines being regulated by                      out in either section 202 or 209
                                                   section 202(a)(3)(C).                                   California.’’ 262                                       especially if Congress intended
                                                     Further, section 202(a)(3)(C) by its                                                                          California to be the judge of the ‘‘best
                                                                                                              Considering the 1977 Amendments
                                                   terms applies to onroad heavy-duty                                                                              means to protect the health of its
                                                                                                           and subsequent ones, Congress could
                                                   vehicles and engines, not to nonroad                                                                            citizens and the public welfare.’’ 266
                                                                                                           have explicitly provided that the four-
                                                   vehicles or engines.259 Considering the                                                                         EPA thus believes more explicit
                                                                                                           year lead time and three-year stability                 Congressional directive is needed prior
                                                   nearly identical language in both                       requirements in section 202(a)(3)(C)
                                                   sections 209(b) and 209(e)(2)(A), EPA                                                                           to precluding California from revising
                                                                                                           apply to California heavy-duty                          standards for heavy-duty vehicles and
                                                   has reviewed California’s requests for
                                                                                                           standards, had that been Congress’s                     engines that are to be sold in that
                                                   authorization of nonroad vehicle or
                                                                                                           intent. For example, Congress could                     state.267
                                                   engine standards under section
                                                                                                           have changed the text of section                           In any event, except for the 1994 MDV
                                                   209(e)(2)(A) using the same principles
                                                                                                           209(b)(1)(C) to say, ‘‘compliant with’’                 waiver, since the 1977 Amendments
                                                   that it has historically applied in
                                                                                                           rather than ‘‘consistent with.’’ It did not.            EPA has granted heavy-duty engine and
                                                   reviewing requests for waivers of
                                                                                                           Further demonstrating the point, in                     vehicle waivers where California has
                                                   preemption for new motor vehicle or
                                                                                                           section 202(m)(2) regarding certain                     provided less than four years of lead
                                                   new motor vehicle engine standards
                                                                                                           standards that were determined                          time from adoption of its regulations
                                                   under section 209(b).260 Under the third
                                                                                                           infeasible by EPA, Congress set out a                   and three years stability also under the
                                                   authorization criterion, EPA historically
                                                                                                           specific delayed lead time requirement                  traditional consistency test.268 Congress
                                                   has interpreted the consistency inquiry
                                                   to require, at minimum, that California                 that is ‘‘consistent with corresponding                 did not add anything to section
                                                   standards and enforcement procedures                    regulations or policies adopted by the                  202(a)(3) during the 1990 amendments
                                                   be consistent with section 209(a),                      California Air Resources Board.’’ 263                   to the Clean Air Act to indicate its
                                                   section 209(b)(1)(C), and section                       Similarly, in section 428 of the 2004                   applicability to California.269 And, in
                                                   209(e)(1) of the Act. And, in evaluating                Consolidated Appropriations Act
                                                   consistency with section 209(b)(1)(C),                  Congress required that EPA specifically                    265 In contrast, for example, under section

                                                                                                           address safety implications of any                      246(f)(4), which sets out a State Implementation
                                                   for purposes of consistency with section                                                                        Plan provision regarding fleet programs required for
                                                   202(a) EPA has applied the traditional                  California standard for certain engines                 certain non-attainment areas, ‘‘standards
                                                   feasibility test where the inquiry is                   prior to granting authorizations under                  established by the Administrator under this
                                                   solely whether California standards are                 section 209(e).264 Section 202(a)(3)(C),                paragraph . . . shall conform as closely as possible
                                                                                                           however, is devoid of either any explicit               to standards which are established for the State of
                                                   feasible within the lead time                                                                                   California for ULEV and ZEV vehicles in the same
                                                   provided.261 EPA has thus never                         language or exception that would be                     class.’’ And ‘‘[f]or vehicles of 8,500 lbs. GVWR or
                                                                                                           read as a reference to California’s heavy-              more, the Administrator shall promulgate
                                                     258 MEMA
                                                                                                                                                                   comparable standards for purposes of this
                                                                 I, 627 F.2d at 1111–12.                                                                           subsection.’’ Section 246(f)(4) (Emphasis added).
                                                     259 Section  202 of the CAA pertains to new motor     nonroad standards and enforcement procedures               266 H.R. Rep. No. 95–294, 95th Cong., 1st Sess.
                                                   vehicles or new motor vehicle engines, and motor        must not attempt to regulate engine categories that     301–302 (1977).
                                                   vehicles and engines is further defined in section      are permanently preempted from state regulation.           267 Moreover, in 1977, the congressional record
                                                   216 of the CAA. Section 216 also provides the              262 See, for example, 77 FR 9249, n.73.
                                                                                                                                                                   indicates that at least one heavy-duty vehicle and
                                                   definition of nonroad engine and nonroad vehicle           263 ‘‘The regulations required under paragraph (1)
                                                                                                                                                                   engine manufacturer requested that Congress
                                                   and provides that nonroad engines are not subject       of this subsection shall take effect in model year      amend section 209(b) by limiting this waiver
                                                   to standards promulgated under section 202 of the       1994, except that the Administrator may waive the       provision to only light-duty vehicles and engines.
                                                   CAA.                                                    application of such regulations for model year 1994     According to the engine manufacturer, California’s
                                                      260 See Engine Mfrs. Ass’n v. EPA, 88 F.3d 1075,     or 1995 (or both) with respect to any class or          heavy-duty vehicle standards would be on par with
                                                   1087 (D.C. Cir. 1996) (‘‘. . . EPA was within the       category of motor vehicles if the Administrator         federal standards by 1983. Hearing on S. 251, 252
                                                   bounds of permissible construction in analogizing       determines that it would be infeasible to apply the     and 253 Before Subcomm. On Env’t Protection, H.R.
                                                   section 209(e) on nonroad sources to section 209(a)     regulations to that class or category in such model     Rep. No. 95–294, 95th Cong. 1st Sess. 4221–23
                                                   on motor vehicles.’’).                                  year or years, consistent with corresponding            (1977). There was no concurrent testimony from a
                                                      261 On July 20, 1994, EPA promulgated a rule that    regulations or policies adopted by the California Air   member of Congress in 1977 or 1990 regarding the
                                                   sets forth, among other things, regulations             Resources Board for such systems.’’ Section             intent of section 202(a)(3) and certainly nothing to
                                                   providing the criteria, as found in section             202(m)(2) (Emphasis added). By the time of this         indicate that it would apply to California. While
                                                   209(e)(2)(A), which EPA must consider before            amendment California had been regulating heavy-         there was general testimony from a member of
                                                   granting any California authorization request for       duty vehicle and engine emissions with the              industry during the 1990 process, there is no
                                                   new nonroad engine or vehicle emission standards.       appropriate waivers that EPA granted applying the       evidence in the record suggesting the applicability
                                                   59 FR 36969 (July 20, 1994). EPA revised these          traditional consistency test. See, e.g., 34 FR 7348     of 202(a)(3)(C) to California. Hearing on S.1630
                                                   regulations in 1997. These regulations were further     (May 6, 1969) (HD gasoline MY 72 and later); 36         Before Subcomm. on Env’t Protection, 101st Cong.
                                                   slightly modified and moved to 40 CFR part 1074,        FR 8172 (April 30, 1971) (HD diesel MY 72 and           312–13 (1989). In any event, ‘‘The 1977
                                                   See 73 FR 53979 (Oct. 8, 2008). As stated in the        later MY); 40 FR 23102, 23105 (May 28, 1975)            Amendment also drew heavily on the California
                                                   preamble to the 1994 rule, EPA has historically         (extending waiver of April 30, 1971, to MY 1975 HD      experience in the ten years since enactment of the
                                                   interpreted the section 209(e)(2)(A)(iii)               standards).                                             first waiver provision. See 123 Cong. Rec. H4852
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                                                   ‘‘consistency’’ inquiry to require, at minimum, that       264 Codified at 40 CFR 1074.105(c). ‘‘In             (daily ed. May 21, 1977); id. at H5061 (daily ed.
                                                   California standards and enforcement procedures be      considering any request from California to authorize    May 25, 1977).’’ MEMA I, 627 F. 2d. 1095, 1111
                                                   consistent with section 209(a), section 209(e)(1),      the state to adopt or enforce standards or other        n.34.
                                                                                                                                                                      268 For example, 34 FR 7348 (May 6, 1969 (HD
                                                   and section 209(b)(1)(C) (as EPA has interpreted        requirements relating to the control of emissions
                                                   that subsection in the context of section 209(b)        from new nonroad spark-ignition engines smaller         gasoline MY 1972 and later); 36 FR 8172 (April 30,
                                                   motor vehicle waivers). In order to be consistent       than 50 horsepower, the Administrator will give         1971) (HD diesel MY 1972 and later MY); 43 FR
                                                   with section 209(a), California’s nonroad standards     appropriate consideration to safety factors             1829 (January 12, 1978); 49 FR 18887 (May 3, 1984).
                                                   and enforcement procedures must not apply to new        (including the potential increased risk of burn or         269 The 1990 Amendments did extend the four-

                                                   motor vehicles or new motor vehicle engines. To be      fire) associated with compliance with the California    year lead time and three-year stability to standards
                                                   consistent with section 209(e)(1), California’s         standard.’’                                                                                        Continued




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                                                   2012, EPA specifically rejected                         the 1977 Amendments to section                              It is also this protectiveness
                                                   commenters assertions that section                      209(b)(1), which reflected California’s                  determination by California, under
                                                   202(a)(3)(C) applied to California,                     preference to ‘‘trade off’’ emissions of                 section 209(b)(1) that determines EPA’s
                                                   stating that EPA’s lead time inquiry                    carbon monoxide, which was not as                        scope of review for consistency under
                                                   relates to technological feasibility and                critical a problem in California, for NOX                section 209(b)(1)(C).277 EPA has
                                                   that there is no additional requirement                 emissions, which were and continue to                    reasoned that this is appropriate
                                                   imposed by the section 209 criteria.270                 present severe air quality challenges in                 because the phrase ‘‘in the aggregate,’’
                                                      Turning to section 209(b), in section                California.273 With this amendment,                      which as earlier explained is
                                                   209(b)(1) Congress directed that EPA                    California was no longer required to                     California’s whole program precedes
                                                   ‘‘shall’’ grant waivers absent one of the               design a program where each standard                     ‘‘such state standards,’’ which is the
                                                   three limited bases for a waiver                        was equally or more stringent than the                   relevant language in section
                                                   denial.271 Section 209(b)(1) ‘‘contains an              applicable Federal standards, but rather                 209(b)(1)(C).278 EPA has thus long read
                                                   imperative to do an act—grant the                       can prioritize the emission reductions it                both sub-provisions together so that the
                                                   waiver after a hearing—once California                  views as most important for its citizens                 Agency reviews California’s entire
                                                   has made the protectiveness                             and to regulate certain pollutants less                  program for both protectiveness and
                                                   determination.’’ 272 Congress did not                   stringently than the Federal                             feasibility.279 So, EPA’s historic practice
                                                   amend section 209(b)(1)(C) in the 1977                  government, as long as the state program                 has been to conduct the technology
                                                   Amendments, rather the ‘‘more                           standards are in the aggregate at least as               feasibility analysis for CARB’s standard
                                                   stringent’’ standard required for                       protective as the Federal standards.274                  under review as a whole-program
                                                   California standards and contained in                   CARB may now design motor vehicle                        assessment, i.e., one that ensures
                                                   section 209(b)(1) in the 1967 Act was                   emission standards that are not as                       manufacturers have sufficient lead time
                                                   superseded by amendments to section                     stringent as Federal standards but when                  to comply with the program’s standards
                                                   209, which established that California’s                considered collectively with other                       as a whole, accounting for the
                                                   standards must be, in the aggregate, at                 standards would be best suited to                        interactions between technologies
                                                   least as protective of public health and                address California air quality problems,                 necessary to meet both new and existing
                                                   welfare as applicable Federal standards.                as long as the in the aggregate, the                     standards.280 And most importantly,
                                                   Specifically, under section 209(b)(1),                  protectiveness finding is made and it is                 because California can ‘‘include some
                                                   California is now required to make a                    not arbitrary and capricious.275 ‘‘[T]here               less stringent [standards] than the
                                                   protectiveness finding ‘‘in the                         is no question that Congress deliberately                corresponding federal standards’’
                                                   aggregate’’ for each waiver request by                  chose in 1977 to expand the waiver                       California would logically not be
                                                   looking at the summation of the                         provision so that California could                       expected to take section 202(a)(3)(C)
                                                   standards within its vehicle program.                   enforce emission control standards                       into account in any protectiveness
                                                   The protectiveness finding does not call                which it determined to be in its own                     finding made for a waiver request for
                                                   for identicality of the standards under                 best interest even if those standards                    California standards with a shorter lead
                                                   review with Federal standards. Instead,                 were in some respects less stringent                     time than specified in section
                                                                                                           than comparable federal ones.’’ 276                      202(a)(3)(C), and such standards would
                                                   promulgated by EPA for control of NOX emissions                                                                  otherwise be properly considered more
                                                   from heavy duty engines and vehicles. (‘‘The               273 The House Committee recognized
                                                   conference agreement adopts the House provisions,       ‘‘California’s longstanding belief that stringent
                                                                                                                                                                    stringent than Federal standards.281
                                                   modified to retain the Senate oxides of nitrogen        control of oxides of nitrogen emission from motor        ‘‘[T]he agency’s long-standing
                                                   (NOX) standard for heavy-duty engines effective in      vehicles may be more essential to public health          interpretation that section 209(b) does
                                                   model year 1998, and to reinstate the four-year lead    protection than stringent control of carbon              not require California to establish
                                                   time and three-year stability provisions in current     monoxide,’’ and was aware that it might be
                                                   law.’’ Conference Report on S. 1630 (H. Rept. 101–      technologically difficult to meet both the NO[x]
                                                   952) 103d Cong. 1st Sess. 887).                         standards California desired and the federal CO          the federal . . . standard. . . . This is despite the
                                                      270 77 FR 9239, 9249 (Feb. 16, 2012) (‘‘However,     standard. Accordingly, Section 209(b) was rewritten      fact that section 202(g) contains specific standards
                                                   the lead-time inquiry EPA undertakes relates to         to permit California to obtain a waiver of federal       for CO that EPA must promulgate.’’).
                                                                                                                                                                       277 EPA’s assessment under 209(b)(1)(C) is not in
                                                   technological feasibility. Specifically, consistency    preemption so long as it determines that its
                                                   with section 202(a) requires the Administrator to       emission control standards would be, ‘‘in the            practice a standard-by-standard review. EPA
                                                   first determine whether adequate technology             aggregate, at least as protective of public health and   believes it appropriate to read the entirety of 209
                                                   already exists; or if it does not, whether there is     welfare as applicable Federal standards.’’ Ford          together, along with its purposes, in order to
                                                   adequate time to develop and apply the technology       Motor, 606 F.2d 1293, 1297 (D.C. Cir. 1979).             properly interpret its components such as
                                                   before the standards go into effect . . . EPA then         274 H.R. Rep. No. 95–294, 95th Cong., 1st Sess.,      209(b)(1)(C). See e.g., 87 FR 14332.
                                                                                                                                                                       278 78 FR 2131–45. EPA notes that the term ‘‘such
                                                   has no further inquiry into lead-time, because no       301–302 (1977). The amendment is to afford
                                                   additional requirement is imposed by the section        California ‘‘the best means to protect the health of     state standards’’ in 209(b)(1)(C) allows the Agency,
                                                   209 criteria.’’). EPA acknowledges that the             its citizens and the public welfare.’’ (Motor Vehicle    in appropriate circumstances, to review the
                                                   regulations at issue in this 2012 waiver decision       Mfrs. Ass’n v. NYS Dep’t of Env’t Conservation, 17       consistency of CARB’s suite of standards, for a
                                                   concerned nonroad engines, not heavy-duty on-           F.3d at 525 (‘‘section 209 (formerly section 208) was    particular vehicle category, with section 202(a). For
                                                   highway motor vehicle engines, and that the             amended to require the U.S. Environmental                example, EPA evaluated all of the standards (LEV
                                                   Agency noted, in that decision, that ‘‘even if the      Protection Agency (EPA) to consider California’s         III criteria pollutant, ZEV sales mandate, and GHG
                                                   language in [section 202(a)(3)(C)] were relevant to     standards as a package, so that California could seek    standards) of the ACC program in recognition of the
                                                   its consistency analysis, that section by its own       a waiver of preemption if its standards ‘in the          aggregate costs and lead time associated with
                                                   terms applies only to standards applicable to           aggregate’ protected public health at least as well      CARB’s standards as well as technologies that may
                                                   emissions from new heavy-duty on-highway motor          as federal standards.’’)).                               be employed to meet more than one standard.
                                                   vehicle engines, not the nonroad engines being             275 74 FR at 32761 (‘‘Congress decided in 1977 to        279 49 FR 14353–54, 14358–62. EPA notes there

                                                   regulated by California.’’ Id. at 9249, n.73.           allow California to promulgate individual standards      would be an inconsistency if ‘‘State standards’’
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                                                      271 See, e.g., Ford Motor Co., 606 F.2d 1293, 1302   that are not as stringent as comparable federal          meant all California standards when used in section
                                                   (‘‘The Administrator is charged with undertaking a      standards, as long as the standards are ‘in the          209(b)(1) but only particular standards when used
                                                   single review in which he applies the deferential       aggregate, at least as protective of public health and   in 209(b)(1)(B) and 209(b)(1)(C). EPA has
                                                   standards set forth in Section 209(b) to California     welfare as applicable federal standards.’’); Ford        historically interpreted the third waiver criterion’s
                                                   and either grants or denies a waiver without            Motor, 606 F.2d 1293, 1302 (D.C. Cir. 1979) (‘‘[T]he     feasibility analysis as a whole-program approach.
                                                   exploring the consequences of nationwide use of         1977 amendments significantly altered the                87 FR 14361, n.266.
                                                   the California standards or otherwise stepping          California waiver provision.’’).                            280 38 FR 30136 (November 1, 1973) and 40 FR

                                                   beyond the responsibilities delineated by                  276 Ford Motor Co., 606 F.2d 1293, 1301; MEMA         30311 (July 18, 1975).
                                                   Congress.’’).                                           II, 142 F.3d 464 (‘‘California would not be denied          281 See for example, 41 FR 44209, 44212 (October
                                                      272 MEMA I, 627 F.2d 1095, 1120.                     a waiver if its CO standard were slightly higher than    7, 1976).



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                                                   perfect compliance with the CAA to                      statute does not provide for any probing               standards that address hydrocarbons,
                                                   obtain a waiver is particularly plausible               substantive review of the California                   carbon monoxide, oxides of nitrogen,
                                                   because section 209(b) explicitly                       standards by federal officials.’’ 289                  and particulate matter that is neither
                                                   requires only that the state’s standards                Rather ‘‘[t]he Administrator is charged                supported by the statute nor EPA’s
                                                   ‘be, in the aggregate, at least as                      with undertaking a single review in                    waiver practice. It would be particularly
                                                   protective of public health and welfare                 which he applies the deferential                       confounding, in that as a general matter,
                                                   as applicable Federal standards.’ CAA                   standards set forth in Section 209(b) to               the only difference between certain
                                                   section 209(b)(1).’’ 282                                California and either grants or denies a               heavy-duty vehicles is the placement in
                                                      Section 202(a)(3)(C) also requires that              waiver without exploring the                           service with some heavy-duty engines
                                                   standards for heavy-duty vehicles and                   consequences of nationwide use of the                  being used interchangeably for either
                                                   engines apply for no less than three                    California standards or otherwise                      onroad or nonroad purposes. Since the
                                                   model years without revision.283 Under                  stepping beyond the responsibilities                   inception of the waiver program EPA
                                                   a commenter’s argument, the                             delineated by Congress.’’ (Emphasis                    has reviewed both California’s onroad
                                                   Administrator would have to ‘‘align’’ or                added).290 As previously discussed, the                and nonroad heavy-duty engine
                                                   make a finding that precludes California                deference called for in reviewing                      standards under the traditional test.
                                                   from revising each one of the standards                 California’s waiver request led EPA to                 This waiver practice predated the 1990
                                                   under review for a minimum of three                     explain over 50 years ago:                             Amendments that provided for
                                                   model years, under section                                 Even on this issue of technological                 authorizations of nonroad engines and
                                                   202(a)(3)(C).284 Commenters’ reading of                 feasibility I would feel constrained to                vehicles standards by over two decades.
                                                   ‘‘consistency’’ would thus require EPA                  approve a California approach to the problem           Thus, for example, over fifty years ago
                                                   to first conduct ‘‘the narrow[ ] . . .                  which I might feel unable to adopt at the              EPA, in granting a waiver of preemption
                                                   congressionally mandated EPA review’’                   Federal level in my own capacity as a                  for California’s 1972 and 1973 MY HD
                                                   under which EPA’s scope of review is                    regulator. The whole approach to the Clean
                                                                                                           Air Act is to force the development of new
                                                                                                                                                                  vehicles, also denied the waiver for
                                                   delineated by the protectiveness finding                                                                       certain nonroad utility vehicles under
                                                   California has made, and then a second                  types of emission control technology where
                                                                                                           that is needed by compelling the industry to           the historical technology feasibility
                                                   broader review, beyond the confines of                  ‘catch up’ to some degree with newly                   test.292 Since the 1990 amendments and
                                                   EPA’s historic waiver practice, that                    promulgated standards. Such an approach to             considering the identical language in
                                                   would account for the stability                         automotive emission control might be                   both sections 209(b) and 209(e)(2)(A),
                                                   requirements for California cars.285                    attended with costs, in the shape of reduced           EPA has reviewed California’s requests
                                                   Under this reading, ‘‘[EPA] must come                   product offering, or price and fuel economy
                                                                                                                                                                  for authorization of nonroad vehicle or
                                                   to the rather curious conclusion that                   penalties, and by risks that a wider number
                                                                                                           of vehicle classes may not be able to                  engine standards under section
                                                   Congress intended the Administrator to                                                                         209(e)(2)(A) using the same principles
                                                   approach every new set of California                    complete their development work in time.
                                                                                                           Since a balancing of these risks and costs             that we have historically applied in
                                                   standards wearing two hats one                          against the potential benefits from reduced            reviewing requests for waivers of
                                                   expressly provided by statute and the                   emissions is a central policy decision for any         preemption for new motor vehicle or
                                                   other a product of elusive inference.                   regulatory agency, under the statutory                 new motor vehicle engine standards
                                                   Under the first he would undertake the                  scheme outlined above I believe I am                   under section 209(b).293 Specifically,
                                                   cursory review set forth in Section                     required to give very substantial deference to
                                                                                                                                                                  EPA’s practice has been to conduct the
                                                   209(b) for purposes of deciding whether                 California’s judgment on that score.291
                                                                                                                                                                  consistency inquiry called for under
                                                   to grant California a waiver of                           Commenters’ reading would also                       section 209(e)(2)(A)(iii) by evaluating, at
                                                   preemption; and under the other he                      introduce two different tests for the                  a minimum, whether California’s
                                                   would turn around and, apparently in                    evaluation of the consistency of                       standards and enforcement procedures
                                                   the course of a full-fledged rulemaking                 California’s standards under the third                 for nonroad engines and vehicles are
                                                   proceeding, plumb the merits of the                     prong: one for onroad heavy-duty                       consistent with section 209(a), section
                                                   California standards.’’ 286 EPA disagrees.              vehicle and engine standards; and a
                                                   ‘‘The Administrator has consistently                    different one for nonroad heavy-duty                      292 36 FR 8172 (April 30, 1971) (Provided that due
                                                   held since first vested with the waiver                 vehicle and engine standards. For one                  to considerations of technological feasibility, this
                                                   authority, his inquiry under section 209                set of standards, EPA would continue                   waiver of such standards and procedures (1) shall
                                                   is modest in scope. He has no broad and                 evaluation of technology feasibility                   not become applicable with respect to hydrocarbon
                                                   impressive authority to modify                                                                                 and carbon monoxide emissions from nonroad
                                                                                                           under the traditional test while other                 utility vehicles (as defined at 45 CFR 85.1(a), 35 FR
                                                   California regulations.’’ 287 ‘‘[H]is role              standards would have to be evaluated                   17288); 34 FR 7348 (May 6, 1969) (Due to
                                                   with respect to the California program is               for consistency under the four-year lead               technological feasibility and lead-time issues,
                                                   largely ministerial.’’ 288 And ‘‘[t]he                  time and minimum three-model year                      exhaust emission standards and test procedures for
                                                                                                                                                                  1970 gas-powered light duty vehicles are not
                                                                                                           stability requirements. This would                     applicable to off-road utility vehicles until April 30,
                                                     282 MEMA     II, 142 F.3d at 463.
                                                     283 ‘‘Any
                                                                                                           create a dichotomy, for example,                       1970, and not at all unless provision is made for
                                                                standard promulgated or revised under
                                                   this paragraph and applicable to classes or             between California’s heavy-duty onroad                 calculating emissions of hydrocarbons and carbon
                                                                                                           and nonroad vehicle and engine                         monoxide. Due to technological feasibility issues,
                                                   categories of heavy-duty vehicles or engines shall
                                                                                                                                                                  standards and procedures for 1971 and later gas-
                                                   apply for a period of no less than 3 model years
                                                                                                                                                                  powered light-duty vehicles are not applicable to
                                                   beginning no earlier than the model year                perceptions of the public interest. Absent the         off-road utility vehicles unless provision are made
                                                   commencing 4 years after such revised standard is       contingency that he is able to make contrary           for calculating emissions of hydrocarbons and
                                                   promulgated.’’ Section 202(a)(3)(C)(Emphasis
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                                                                                                           findings, his role with respect to the California      carbon monoxide. Due to technological feasibility
                                                   added).                                                 program is largely ministerial.’’).
                                                     284 EMA Initial Comments at 5, 11.
                                                                                                                                                                  issues, fuel evaporative emission standards and test
                                                                                                              289 Ford Motor, 606 F.2d at 1301.
                                                                                                                                                                  procedures for 1970 and later gas-powered light
                                                     285 Ford Motor, 606 F.2d 1293, 1298–99.                  290 Id. at 1302.                                    duty vehicles are not applicable to off-road utility
                                                     286 Id. at 1302.                                         291 36 FR 17158 (August 31, 1971); See also See     vehicles until April 30, 1970).
                                                     287 MEMA I, 627 F.2d at 1119 (internal citations
                                                                                                           78 FR at 2133. (EPA notes that when reviewing             293 See Engine Mfrs. Ass’n v. EPA, 88 F.3d 1075,
                                                   omitted).                                               California’s standards under the third waiver prong,   1087 (D.C. Cir. 1996) (‘‘. . . EPA was within the
                                                     288 Id. at 1123 n.56 (‘‘[T]he Administrator has no    the Agency may grant a waiver to California for        bounds of permissible construction in analogizing
                                                   broad mandate to assure that California’s emissions     standards that EPA may choose not to adopt at the      section 209(e) on nonroad sources to section 209(a)
                                                   control program conforms to the Administrator’s         Federal level due to different considerations).        on motor vehicles.’’).



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                                                   209(e)(1) and section 209(b)(1)(C).294 In               section 202(a).299 But the lead time                   model years shortly after the enactment
                                                   short, ‘‘EPA’s review of California’s                   section at issue in Blum is                            of the 1977 Amendments. Congress
                                                   regulations under the third statutory                   distinguishable from section                           made findings specific to those
                                                   criterion is quite deferential, limited to              202(a)(3)(C) in several key respects, and              standards and that group of
                                                   judging whether a regulation is ‘not                    Blum thus does not control                             manufacturers, including one of the
                                                   consistent’ with the terms of section                   consideration of that latter section. In               petitioners in the litigation by name.
                                                   7543. See 42 U.S.C.                                     Blum, the D.C. Circuit held that a waiver              The court of appeals gave substantial
                                                   7543(e)(2)(A)(iii).’’ 295                               of preemption that denied a small                      weight to the specific findings Congress
                                                                                                           volume manufacturer the statutorily                    made and the detailed legislative
                                                      The ‘‘technological feasibility                      mandated lead time specified as an                     history. By contrast, section 202(a)(3)(C)
                                                   component of section 202(a) [only]                      exception in section 202(b)(1)(B) was                  deals with a much broader set of
                                                   obligates California to allow sufficient                incorrectly granted because the relevant               standards applying to a broader set of
                                                   lead time to permit manufacturers to                    California’s standards did not provide                 manufacturers over an indefinite period
                                                   develop and apply the necessary                         two-year lead time and were thus                       of time—none of which Congress
                                                   technology.’’ 296 Under EPA’s historical                inconsistent with section 202(a) under                 specifically evaluated. Applying section
                                                   practice, standards that are                            the third waiver prong.300 According to                202(a)(3)(C) to California’s program is
                                                   technologically feasible because                        the court, ‘‘Congress itself finds and                 not necessary because it was not
                                                   technology is presently in use are                      mandates that with respect to small                    grounded in manufacturer and model
                                                   ‘‘consistent with section 202(a).’’ So too              manufacturers a lead period two years is               year-specific findings and would, as
                                                   are standards for which technology is                   necessary. We think the effect of this                 discussed above, interfere with
                                                   reasonably projected to be available by                 congressional mandate is to assimilate                 California’s ability to serve as a
                                                   the relevant model year. For California                 or incorporate in section 202(a)(2) the                laboratory—all in stark contrast to the
                                                   standards, that ends the inquiry.                       proviso of section 202(b)(1)(B).’’ 301                 application of section 202(b)(1)(B).
                                                   Otherwise, the Administrator, who has                      There are several important                         Congress purposely crafted statutory
                                                   long explained that his role in the                     distinctions between Blum and the                      language in section 202(b)(1)(B) to
                                                   waiver context is ‘‘modest in scope’’ and               present waivers. As an initial matter,                 provide practical flexibility that would
                                                   not to ‘‘overturn’’ and ‘‘substitute his                Blum is not directly on point because it               only apply for a short period of time
                                                   judgment’’ for those of California would                did not resolve the applicability of                   (the 1981 and 1982 model years) with
                                                   nevertheless impose a four-year lead                    section 202(a)(3)(C) in a California                   knowledge of the industry at the time,
                                                   time requirement on California despite                  waiver proceeding. Nor did Blum                        and the court of appeals in Blum
                                                   a showing that necessary emission                       suggest that all nationally applicable                 acknowledged the congressional
                                                   control technology is available and                     lead time requirements in section 202                  purpose of this language. This short-
                                                   otherwise well within the bounds of                     must apply to California. Rather, Blum                 lived statutory exception no longer
                                                   EPA’s historical waiver practice of                     performed a detailed analysis of the text              applies in EPA rulemakings, nor does it
                                                   reviewing feasibility.297 Doing so would                and history of the specific provision at               apply to California at this point in time.
                                                   be inconsistent with the statutory text                 issue, section 202(b)(1)(B), and found                 In contrast, there is no evidence that
                                                   and the structure that Congress put in                  that that provision alone must be strictly             Congress evaluated questions of lead
                                                   place to enable innovation in                           applied for California’s standards to be               time and stability with respect to future
                                                   California’s market. In sum, ‘‘the import               ‘‘consistent’’ with section 202(a).                    California heavy-duty standards—or
                                                   of section 209(b) is not that California                Applying the same kind of detailed                     that it had any intent to constrain the
                                                   and Federal standards be identical, but                 textual and historical analysis here, EPA              form of California’s standards, in
                                                   that the Administrator does not grant a                 concludes that section 202(a)(3)(C) does               contrast to the federal standards tied to
                                                   waiver of Federal preemption where                      not apply in the California waiver                     the ‘‘greatest degree of emission
                                                   compliance with the California                          context.302                                            reduction achievable’’ mandate. And
                                                                                                              Moreover, the facts surrounding                     more importantly, there are no similar
                                                   standards is not technologically feasible
                                                                                                           section 202(b)(1)(B) in Blum and section               legislative findings or other legislative
                                                   within available lead time.’’ 298
                                                                                                           202(a)(3)(C) here are quite different.                 history indicating that Congress
                                                   b. Neither AMC v. Blum nor the 1994                     Blum dealt with a narrow, time-limited                 believed all manufacturers needed at
                                                   MDV Waiver Dictate a Contrary                           issue: whether a specific group of                     least four years of lead time to meet
                                                   Interpretation                                          manufacturers were entitled to relief                  CARB’s heavy-duty standards generally
                                                                                                           from certain NOX standards for two                     or the standards that are the subject of
                                                     As also noted above, EPA received                                                                            these waiver requests specifically.
                                                   comment that the D.C. Circuit’s decision                  299 59 FR 48625 (September 22, 1994) and
                                                                                                                                                                  Indeed, as EPA has explained, CARB set
                                                   in Blum along with EPA’s 1994 MDV                       associated Decision Document at EPA–HQ–OAR–
                                                                                                                                                                  forth a detailed explanation of the
                                                   waiver constrain EPA and require it to                  2022–0330, (MDV Waiver Decision Document).
                                                                                                             300 Waiver of preemption for California to Enforce   feasibility of its standards and
                                                   apply the precise requirements of                       NOX emissions standards for 1981 and later model       commenters have failed to meet their
                                                   section 202(a)(3)(C) California’s program               years passenger cars. 43 FR 25729 (June 14, 1978).     burden of proof to show that the
                                                   in reviewing for consistency with                         301 American Motors Corp. v. Blum, 603 F.2d 978,
                                                                                                                                                                  standards are infeasible.
                                                                                                           981 (D.C. Cir. 1979) (‘‘Section 202(b)(1)(B) directs
                                                     294 40 CFR part 1074, subpart B, 73 FR 59379
                                                                                                           that the regulations prescribed by the Administrator      As noted, there is a critical textual
                                                                                                           pursuant to section 202(a) shall require that NOX      distinction between the issue addressed
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                                                   (October 8, 2008).                                      emissions may not exceed 2.0 grams per vehicle
                                                     295 American Trucking Assoc. v. EPA, 600 F.3d                                                                in Blum and the one here. In Blum, the
                                                                                                           mile for vehicles and engines manufactured during
                                                   624, 629 (D.C. Cir. 2010).                              model years 1977 through 1980. For those               applicability of section 202(b)(1)(B) to
                                                     296 MEMA II, 142 F.3d at 463 (Internal citations
                                                                                                           manufactured during model year 1981 and                California resulted from an exception to
                                                   omitted).                                               thereafter, NOX emissions may not exceed 1.0 grams     the general lead time of section 202(a)(2)
                                                     297 H.R. Rep. No. 95–294, at 302 (The                 per vehicle mile. . . . In establishing these          that Congress provided for certain motor
                                                   Administrator ‘‘is not to overturn California’s         regulations the Administrator is bound by section
                                                   judgment lightly. Nor is he to substitute his           202(a)(2) to allow such lead time as he finds          vehicle manufacturers for a short period
                                                   judgment for that of the State.’’).                     necessary.’’)                                          of time and for specified model years.
                                                     298 46 FR 22032, 22034–35 (April 15, 1981).             302 See section III.D.5.a.                           Immediately introducing section 202(a)


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                                                   is the phrase ‘‘Except as otherwise                      Congress’s belief that a specific amount                 that the California regulation, which denies
                                                   provided in subsection (b) –),’’ which by                of lead time was ‘‘necessary.’’ 305                      to [petitioner] a lead time of two years, is
                                                   its terms means that section 202(b)                         Moreover, after Blum, the D.C. Circuit                inconsistent with section 202(a)(2). Id. at 981.
                                                                                                            also considered a somewhat analogous                     Thus, the American Motors decision did not
                                                   governs over the more general and
                                                                                                                                                                     suggest that all of the subsections of section
                                                   potentially conflicting terms in section                 argument in MEMA II, where petitioners                   202 were incorporated into subsection (a) for
                                                   202(a). But Congress did not disturb the                 maintained that section 202(m), which                    the purposes of assessing a California waiver
                                                   applicability of section 202(a)(2) for                   calls for promulgation of regulations                    application. Instead, it concluded that the
                                                   subsequent model years standards and                     ‘‘under section 202(a),’’ meant that EPA                 EPA had granted a waiver without
                                                   the D.C. Circuit held accordingly: ‘‘In                  was to evaluate applicability of section                 determining whether California had met the
                                                   establishing these regulations [for model                202(m) to California’s onboard                           standards of section 202(a).’’ 309
                                                   year 1981 and thereafter] the                            diagnostic regulations for consistency                      And in the intervening years since the
                                                   Administrator is bound by section                        with section 202(a). The court                           1994 MDV waiver, EPA has not applied
                                                   202(a)(2) to allow such lead time as he                  disagreed, held that section 202(m) does                 section 202(a)(3)(C) to a number of other
                                                   finds necessary.’’ 303 There is also                     not apply, and declined to extend its                    waiver decisions for California’s heavy-
                                                   nothing to indicate Congressional intent                 holding in Blum, holding instead that                    duty standards.310 For instance, in 2012
                                                   to override section 202(a)(2). But                       ‘‘section 209(b)(1) makes clear that                     EPA did not require four years of lead
                                                   commenters’ reading would have the                       section 202(a) does not require, through                 time nor address the stability
                                                   Administrator do just that by allowing                   its cross-referencing, consistency with                  requirements for California’s heavy-duty
                                                   section 202(a)(3)(C) to govern over                      each federal requirement in the act.                     truck idling standards under section
                                                   section 202(a)(2) even where California                  California’s consistency is to be                        202(a)(3)(C) and explicitly disagreed
                                                   has made a showing of technology                         evaluated ‘in the aggregate,’ rather than                with comments asserting its
                                                   feasibility for the standards under                      on a one-to-one basis.’’ 306 According to                applicability.311 Similarly, in 2008,
                                                   review.                                                  the court ‘‘[a]lthough statutory cross-                  2012, 2014, and 2016, EPA did not
                                                      According to relevant legislative                     referencing presents a superficially                     require four years of lead time nor
                                                   history of section 202(b)(1)(B), that                    plausible textual argument linking                       address the stability requirements for
                                                   language was introduced due to                           compliance with subsection (m) to                        California’s heavy-duty vehicle and
                                                   concerns that small volume                               compliance with subsection (a), the                      engine greenhouse gas waivers as well
                                                   manufacturers would not be able to                       agency has long interpreted the statute                  as the On-Board Diagnostics
                                                   comply with the 1.0 gram per mile NOX                    to give California very broad authority,                 requirements under section
                                                   standard for light-duty vehicles.                        and the court has held that this                         202(a)(3)(C).312 So, the 1994 MDV
                                                   According to statements made by                          interpretation is not unreasonable.’’ 307                waiver remains the sole waiver decision
                                                   members of Congress at the time of the                      EPA also disagrees with commenter’s                   where EPA reviewed California
                                                   amendment’s introduction and debate,                     claim that the 1994 MDV waiver                           standards for consistency with section
                                                   the amendment was intended to apply                      constrains and binds EPA in the current                  202(a) under both section 202(a)(3) and
                                                   to only American Motors Corporation                      waiver review. EPA is retaining the                      the historically-applied technology
                                                   and one other small manufacturer                         position it has consistently held with                   feasibility test (202(a)(2)). At the time of
                                                   (Avanti) because the standard required                   the sole exception of the 1994 MDV                       the 1994 MDV waiver, EPA posited that
                                                   the development of a specific                            waiver for all the reasons discussed                     ‘‘Blum indicates that California would
                                                   technology that they would have to                       herein.308 EPA notes that in MEMA II                     be required to provide the statutory lead
                                                   purchase and adapt from other                            the court revisited Blum and explained:                  time required under section
                                                   manufacturers, so these small volume                       Petitioners’ reliance on American Motors               202(a)(3)(C).’’ 313 But EPA did not
                                                   manufacturers would be unavoidably                       Corp., [ ] is misplaced. In that case, EPA
                                                   behind in the pollution abatement                        viewed the petitioner’s complaint about the                309 142 F.3d at 464, n.14 (internal citations

                                                   timetable from the very beginning.304                    lead time for a proposed action by CARB to               omitted).
                                                   This legislative history was crucial to                  be solely based on section 202(b), not section             310 70 FR 50322 (August 26, 2005) (2007

                                                   the Blum Court’s holding that Congress                   202(a), and so was not cognizable in the                 California Heavy-Duty Diesel Engine Standards); 71
                                                                                                            waiver process. The court disagreed,                     FR 335 (Jan. 4, 2006) (2007 Engine Manufacturers
                                                   had ‘‘f[ound] and mandate[d] that with                                                                            Diagnostic standards); 77 FR 9239 (February 16,
                                                   respect to small manufacturers a lead                    observing that the lead time for
                                                                                                                                                                     2012) (HD Truck Idling Requirements); 79 FR 46256
                                                                                                            implementation of the NOX standard was
                                                   period of two years is necessary.’’ In                   governed by section 202(a)(2) and concluding
                                                                                                                                                                     (Aug. 7, 2014) (the first HD GHG emissions standard
                                                   contrast, there does not appear to be                                                                             waiver, relating to certain new 2011 and subsequent
                                                                                                                                                                     model year tractor-trailers); 81 FR 95982 (December
                                                   similar legislative history detailing a                    305 To the extent commenters cite statements in        29, 2016) (the second HD GHG emissions standard
                                                   special or peculiar need for the strict                  the legislative history regarding the need for three     waiver, relating to CARB’s ‘‘Phase I’’ regulation for
                                                   lead time requirements for section                       years of stability and four years of lead time, EPA      2014 and subsequent model year tractor-trailers); 82
                                                   202(a)(3)(C), which was enacted in the                   notes that none of the cited statements are from         FR 4867 (January 17, 2017) (On-Highway Heavy-
                                                                                                            members of Congress themselves and are instead           Duty Vehicle In-Use Compliance Program).
                                                   same year Amendments as section                          testimony from commenters themselves. See, e.g.,           311 77 FR 9239, 9249 (Feb. 16, 2012).
                                                   209(b)(1)(B), that would indicate                        EMA Initial Comments at 10. But see, H.R. Rep. No.         312 73 FR 52042 (September 8, 2008); 77 FR 73459
                                                                                                            95–294 at 542 (1977) (For standards promulgated          (December 10, 2012); 79 FR 46256 (August 7, 2014);
                                                     303 American   Motors Corp. v. Blum, 603 F.2d 978,     under section 202(a)(3)(A) ‘‘[a]dditional revisions of   81 FR 95982 (December 29, 2016). EPA also notes
                                                   981.                                                     up to 3 years ‘each could be granted at three-year       that several waivers have been granted for
                                                      304 123 Cong. Rec. S9233 (daily ed. June 9, 1977).    intervals thereafter;’ ’’ and Congress ‘‘provides four   California’s on-highway motorcycles (See for
                                                   Even the EPA Administrator acknowledged AMC’s            years lead time before temporary or permanent            example, 42 FR 1503 (January 7, 1977); 41 FR 44209
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                                                   specific need for extra lead time in a letter to         revision of any statutory standard.’’).                  (October 7, 1976); 43 FR 998 (January 5, 1978); 46
                                                                                                              306 MEMA II, 142 F.3d at 463.
                                                   Congress in support of the amendment. Both the                                                                    FR 36237 (July 14, 1981)).
                                                                                                              307 Id. at 464 (‘‘[I]t would appear virtually
                                                   amendment’s sponsor and the Administrator                                                                           313 59 FR 48625 (September 22, 1994) and

                                                   explained that the 1.0 gram/mile standard created        impossible for California to exercise broad              associated Decision Document at EPA–HQ–OAR–
                                                   a ‘‘peculiar’’ and ‘‘special’’ problem for AMC and       discretion if it had to comply with every subsection     2022–0330, (MDV Waiver Decision Document) at
                                                   other small manufacturers. The two years of lead         of section 202 that cross-referenced subsection (a).     page 26 (‘‘Under section 209, the Administrator has
                                                   time was intended to give these small                    See, e.g., CAA section 202(b), (g), (h), (j), (m)(1),    an oversight role to review California lead time
                                                   manufacturers adequate time to ‘‘modify and adapt        (m)(2), (m)(4).’’).                                      decisions associated with their rules. While CARB
                                                   the system [purchased from other manufacturers] to         308 FCC v. Fox Television Stations, Inc., 556 U.S.     may well choose to provide a different amount of
                                                   [their] own product line.’’ Id.                          502 (2009).                                                                                         Continued




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                                                   address the stability requirements also                      In the 1994 MDV waiver, EPA also                   control programs that are, in the aggregate, at
                                                   contained within section 202(a)(3)(C)                     reviewed the standards under the                      least as protective as nationally applicable
                                                   that requires standards for heavy-duty                    traditional technology feasibility test               standards. The import of section 209(b) is not
                                                                                                                                                                   that California and Federal standards be
                                                   vehicles and engines to apply for no less                 finding that ‘‘no significant                         identical, but that the Administrator not
                                                   than three model years without                            development nor associated lead time is               grant a waiver of Federal preemption where
                                                   revisions. Where section 202(a)(3)(C)                     required.’’ 316 Notably, California had               compliance with the California standards is
                                                   applies, standards must allow at least                    provided four-year lead time for the                  not technologically feasible within available
                                                   three model years of stability, meaning                   standards at issue. Thus, EPA was not                 lead time, consistent with section 202(a).320
                                                   that no revisions or amendments are                       confronted by the situation as in the                    Lastly, EPA has examined the text of
                                                   allowed until after three model years.                    instant waiver where California had                   section 177 of the CAA, added by
                                                   The 1994 MDV Waiver was also silent                       made a feasibility showing of presently               Congress in the 1977 Amendments. At
                                                   on California’s longstanding practice of                  available technology.                                 the time that Congress was affording
                                                   amending standards for which a waiver                        EPA in 1994 also did not discuss an                California additional programmatic
                                                   has been granted.314 EPA’s waiver                         earlier 1981 decision denying the                     flexibility and policy deference with the
                                                   practice has long allowed for such                        petition for reconsideration that sought              addition of the ‘‘in the aggregate’’
                                                   revisions under the rubric of within-the-                 reconsideration of a waiver decision on               language to section 209(b)(1), Congress
                                                   scope amendments, which calls for                         grounds that Blum also required the                   added section 177 to allow other States
                                                   review of California standards that have                  Administrator to take certain lead time               (those with plan provisions approved
                                                   been amended under both the                               provisions into account when                          under Part D) to adopt California’s new
                                                   protectiveness finding and the                            considering California waiver requests                motor vehicle emission standards if
                                                   technology feasibility requirements of                    at issue.317 In 1981, shortly after Blum,             certain criteria are met. Such criteria
                                                   the third waiver prong.315 In other                       EPA explained in relevant part that:                  include that the State standards adopted
                                                   words, there is no prescribed lead time                     The specific Congressional finding that             be identical to the California standards
                                                   for within-the-scope amendments                           under prescribed circumstances additional             for which a waiver has been granted for
                                                   because EPA reviews them under the                        lead time is necessary is unique to the small         such model year, and that ‘‘California
                                                   traditional consistency test. The 1994                    volume manufacturer provision, and is not             and such State adopt such standards at
                                                   MDV waiver did not wrestle with the                       present in the other sections of the Act.             least two years before commencement of
                                                   implications of applying section                          Moreover, the fact that Congress determined
                                                                                                             that qualified manufacturers such as AMC
                                                                                                                                                                   such model year (as determined by
                                                   202(a)(3)(C) to waiver decisions for                      are entitled to additional lead time was the          regulations of the Administrator).’’ 321
                                                   either of these important factors—the                     critical factor leading to the Court’s decision.      EPA notes that Congress understood and
                                                   constraints on California’s ability to                    AMC v. Blum did not involve or discuss                acted to specify a number of years of
                                                   drive innovations in vehicle emission                     other Federal waiver provisions, which,               lead time applicable to other States
                                                   control technologies, as Congress                         unlike section 202(b)(1)(B), do not reflect           before those States could enforce
                                                   intended, with a four-year lead time and                  such a Congressional finding.318                      standards under section 177. In the
                                                   a three-year stability requirement, and                        EPA further explained that                       same 1977 Amendments, Congress did
                                                   the problematic constraint such an                           The small-volume manufacturer waiver               not specify that the lead time and
                                                   interpretation would impose on                            provision was interpreted by the court as a           stability requirements in the new
                                                   California’s ability to amend standards                   ‘‘proviso’’ to section 202(a) of the Act, such        section 202(a)(3)(C) were applicable to
                                                   for which a waiver has been granted to                    that the determination of technological               either California or to states adopting
                                                   address any newly emergent issues. As                     feasibility of the 1.0 gpm NOX, standard in           California’s standards under section
                                                   such, the conclusions in the decision                     question within available lead time is taken          177. EPA believes there is no basis to
                                                   are based on insufficient analysis.                       out of the hands of the Administrator and is          find or infer that the section 202(a)(3)(C)
                                                                                                             made by the unique Congressional finding of           requirements apply to California. And,
                                                                                                             202(b)(1)(B) (Emphasis added).319
                                                   lead time for light-duty vehicles than EPA has                                                                  as importantly, Congress established a
                                                   determined is necessary, Blum instructs that the             Most significant was EPA’s                         structure under which California would
                                                   specific lead time requirements of section 202 apply      explanation of the protectiveness                     receive a waiver for standards that EPA
                                                   to both agencies with equal force. Again, the Blum        finding California makes under section
                                                   court interpreted literally the specific congressional                                                          deemed would be feasible (or that
                                                   requirement of lead time and stated, ‘[t]he necessity     209(b)(1) on EPA’s consistency                        opponents had not demonstrated to be
                                                   for lead time cannot be obviated by a waiver.’ ’’ Id.     determination. EPA explained:                         infeasible), with the lead time provided
                                                   at 32; (As Congress intended, EPA has liberally                                                                 within the California market,
                                                   construed the section 209 waiver provision to give
                                                                                                               California standards need not be identical
                                                   California broad discretion with its program.             to their Federal counterparts, even those             specifically.322 Other States (section 177
                                                   Nonetheless, EPA’s discretion is not unlimited. In        established in waiver decisions. An argument          States) could enforce California’s
                                                   light of the plain language and Congressional intent      along those lines would be inconsistent with          standards but would have to allow two
                                                   of sections 202 and 209, and applying the rationale       section 209(b) of the Act. Because California         years of lead time. It is assumed that
                                                   of Blum, I find that the opposing parties have            has special air pollution problems, section
                                                   provided persuasive arguments that California is
                                                                                                                                                                   these additional two years would allow
                                                                                                             209(b) permits the Administrator to waive
                                                   subject to the four-year lead time requirement under                                                            manufacturers time to comply with the
                                                                                                             Federal preemption to permit the State of
                                                   section 202(a) (3) (b) of the Act and is required to
                                                                                                             California to implement its own air pollution         expanded market for which the
                                                   provide four years of lead time for the proposed                                                                California standards apply, which
                                                   MDV standards.).
                                                      314 See, e.g., 76 FR 61095 (October 3, 2011)             316 1994 MDV Waiver Document at 48–49 (‘‘In         would still not be a fully national
                                                   (granting California a within-the-scope waiver for        view of these facts, I agree with CARB’s assessment   market subject to EPA standards.323
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                                                   its 2008 amendments to its ZEV Standard); 71 FR           that adequate technology exists and may be readily
                                                   78190 (December 28, 2006) (granting California a          adapted to enable MDVs to meet all of CARB’s            320 46 FR 22034–35.
                                                   within-the-scope waiver for its 1993–2003                 standards. Thus, no significant development nor         321 42 U.S.C. 7507(1), 7507(2); Motor Vehicle
                                                   amendments to its ZEV Regulations).                       associated lead time is required.’’).                 Mfrs. Ass’n v. New York State Dep’t of Envtl.
                                                                                                               317 Petition for Reconsideration of Waiver of
                                                      315 See, e.g., the Notice of Scope of Preemption for                                                         Conservation, 17 F.3d 527.
                                                   California’s amendments to warranty regulations           Federal Preemption for California To Enforce Its        322 78 FR at 2143, n.165.

                                                   pertaining to 1983 and later model year passenger         NOX Emission Standards and Test Procedures:             323 Motor Vehicle Mfrs. Ass’n v. New York State

                                                   cars, light-duty vehicles, medium- and heavy-duty         Notice of Denial. 46 FR 22032 (April 15, 1981).       Dep’t of Envtl. Conservation, 17 F.3d 527; American
                                                                                                               318 46 FR 22034.
                                                   vehicles and motorcycles; 51 FR 12391 (Apr. 10,                                                                 Automobile Mfrs. Ass’n, 31 F.3d 18, 26–27 (1st Cir.
                                                   1986).                                                      319 Id.                                             1994).



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                                                   There is no language in section 177 that                      refinements to emission control                        the three listed criteria. This narrow
                                                   would require the section 177 states to                       technologies and other emission                        review approach is supported by
                                                   provide more lead time (an additional                         controls reasonably projected to be                    decades of waiver practice and judicial
                                                   two years) in order to be consistent with                     available to meet the emission standards               precedent. In MEMA I, the D.C. Circuit
                                                   the four years of lead time that                              when needed in later model years. EPA                  held that the Agency’s inquiry under
                                                   commenters claim apply to California.                         finds that there is no evidence in the                 section 209(b) is ‘‘modest in scope.’’ 327
                                                   EPA agrees with the CARB comment                              record to demonstrate that CARB’s                      The D.C. Circuit further noted that
                                                   that it makes little sense to assume                          assessments, including those made in                   ‘‘there is no such thing as a ‘general
                                                   Congress would have provided four                             the state rulemakings, are unreasonable.               duty’ on an administrative agency to
                                                   years of lead time for vehicle and engine                     In addition to CARB’s demonstration                    make decisions based on factors other
                                                   manufacturers to prepare to comply in                         and EPA findings, the Agency also notes                than those Congress expressly or
                                                   the California market but only two years                      that CARB’s regulations include a                      impliedly intended the agency to
                                                   to prepare for compliance in a                                number of provisions that may provide,                 consider.’’ 328 In MEMA II, the D.C.
                                                   potentially much larger market                                if manufacturers choose to use them,                   Circuit again rejected an argument that
                                                   captured, collectively, in the section 177                    additional compliance pathways.                        EPA must consider a factor outside the
                                                   States.                                                       Therefore, I determine that I cannot                   209(b) statutory criteria concluding that
                                                      Further, EPA traditionally applies a                       deny either of the two waiver requests                 doing so would restrict California’s
                                                   ‘‘record-based’’ review to determine the                      under section 209(b)(1)(C).                            ability to ‘‘exercise broad
                                                   actual technological feasibility of                              In addition, after a review of the text             discretion.’’ 329 EPA’s duty, in the
                                                   California’s standards, and to the degree                     in sections 209, 202, and section 177, I               waiver context, is thus to grant
                                                   requisite technology is not currently                         find that the lead time and stability                  California’s waiver request unless one of
                                                   available then EPA examines the factual                       language Congress added in 1977 in                     the three listed criteria is met.
                                                   record to determine whether sufficient                        section 202(a)(3)(C) was only directed at              ‘‘[S]ection 209(b) sets forth the only
                                                   lead time is provided for the California                      EPA and does not apply to California by                waiver standards with which California
                                                   market, giving consideration to cost. In                      way of EPA’s review of section                         must comply . . . If EPA concludes that
                                                   addition, EPA’s technological feasibility                     209(b)(1)(C) and section 209(e)(2)(B)(iii).            California’s standards pass this test, it is
                                                   assessment is conducted within the                            Further, EPA has reviewed the                          obligated to approve California’s waiver
                                                   confines of the manufacturers’ ability to                     legislative history, EPA’s prior waiver                application.’’ 330 EPA has therefore
                                                   meet the California standards within                          decisions, and applicable case law and                 consistently declined to consider factors
                                                   California and the California market.324                      concludes that each of these                           outside the three statutory criteria listed
                                                   It is illogical to couple EPA’s limited                       considerations further supports EPA’s                  in section 209(b), including preemption
                                                   role in reviewing the feasibility of                          textual analysis and conclusion that                   under EPCA, explaining instead that
                                                   CARB’s standards, confined to the                             section 202(a)(3)(C) does not apply to                 preemption under EPCA is not one of
                                                   manufacturers’ ability to meet the                            California and thus EPA cannot deny                    these criteria.331
                                                   emission standards for new vehicles                           CARB’s waiver requests on this basis.
                                                   introduced into commerce in California,                                                                                327 MEMA     I, 627 F.2d at 1119.
                                                   with the four-year lead time directive                        E. Other Issues                                          328 Id.  at 1116 (acknowledging that ‘‘the
                                                   that Congress provided to EPA in setting                      1. Energy Policy and Conservation Act                  Administrator must be sensitive to [CAA] section
                                                   national new heavy-duty vehicle                               (EPCA)                                                 207 concerns in approaching a waiver decision,’’
                                                                                                                                                                        but concluding that ‘‘he has no duty beyond that
                                                   emission standards which are required                            One commenter argued that ZEV                       to consider claims of anti-competitiveness in a
                                                   to secure the greatest degree of emission                     mandates are preempted by the Energy                   waiver proceeding’’).
                                                   reduction achievable.                                         Policy and Conservation Act (EPCA)
                                                                                                                                                                           329 MEMA II, 142 F.3d at 464 (rejecting a claim

                                                                                                                                                                        that California’s standards must comply with CAA
                                                   6. Section 209(b)(1)(C) and                                   because they are ‘‘related to’’ fuel                   section 202(m) because ‘‘it would appear virtually
                                                   209(e)(2)(A)(iii) Conclusion                                  economy standards.325 The commenter                    impossible for California to exercise broad
                                                                                                                 asserted that it would therefore be                    discretion if it had to comply with every subsection
                                                      As previously explained, EPA                                                                                      of section 202 that cross-referenced subsection
                                                   believes that the historical approach to                      ‘‘arbitrary and capricious’’ for EPA to                (a).’’).
                                                   section 209(b)(1)(C) (and the section                         grant waivers for the ACT Regulation                      330 Id. at 462–63.

                                                   209(e)(2)(A)(iii)) prong reflects the best                    and the ZEAS Regulation (that each                        331 87 FR 14332, 14372 (March 14, 2022)

                                                   reading of the statute. The historical                        contain a ZEV mandate) because                         (rescinding the SAFE 1 waiver withdrawal partially
                                                                                                                 ‘‘California’s ZEV mandate is void ab                  premised on EPCA preemption because, in part,
                                                   approach is to evaluate California’s                                                                                 ‘‘[c]onsideration of preemption under EPCA is
                                                   program including the changes to that                         initio’’ and ‘‘[a]s such, California does              beyond the statutorily prescribed criteria for EPA in
                                                   program reflected in a waiver request for                     not have a valid waiver request.’’ 326                 section 209(b)(1).’’). The sole instance that EPA
                                                   feasibility, and in doing so to determine                     EPA has long construed section 209(b)                  considered preemption under EPCA in a waiver
                                                                                                                 as limiting the Agency’s authority to                  proceeding was in SAFE Part One, a joint-
                                                   whether the opponents of the waiver                                                                                  rulemaking with NHTSA, where EPA
                                                   have met their burden of proof (as a                          deny California’s requests for waivers to              simultaneously explained that the Agency ‘‘d[id]
                                                   factual matter) to demonstrate that                                                                                  not intend in future waiver proceedings concerning
                                                                                                                    325 AFPM at 15–16. EPA notes that this
                                                   California’s standards are not                                                                                       submissions of California programs in other subject
                                                                                                                 commenter cited to 49 U.S.C. 32903(h)(1) and the       areas to consider factors outside the statutory
                                                   technologically feasible, giving                              action taken in 2019 (‘‘The Safer Affordable Fuel-     criteria in section 209(b)(1)(A)–(C).’’ SAFE 1 at
                                                   consideration to lead time and cost.                          Efficient Vehicles (SAFE) Rule Part One: One           51338. EPA subsequently rescinded that decision,
                                                   Applying this approach with the                               National Program’’). SAFE 1 at 51320–21. NHTSA         finding that ‘‘the joint-action context of SAFE 1
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                                                                                                                 subsequently repealed all regulatory text and          [w]as an insufficient justification for deviating from
                                                   reasoning noted above, with due                               appendices promulgated in the SAFE Part One and        its statutory authority and the Agency’s historical
                                                   deference to California, I cannot deny                        made clear that no prior regulations or positions of   practice’’ of ‘‘limiting its waiver review to the
                                                   the respective waiver requests. CARB                          the Agency reflect ongoing NHTSA views on the          criteria in section 209(b)(1).’’ 87 FR at 14371–73.
                                                   has demonstrated that technologies exist                      scope of preemption of states or local jurisdictions   EPA hereby incorporates by reference the reasoning
                                                                                                                 under EPCA. 86 FR 74236 (Dec. 29, 2021). EPA also      in this decision. See also, 43 FR 32182, 32184 (July
                                                   today to meet the most imminent                               notes that the ‘‘related to’’ language that was the    25, 1978) (rejecting objections to the procedures at
                                                   standards and has identified                                  subject of SAFE Part One and the subsequent repeal     state level, objections that section 207(c)(3)(A)
                                                                                                                 is in 49 U.S.C. 32919.                                 establishes field protection, and constitutional
                                                     324 Id.   at 2143.                                             326 AFPM at 15–16.                                                                               Continued




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                                                      In evaluating CARB’s two waiver                       has previously considered equal                           requests as outside the scope of EPA’s
                                                   requests, including the ACT and ZEAS                     sovereignty objections to waiver                          review and incorporates the reasoning
                                                   Regulations, EPA has not considered                                                                                in that prior decision as it pertains to
                                                   preemption under EPCA. As in previous                    is addressed above in Section III.C. This commenter       the constitutional claims raised by
                                                   waiver evaluations, the decision on                      also provided a list of other possible constitutional     commenters.337
                                                                                                            constraints that it believes the ACT Regulation may
                                                   whether to grant or deny these waiver                    violate (e.g., Dormant Commerce Clause, dormant
                                                                                                                                                                         As EPA has long stated, ‘‘the Agency’s
                                                   requests is based solely on the criteria                 foreign affairs preemption doctrine under the             task in reviewing waiver requests is
                                                   in section 209(b). Evaluation of whether                 Supremacy Clause, the Takings Clause of the Fifth         properly limited to evaluating
                                                   these regulations are preempted under                    Amendment, and the Equal Sovereignty doctrine).           California’s request according to the
                                                                                                            EPA notes that it is unclear whether this commenter
                                                   EPCA is not among the criteria listed                    requested EPA to not grant the ACT Regulation
                                                                                                                                                                      criteria in section 209(b), and . . . it is
                                                   under section 209(b). EPA may only                       waiver request based on these latter possible             appropriate to defer to litigation brought
                                                   deny waiver requests based on the                        constraints. Nevertheless, EPA notes (as discussed        by third parties in other courts, such as
                                                                                                            in this section) that EPA’s task in reviewing             state or federal court, for the resolution
                                                   criteria in section 209(b), and                          California’s waiver requests is limited to the criteria
                                                   preemption under EPCA is not one of                      in section 209(b) and therefore provides no
                                                                                                                                                                      of constitutionality claims and
                                                   those criteria. In considering                           assessment of these claims.                               inconsistency, if any, with other
                                                   California’s request for a waiver, I                        336 The same commenter (Valero) raises                 statutes.’’ 338 EPA’s longstanding
                                                   therefore have not considered whether                    miscellaneous claims not related to constitutional        practice, affirmed by judicial precedent,
                                                                                                            issues that we also address here. Valero claims that
                                                   California’s standards are preempted                     granting the ACT waiver exceeds EPA’s statutory
                                                                                                                                                                      has been to refrain from considering
                                                   under EPCA. As in previous waiver                        authority because the ACT allegedly ‘‘bans internal       factors beyond section 209(b)(1) criteria,
                                                   decisions, the decision on whether to                    combustion engines,’’ has ‘‘vast nationwide               including constitutional claims, in
                                                                                                            political and economic significance,’’ would be           evaluating California waiver requests.339
                                                   grant the waiver is based solely on                      ‘‘beyond the scope of the type of emission standards
                                                   criteria in section 209(b) of the Clean                  the waiver was originally intended to
                                                                                                                                                                      For example, in 1978 EPA declined to
                                                   Air Act and this decision does not                       accommodate,’’ and accomplishes what failed               consider First Amendment and Due
                                                   attempt to interpret or apply EPCA.332                   Congressional bills would have done. Valero               Process objections to a waiver request,
                                                                                                            Comment 6, 8. EPA disagrees. The ACT constitutes          stating that constitutional arguments
                                                   2. Equal Sovereignty and Other                           standards for the control of emissions from motor
                                                                                                                                                                      ‘‘are beyond the scope of [the
                                                   Constitutional Issues                                    vehicles, and thus clearly falls within the scope of
                                                                                                            section 209(a) preemption and EPA’s authority to          Administrator’s] review, and the waiver
                                                      One commenter objected to both the                    waive preemption under section 209(b)(1).                 hearing is not a proper forum in which
                                                                                                            Moreover, while the ACT increases the stringency          to raise them.’’ 340 The D.C. Circuit
                                                   ACT and ZEAS Regulations because                         of California’s program, the requirements it imposes
                                                   ‘‘[b]y authorizing California, and only                  are not different in kind from earlier California ZEV     agreed with the Administrator’s
                                                   California, to set its own motor vehicle                 rules for which EPA has waived preemption. See            position, that there was no obligation to
                                                   emission standards, Section 209(b)                       71 FR 78190 (December 28, 2006) and Decision              consider these constitutional objections,
                                                                                                            Document at EPA–HQ–OAR–2004–0437–0173, at
                                                   violates the constitutional equal                        35–46) (explaining that certain earlier California
                                                                                                                                                                      because ‘‘it is generally considered that
                                                   sovereignty doctrine.’’ 333 The                          ZEV requirements constituted emissions standards          the constitutionality of Congressional
                                                   commenter claimed that Section 209(b)                    and waiving preemption for such standards under           enactments is beyond the jurisdiction of
                                                   is ‘‘unconstitutional in all its                         section 209(b)); 58 FR 4166 (January 13, 1993)            administrative agencies.’’ 341
                                                                                                            (granting a waiver for California’s first Low
                                                   applications’’ or, in the alternative, ‘‘to              Emission Vehicle (LEV I) regulation that include the
                                                                                                                                                                      Additionally, in 2009, EPA declined to
                                                   the extent it is construed to allow                      original California ZEV standards that were adopted       consider comments that California’s
                                                   California to set emission standards                     in 1990). Valero’s reference to failed Congressional      transport refrigeration unit (TRU) Rule
                                                   aimed at addressing global climate                       bills is inapposite given the clear language of           violated the Dormant Commerce Clause,
                                                                                                            section 209. See also Public Law 117–169, tit. VI,
                                                   change, as opposed to California’s local                 Subtitle A, section 60105(g), 136 Stat. 1818, 2068–       stating that ‘‘EPA’s review of
                                                   conventional pollution problems.’’ 334                   69 (2022) (providing funds for EPA to issue grants        California’s regulations is limited to the
                                                   Another commenter objected to the ACT                    specifically to states to support their adoption of
                                                                                                            California’s greenhouse-gas and zero-emission
                                                   Regulation as it ‘‘calls for measures that               vehicle standards under Section 177). Moreover, the
                                                                                                                                                                         337 87 FR 14332, 14376–77 (March 14, 2022). See

                                                   may violate other constitutional                                                                                   also, 42 FR 2337, 2338 (January 11, 1977); 41 FR
                                                                                                            major questions doctrine, to the extent Valero is         44209, 44212 (October 7, 1976).
                                                   provisions and principles.’’ 335 336 EPA                 invoking it, does not apply to California’s exercise         338 Id.
                                                                                                            of its police powers, nor to EPA’s waiver of                 339 EPA has declined to consider constitutional
                                                   objections all as beyond the ‘‘narrow’’ scope of the     preemption to preserve the State’s exercise of such
                                                                                                            powers. See supra fn. 135. Valero further claims          challenges to California Waivers since at least 1976.
                                                   Administrator’s review); 74 FR 32744, 32783 (July                                                                  41 FR 44212 (Oct. 7, 1976) (‘‘An additional
                                                   8, 2009) (declining to consider EPCA preemption,         that EPA must consider wide-ranging impacts of
                                                                                                            granting the waiver (e.g., on the nationwide              argument against granting the waiver was raised by
                                                   stating that ‘‘section 209(b) of the Clean Air Act                                                                 the Motorcycle Industry Council and Yamaha, who
                                                   limits our authority to deny California’s requests for   distribution of goods, renewable fuels, petroleum
                                                                                                            refiners, chemical manufacturing, agricultural            contended that the CARB had violated due process
                                                   waivers to the three criteria therein.’’); 78 FR 2112,                                                             when adopting their standards, by not allowing the
                                                                                                            sector, international and military consequences,
                                                   2145 (Jan. 9, 2013), 79 FR 46256, 46264 (Aug. 7,                                                                   manufacturers a fair and full opportunity to present
                                                                                                            etc.). Valero Comment 6–9. However, this is belied
                                                   2014) (reiterating that EPA can only deny a waiver                                                                 their views at a State hearing. If this argument has
                                                                                                            by the statutory waiver criteria in section 209(b),
                                                   request based on the 209(b) statutory criteria,                                                                    any validity, the EPA waiver hearing is not the
                                                                                                            which require EPA to grant a waiver unless the
                                                   dismissing comments on preemption under EPCA,                                                                      proper forum in which to raise it. Section 209(b)
                                                                                                            agency makes one of the three statutory findings.
                                                   as well as the Constitution and the implications of                                                                does not require that EPA insist on any particular
                                                                                                            See MEMA I, 627 F.2d at 1118 (Section 209 does
                                                   the Federal Aviation Administration Authorization                                                                  procedures at the State level. Furthermore, a
                                                                                                            not require EPA to consider the social costs of
                                                   Act of 1994).                                                                                                      complete opportunity was provided at the EPA
                                                      332 EPA notes that both courts that have
                                                                                                            pollution control, for ‘‘Congress, not the
                                                                                                            Administrator, made the decision to accept those          waiver hearing for the presentation of views.’’). See
                                                   considered whether EPCA preempts greenhouse-gas          costs.’’). Finally, Valero suggests that granting the     also, e.g., 43 FR 32182, 32184 (July 25, 1978)
                                                   emission standards have concluded that it does not.      waiver is inconsistent with Congress’s mandates           (rejecting objections to the procedures at state level,
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                                                   See, e.g., Cent. Valley Chrysler-Jeep, Inc. v.           designed to promote renewable fuels under the             objections that section 207(c)(3)(A) establishes field
                                                   Goldstene, 529 F. Supp. 2d 1151, 1153–54 (E.D. Cal.      federal Renewable Fuel Standard. Valero Comment           protection, and constitutional objections all as
                                                   2007), as corrected Mar. 26, 2008; Green Mountain        6. However, nothing in section 209(b) suggests EPA        beyond the ‘‘narrow’’ scope of the Administrator’s
                                                   Chrysler Plymouth Dodge Jeep v. Crombie, 508 F.          must consider consistency with the Renewable Fuel         review).
                                                   Supp. 2d 295, 300–01 (D. Vt. 2007).                      Standard program in deciding to grant a waiver. See          340 43 FR at 32185.
                                                      333 AFPM at 2.                                                                                                     341 MEMA I, 627 F.2d at 1114–15 (holding that
                                                                                                            also section 211(o)(12) (‘‘Nothing in this subsection
                                                      334 Id.
                                                                                                            . . . shall affect or be construed . . . to expand or     EPA did not need to consider whether California’s
                                                      335 Valero at 8–10. This commenter claimed that       limit regulatory authority regarding carbon dioxide       standards ‘‘unconstitutionally burden[ed]
                                                   EPA’s grant of a waiver represents a major question      or any other greenhouse gas, for purposes of other        [petitioners’] right to communicate with vehicle
                                                   that was not contemplated by Congress. That claim        provisions . . . of this chapter.’’).                     purchasers.’’).



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                                                   criteria that Congress directed EPA to                  waiver is based solely on the criteria in                Regulation.349 These jurisdictions
                                                   review.’’ 342 The D.C. Circuit again                    section 209(b) and this decision does                    represent a wide geographic area that
                                                   concluded that this constitutional claim                not attempt to interpret or apply the                    falls within three judicial circuits.350
                                                   was outside the scope of EPA’s review,                  Equal Sovereignty Doctrine or any other                     Furthermore, the regulations that are
                                                   agreeing with EPA that the commenters                   constitutional provision.                                the subject of today’s action are part of
                                                   had sought to ‘‘improperly . . . engraft                                                                         California’s on-highway for which EPA
                                                   a type of constitutional Commerce                       IV. Decision                                             may waive preemption under CAA
                                                   Clause analysis onto EPA’s Section                         After evaluating California’s 2018 HD                 section 209. As required by statute, in
                                                   7543(e) waiver decisions that is neither                Warranty Amendments, ACT                                 evaluating the waiver criteria in this
                                                   present in nor authorized by the                        Regulations, ZEAS Regulations, and the                   action, EPA considers not only the HD
                                                   statute.’’ 343 Such a question, the Court               ZEP Certification Regulations, CARB’s                    emissions regulations in isolation, but
                                                   noted, is ‘‘best directed to Congress.’’ 344            submissions, relevant adverse comment,                   in the context of the entire California
                                                      EPA notes that Congress struck a                     and other comments in the record, EPA                    program.351 Moreover, EPA generally
                                                   deliberate balance in 1967, when it                     is granting a waiver of preemption and                   applies a consistent statutory
                                                   chose to authorize two standards—the                    authorization, as applicable, for each of                interpretation and analytical framework
                                                   Federal standard and California’s                       these regulations.                                       in evaluating and deciding various
                                                   standards—rather than one national                                                                               waivers under CAA section 209. EPA
                                                   standard or 51 individual state                         A. Judicial Review
                                                                                                                                                                    also relies on the extensive body of D.C.
                                                   standards.345 EPA believes this balance                    Section 307(b)(1) of the CAA governs                  Circuit case law developed by that court
                                                   reflected Congress’s desire for California              judicial review of final actions by the                  since 1979 as it has reviewed and
                                                   to serve as a laboratory of innovation                  EPA. This section provides, in part, that                decided judicial challenges to these
                                                   and Congress’s understanding of                         petitions for review must be filed in the                actions. As such, judicial review of any
                                                   California’s extraordinary pollution                    United States Court of Appeals for the                   challenge to this action in the D.C.
                                                   problems on the one hand, and its                       District of Columbia Circuit: (i) when                   Circuit will centralize review of national
                                                   desire to ensure that automakers were                   the agency action consists of ‘‘nationally               issues in that court and advance other
                                                   not subjected to too many different                     applicable regulations promulgated, or                   Congressional principles underlying
                                                   standards on the other. Congress                        final actions taken, by the                              CAA section 307(b)(1) of avoiding
                                                   reaffirmed this balance in 1977 when it                 Administrator,’’ or (ii) when such action                piecemeal litigation, furthering judicial
                                                   amended the Clean Air Act to allow                      is locally or regionally applicable, but                 economy, and eliminating the risk of
                                                   other states facing similar air quality                 ‘‘such action is based on a                              inconsistent judgments.
                                                   problems the option of adopting                         determination of nationwide scope or                        For these reasons, this final action is
                                                   California’s new waived motor vehicle                   effect and if in taking such action the                  nationally applicable or, alternatively,
                                                   standards.346 Thus Congress has                         Administrator finds and publishes that                   the Administrator is exercising the
                                                   consistently and repeatedly made                        such action is based on such a                           complete discretion afforded to him by
                                                   determinations regarding California’s                   determination.’’ For locally or regionally               the CAA and hereby finds that this final
                                                   important role in driving advancements                  applicable final actions, the CAA                        action is based on a determination of
                                                   in motor vehicle emissions control                      reserves to the EPA complete discretion                  nationwide scope or effect for purposes
                                                   (which benefit all Americans when                       whether to invoke the exception in (ii).                 of CAA section 307(b)(1) and is hereby
                                                   subsequently reflected in federal                          This final action is ‘‘nationally                     publishing that finding in the Federal
                                                   standards) and the value of providing                   applicable’’ within the meaning of CAA                   Register. Under section 307(b)(1) of the
                                                   states with two regulatory pathways to                  section 307(b)(1). In the alternative, to                CAA, petitions for judicial review of
                                                   address motor vehicle emissions.                        the extent a court finds this final action               this action must be filed in the United
                                                      In evaluating CARB’s two waiver                      to be locally or regionally applicable,                  States Court of Appeals for the District
                                                   requests, including the ACT and ZEAS                    the Administrator is exercising the                      of Columbia Circuit by June 5, 2023.
                                                   Regulations, EPA has not considered                     complete discretion afforded to him
                                                   whether section 209(a) and section                                                                               V. Statutory and Executive Order
                                                                                                           under the CAA to make and publish a
                                                   209(b) are unconstitutional under the                                                                            Reviews
                                                                                                           finding that this action is based on a
                                                   Equal Sovereignty Doctrine. As in                       determination of ‘‘nationwide scope or                     As with past authorization and waiver
                                                   previous waiver evaluations, the                        effect’’ within the meaning of CAA                       decisions, this action is not a rule as
                                                   decision on whether to grant or deny the                section 307(b)(1), for several reasons.347               defined by Executive Order 12866.
                                                                                                           This final action will not only affect                   Therefore, it is exempt from review by
                                                     342 Decision Document, EPA–HQ–OAR–2005–

                                                   0123–0049 at 67.                                        manufacturers of new heavy-duty                          the Office of Management and Budget as
                                                     343 ATA v. EPA, 600 F.3d 624, 628 (D.C. Cir.          vehicles and engines sold in California,                 required for rules and regulations by
                                                   2010) (quoting the U.S. brief). In a footnote to this   but also manufacturers that sell their                   Executive Order 12866. In addition, this
                                                   statement, the Court said ATA could attempt to          new heavy-duty vehicles and engines in                   action is not a rule as defined in the
                                                   bring a constitutional challenge directly (which                                                                 Regulatory Flexibility Act, 5 U.S.C.
                                                   would argue that the waiver unconstitutionally          those states that have already adopted or
                                                   burdens interstate commerce) but ‘‘express[ed] no       may choose to adopt California’s
                                                                                                                                                                       349 Massachusetts, New Jersey, New York,
                                                   view on that possibility.’’ Id. at n.1.                 regulations.348 For example, five states
                                                     344 Id. at 628.                                                                                                Oregon, and Washington have adopted the ACT
                                                     345 Motor vehicles are ‘‘either ‘federal cars’
                                                                                                           have already adopted California’s ACT                    Regulation.
                                                                                                                                                                       350 In the report on the 1977 Amendments that
                                                   designed to meet the EPA’s standards or ‘California
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                                                                                                             347 In deciding whether to invoke the exception        revised CAA section 307(b)(1), Congress noted that
                                                   cars’ designed to meet California’s standards.’’
                                                   Engine Mfrs. Ass’n v. EPA, 88 F.3d 1075, 1079–80,       by making and publishing a finding that this final       the Administrator’s determination that the
                                                   1088 (D.C. Cir. 1996) (‘‘Rather than being faced with   action is based on a determination of nationwide         ‘‘nationwide scope or effect’’ exception applies
                                                   51 different standards, as they had feared, or with     scope or effect, the Administrator has also taken        would be appropriate for any action that has a
                                                   only one, as they had sought, manufacturers must        into account a number of policy considerations,          scope or effect beyond a single judicial circuit. See
                                                   cope with two regulatory standards.’’).                 including his judgment balancing the benefit of          H.R. Rep. No. 95–294 at 32.
                                                     346 Under section 177, ‘‘any State which has plan     obtaining the D.C. Circuit’s authoritative centralized      351 See CAA sections 209(b)(1)(B) and

                                                   provisions approved under this part may adopt and       review versus allowing development of the issue in       209(e)(2)(A) (requiring that the protectiveness
                                                   enforce’’ identical California standards and            other contexts and the best use of Agency resources.     finding be made for California’s standards ‘‘in the
                                                   delineates three specific criteria for adoption.          348 See CAA section 177.                               aggregate’’).



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                                                   601(2). Therefore, EPA has not prepared                 5 U.S.C. 801, et seq., as added by the                 Dated: March 30, 2023.
                                                   a supporting regulatory flexibility                     Small Business Regulatory Enforcement                 Michael S. Regan,
                                                   analysis addressing the impact of this                  Fairness Act of 1996, does not apply                  Administrator.
                                                   action on small business entities.                      because this action is not a rule for                 [FR Doc. 2023–07184 Filed 4–5–23; 8:45 am]
                                                   Further, the Congressional Review Act,                  purposes of 5 U.S.C. 804(3).                          BILLING CODE 6560–50–P
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